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Case 3:1O-CV-Ol428-.]A>'JR Documentl Filed 07/08/10 age|D.l Page lof 207

GAUNTLETT & ASSOCIATES
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ams auntlettlaw.com

Attorneys for Plaintiff ' ~
COLLEGESOURCE, INC.

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UNITED STATES DISTRICT COURT
SOUTHERN DlSTRICT OF CALIFORNIA

CaseNo. /
v ’1ocv;¢1281/111 PoR

COMPLAINT lFOR:

COLLEGESOURCE, INC., a California
corporation,

Hon
Plaintiff,

VS.

(1) DECLARATORY RELIEF; AND

TRAVELERS INDEMNITY COMPANY OF (2) BREACH OF CONTRACT

CONNECT]CUT, a Connecticut corporation,

Defendant.

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Plaintiff CollegeSource, Inc. seeks declaratory relief and damages from Defendant Travelers

Indemnity Company of Connecticut for breach of contract.
'l`HE PARTIES

l. Plaintiff CollegeSource, Inc. (“CollegeSource”) is a corporation organized under the
laws of the State of California with its principal place of business located in San Diego, California.

2. Defendant Travelers Indemnity Company of Connecticut (“Travelers”) is a
Connecticut corporation with its principal place of business located in Hartford, Connecticut.

JURISDICTION

3. This is an action for declaratory relief and breach of contract pursuant to 28 U.S.C.
§ 2201. This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332 because there is
complete diversity of citizenship between CollegeSource and Travelers and more than $75,000 is in
controversy in this action.

4. This Court has personal jurisdiction over Travelers because it (a) transacts substantial
business in the State of California, including San Diego, and (b) contracted to insure risks resulting
from acts that occurred within this district

VENUE ANI)` APPLICABLE LAW

5. Venue is proper in the United States District Court for the Southern District of
California pursuant to 28 U.S.C. § 1391(a) and (c) because CollegeSource maintained its principal
place of business in San Diego, California during all times relevant to this action.

6. Venue is also proper in this district because a substantial part of the events or
omissions giving rise to the claims alleged herein occurred in this district. This complaint concerns
a contract for liability insurance sold by "l`ravelers to CollegeSource created in the Southern District
where Travelers actively sells insurance policies and where College Source received the pertinent
policy.

7. Venue is also proper in this district because this is an insurance coverage suit seeking
determination of the defendant’s duty to defend and its breach of the duty to defend the plaintiff in a

suit pending in this court.

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l 8. The substantive rights of the parties are governed by the law of California because the
2 contract at issue in this case was executed in California, there is no evidence that the parties did not
3 intend to contract pursuant to the laws of the state of California, the underlying claim arises in
4 Califomia, and the policies and interests of California would be most seriously impaired if it laws

5 were not applied

6 TRAVELERS’ POLICY
7 9. Travelers issued a Commercial Insurance policy, No. I-660-3905B356-TCT-06, (the
8 “Policy”) to CollegeSource covering the period November 25, 2006 through November 25, 2007. A
9 copy of the portions of the Policy is attached as Exhibit “1.”

10 10. The policy includes Commercial General Liability coverage, amended and

ll superseded by the policy’s “Web Xtend Liability” endorsement (the “Endorsement”). In pertinent
12 part, the Endorsement “delete[s] in its entirety” the policy’s “Coverage B Personal and
13 Advertising Injury Liability” coverage provisions and, in pertinent part, replaces them with the

14 following relevant provisions:

15 COVERAGE B. PERSONAL INJURY, ADVERTISING INJURY
16 AND WEB SITE INJURY LIABILITY
17 l. Insuring Agreement
a. We will pay those sums that the insured becomes
18 legally obligated to pay as damages because of‘ ‘personal injury,”
“advertising injury” “web site injury” to which this insurance
19 applies. We will have0 the right and duty to defend the insured against
any “suit” seeking those damages.
20 . . . .
21 b. This insurance applies to: . . .
(2) “Advertising injury” caused by an offense
22 committed in the course of advertising your goods,
products or services; or
23
(3) “Web site injury” caused by an offense
24 committed in the course of the visual or audio
presentation of material on “your web site” or in the
25 numerical expression of computer code used to enable
“your web site”;
26
but only if the offense was committed in the “coverage
27 territory” during the policy period.
28 2. Exclusions

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1 This insurance does not apply to:

N

a. Knowing Violations of Rights of Another
“Personal injury”, “advertising injury” or “web
site injury” caused by or at the direction of the
insured with the knowledge that the act would
violate the rights of another and would inflict
“personal injury,” “advertising injury” or “web
site injury.”

g. . l Quality or Performance of Goods - Failure to
Conform to Statements

“Advertising injury” or “web site injury” arising
out of the failure of goods, products or services
to conform with any statement of quality or
performance made in the course of advertising
10 your goods, products or services.

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11 i Insureds in Media and Internet Type

Businesses
12
“Personal injury,” “advertising injury” or “web
13 site injury” committed by an insured whose

business is:

14
(1) Advertising, broadcasting, publishing or
15 telecasting;
16 (2) Designing or determining content of
website for others; or
17
(3) An Internet search, access, content or
18 service provider.
19 k. l ' Unauthorized Use of Another’s Name or
Product
20
“Personal injury, “advertising injury” or “web
21 site injury” arising out of the unauthorized use
1 of another’s name or product in your e-mail
22 address, domain name or metatag, or any other
similar activities that mislead another’s potential
23 customers.
24 sEcTION v - DEF!NITIONS
25 “Advertising injury” means injury, arising out of one or more of the
following offenses:
26
27 . . . .
c. Infringement of copyright, title or slogan, provided that claim
28 is made or “suit” is brought by a person or organization

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claiming ownership in such right, title or slogan.

“Web site injury” means injury, other than “personal injury” or
“advertising injury”, arising out of one or more of the following
offenses:

d. Infringement of copyright, title or slogan, provided that claim
is made or “suit” is brought by a person or organization
claiming ownership in such right, title or slogan.

THE UNDERLYING ACADEMYONE SUIT

11. AcademyOne, Inc. (“AcademyOne”) filed a complaint (“Complaint”) against
CollegeSource on December 8, 2008 in litigation styled AcademyOne, Inc. v. College Source, Inc.,
United States District Court, Eastern District of Pennsylvania, Case No. 2:08-cv-05707-JP (“the
AcademyOne action”). The AcademyOne action was served upon CollegeSource on December 22,
2008. A copy of the Complaint is attached as Exhibit “2.”

12. The Complaint alleges the following relevant facts:

5. Academy()ne provides an electronic system via the
internet that allows college students and administrators to assess the

equivalency of courses at different colleges and universities for
purposes of transfer.

6. AcademyOne’s business focus is improving the
efficiency and reducing the cost of the college transfer process for both
Students and educational institutions . . . The centerpieces of

AcademyOne’s business are the National Course Atlas, which
provides a catalog of current course information at educational
institutions across the country, and the Course Equivalency
Management Center (“CE`MC”), which provides an online means for
comparing the academic equivalence of courses at different
institutions.

11. On November 1, 2006, AcademyOne registered
www.collegetransfer.net as a domain name for hosting and offering its
products and services over the internet.

12. AcademyOne launched that site . . . in March 2007.

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1 13. AcademyOne collected course descriptions for its
database of current college catalogs in part by visiting approximately
2 4,000 colleges’ and universities’ websites. l.\/lany of these websites
provided links to .pdf files of the institution’s annual course catalog.
3 Others provided course descriptions directly on their webpages.
AcademyOne uploaded the course descriptions to its database in
4 batches
5 16. ln December 1971, the Career Guidance Foundation
(“CGF”) incorporated . . . . [lts] stated goal was to develop nationally
6 coordinated education information systems
7 28. CollegeSource has been operating since 2004 as the
pu1ported successor of CGF. . . .
8
29. CollegeSource’s business consists of maintaining and
9 updating a library of .pdf college and university course catalogs and,
most recently, providing online transfer evaluation systems for
10 institutions . . .
11 36. Upon information and belief, CollegeSource began
developing 'l"'ES, its transfer evaluation system_. in 2005. . . .
12

37. Upon information and belief, in April 2007,
13 CollegeSource formally launched its "l"ES rl"rans.fer Evaluation product
and began to directly compete with CEl\/lC. . . .

 

 

 

 

 

14 . . . .
39. On October 8, 2007, CollegeSource purchased the
15 www.collegetransfer.com domain name and set it to link directly to its
homepage, www.collegesource.com. With the exception of the
16 extension, the domain name is identical to AcademyOne’s website,
www.collegetransfer.net, which is widely recognized by prospective
17 transfer students
18 40. Upon information and belief, prior registration of the
www.collegetransfer.com domain name by a different registrant dating
19 from 2002 served as a placeholder, and the website had no content.
20 41. Currently, CollegeSource’s website features its "l`ES
application and advertises the ability to “Evaluate Coursework,"’
21 “Manage Equivalencies"’ and “lmprove 'l`ransfer!”
22 ' 42. CollegeSource’s use of www.collegen'ansfer.com is
likely to cause confusion in the marketplace about source and origin of
23 its goods and services "l`he average internet user who visits
www.collegetransfer.com is likely to be unaware that the products
24 [sic] it finds on that website are not supplied by AcademyOne, as they
are at www.collegetransfer.net. "1`his likelihood of confusion has
25 caused and is causing harm to AcademyOne.
26 COUNT II - TRADEMARK INFRINGEMENT AND FALSE
7 DESIGNATION PURSUANT TO 15 US.C. 8 1125(a)
2
67. AcademyOne incorporates the allegations of paragraph
28 [sic] l through 66, inclusive, of this Complaint as though the same

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were fully set forth herein.

70 ' CollegeSource registered www.collegetransfer.com on
October 8, 2007.

71. CollegeSource’s website differs from AcademyOne’s
only in the domain extension.

72. CollegeSource provided that the website
www.collegetransfer.com would immediately link back to its own
website.

73. CollegeSource’s website www.collegetransfer.com is
likely to cause confusion in the marketplace with AcademyOne’s

previously registered www.collegetransfer.net.

13. The remedies that AcademyOne seeks from CollegeSource include monetary
damages
COLLEGESOURCE’S CLAIM FOR COVERAGE AND TRAVELERS’ REFUSAL TO
DEFEND
14. Notice of the AcademyOne, Inc. v. College Source, Inc., United States District Court,
Eastern District of Pennsylvania, Case No. 2:08-cv-05707-JP (“the AcademyOne action”) action was
provided to Travelers on behalf of CollegeSource on June l, 2009. A copy of the notice letter is

attached as Exhibit “3.”

15. Supplemental notice of the AcademyOne action was provided to Travelers on behalf
of CollegeSource on June 4, 2009. A copy of the supplemental notice letter is attached as Exhibit
“4_»

16. Travelers denied coverage of the AcademyOne action by letter dated June 16, 2009.
A copy of Travelers’ denial letter is attached as Exhibit “5.”

17. On July 7, 2009 Gauntlett & Associates, on behalf of CollegeSource, requested that
Travelers confirm that its denial was for the 11/25/2006-11/25/2007 Policy in addition to the
subsequently issued Travelers policies A copy of the letter is attached as Exhibit “6.”

18. Travelers confirmed that its June 16, 2009 denial applied to all Travelers Commercial
Insurance policies covering the periods 11/25/2006 - 11/25/2007, 11/25/2007 - 11/25/2008, and
11/25/2008 - 11/25/2009, by letter dated July 17, 2009. A copy of the letter is attached as Exhibit
“7_»

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19. By refusing to defend, Travelers breached its duty to defend CollegeSource in the

AcademyOne action.

FIRST CAUSE OF ACTION
Declaratory Relief - Duty to Defend

20. CollegeSource, by this reference, incorporates each and every allegation|set forth in
the above paragraphs of this Complaint as though fully alleged herein.

21. A valid contract existed between CollegeSource and Travelers; specifically, the
Policy.

22. By issuing and delivering the Policy, Travelers agreed to provide a defense for suits
seeking damages for “personal injury, advertising injury, and web site injury” offenses as defined in
its Policy. Travelers breached its Policy duties by failing to defend CollegeSource.

23. CollegeSource fully performed all of the obligations and conditions to be performed
by it under the Policy or has been excused from performing them due to Travelers’ breach of its duty
to defend.

24. An actual bona fide controversy exists between CollegeSource, on the one hand, and
Travelers, on the other hand, that requires judicial declaration by this Court of the parties’ rights and
duties Specifically, the parties disagree about whether Travelers has a duty to defend
CollegeSource in the AcademyOne action and to pay all of the attorneys’ fees and costs
CollegeSource has incurred and will incur in its defense.

SECOND CAUSE OF ACTION
(Breach of Contract - Duty to Defend)

25. CollegeSource, by this reference, incorporates all preceding paragraphs as though
fully set forth herein.

26. Travelers breached its duty to defend the AcademyOne action by failing to provide
CollegeSource a defense.

27. As a direct and proximate result of Travelers’ breach, CollegeSource sustained
damages and is entitled to Travelers’ reimbursement and payment of the aggregate amount of

attorneys’ fees and other expenses it has incurred in defending itself in the AcademyOne action, plus

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1 pre-judgment interest thereon from and after the date of each invoice at the legal rate of 10%

2 (pursuant to Calif. Civil Code § 3287(a)).

3 PRAYER FOR RELIEF l
4 WHEREFORE, Plaintiff CollegeSource prays:

5 1. A judicial declaration that Travelers has a duty to defend CollegeSource in the

6 AcademyOne action under the Commercial General Liability policy it issued to CollegeSource

7 2. A judicial declaration that Travelers breached its duty to defend;

8 3. General damages in the sum of all attorneys’ fees and costs incurred by

9 CollegeSource in defense of the claims asserted in the AcademyOne action;

10 4. Pre-judgment interest accruing thereon from the date of each invoice at the legal rate

11 of 10% per annum;

12 5. For costs of suit herein; and

13 6. For such other and further relief as this Court may deem just and proper.
14

15 Dated: July 8, 2010 - GAUNTLETT & ASSOCIATES

16 A\`
17 By' < _

David A. Gauntlett
18 Andrew M. Sussman

19 Attorneys for Plaintiff
20 COLLEGESOURCE, INC.

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EXHIBIT 1
EXHIBIT 2
EXHIBIT 3
EXHIBIT 4
EXHIBIT 5
EXHIBIT 6
EXHIBIT 7

 

 

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EXHIBITS TO COMPLAINT

Commercial Insurance Policy for 2006-2007 period

Complaint in the AcademyOne action, filed on December 8, 2008
June 1, 2009 notice of tender letter to Travelers

June 4, 2009 supplemental notice letter to Travelers

June 16, 2009 denial letter from Travelers

July 7, 2009 letter to Travelers confirming denial for each policy year

July 17, 2009 supplemental denial letter from Travelers

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EXHIBIT 1

 

 

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§ TRAvELERs

 

COMMERC|AL |NSURANCE

 

A Custom insurance Policy Prepared for:

 

COLLEGESOURCE, lNC

HARRY G. COOPER. TRUSTEE OF
8090 ENG|NEER ROAD '
SAN DlEGO CA 92111

§ ef"_#'_"

 

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5 TRAVELERS One Tower Squarel Hartford, Connecticut 06183

 

INSTITUTIONAL - PUBLIC SCHOOLS
COMMON POLICY DECLARATIONS
ISSUE DATE: 10/18/06

POLICY NUMBER: I-660-39053356-TCT-06

INSURING COMPANY:
THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT

l.

NAMED INSURED AND MAILING ADDRESS:
COLLEGESOURCE, INC

HARRY G. COOPER. TRUSTEE OF (AS PER IL T8 00)
8090 ENGINEER ROAD

SAN DIEGO, CA 92111

 

 

 

2. POLICY PERIOD: From 11/25/06 to 11/25/07 12:01 A.M. Standard Time at
your mailing address.
3. LOCATIONS
Premises Bldg.
Loc. No. No. Occupancy Address
SEE IL TO 03

4. COVERAGE PARTS FORMING PART OF THIS POLICY AND INSURING COMPANIES:

COMMERCIAL PROPERTY COV PART DECLARATIONS CP TO 11 01 03 TCT

COMMERCIAL GENERAL LIABILITY COV PART DECLARATIONS CG TO 01 11 03 TCT
5. NUMBERS OF FORMS AND ENDORSEMENTS

FORMING A PART OF THIS POLICY: SEE IL TS 01 10 93
6. SUPPLEMENTAL POLICIES: Each of the following is a separate policy

containing its complete provisions:

Policy Policy No. Insuring Company

DIRECT BILL
7. PREMIUM SUMMARY:

Provisional Premium $ 3,898

Due at Inception

Due at Each $
NAME AND ADDRESS OF AGENT OR BROKER: COUNTERS|GNED BY:

G A PEARSON & ASSOCIATES (X0846)

6225 LUSK BLVD

STE B Authorized Representative

SAN DIEGO, CA 92121

DATE:

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OFFICE: ELMIRA NY SRV CTR

 

 

 

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5 TRAvELERs

 

POL|CY NUMBERZ I-660-3905B356-TCT-06
EFFECT|VE DATE: 11'25'05
lSSUE DATE: 10-18-06

LISTING OF FORMS, ENDORSEMENTS AND SCHEDULE NUMBERS

THIS LISTING SHOWS THE NUMBER OF FORMS, SCHEDULES AND ENDORSEMENTS
BY LINE OF BUSINESS.

IL T0 02 11 89 COMMON POLICY DECLARATIONS

IL T8 01 10 93 FORMS, ENDORSEMENTS AND SCHEDULE NUMBERS
IL TO 01 05 03 COMMON POLICY CONDITIONS

IL T0 03 04 96 LOCATION SCHEDULE

IL T8 00 NAMED INSURED ENDORSEMENT

COMMERCIAL PROPERTY

CP T0 11 01 03 COMMERCIAL PROPERTY DECLARATIONS

CP T0 05 04 94 MORTGAGEE SCHEDULE

CP 12 18 06 95 LOSS PAYABLE PROVISIONS

CP TO 00 01 03 TABLE OF CONTENTS

CP 00 90 07 88 COMMERCIAL PROPERTY CONDITIONS

CP T1 00 01 03 BUILDING & PERSONAL PROPERTY COV FORM
CP T1 09 01 03 BUSINESS INCOME COVERAGE FORM W/O EE
CP Tl 12 01 03 EXTRA EXPENSE COVERAGE FORM

CP Tl 08 01 03 CAUSES OF LOSS-SPECIAL FORM

CP T3 68 01 03 FUNGUS,ROT,BACTERIA CAUSES OF LOSS

CP T8 00 GENERAL PURPOSE ENDORSEMENT

CP T3 81 01 06 TERRORISM RISK INS ACT 2002 DISCLOSURE

COMMERCIAL GENERAL LIABILITY

CG T0 01 11 03 COML GENERAL LIABILITY COV PART DEC

CG TO 07 09 87 DECLARATIONS PREMIUM SCHEDULE

CG TO 08 11 03 KEY TO DECLARATIONS PREMIUM SCHEDULE
CG TO 34 11 03 TABLE OF CONTENTS

CG 00 01 10 01 COMMERCIAL GENERAL LIABILITY COV FORM
CG T8 00 GENERAL PURPOSE ENDORSEMENT

CG D2 55 11 03 AMENDMENT OF COVERAGE - POLLUTION

CG D3 25 01 04 ADDITIONAL INSURED - MORTGAGEE,ASSIGNEE
CG 21 70 11 02 CAP ON LOSSES CERTIFIED ACTS TERRORISM
CG D0 37 04 05 OTHER INSURANCE-ADDITIONAL INSUREDS

CG DO 86 11 03 HIRED AND NONOWNED AUTO EXCESS LIAB

CG D2 03 12 97 AMEND-NON CUMULATION OF EACH OCC

CG D2 34 01 05 WEB XTEND - LIABILITY

CG T4 91 11 88 ADDL INSD-DESIGNATED PERSON/ORGANIZATION
CG D2 43 01 02 FUNGI OR BACTERIA EXCLUSION

CG D2 56 11 03 AMENDMENT OF COVERAGE

CG D2 88 11 03 EMPLOYMENT-RELATED PRACTICES EXCLUSION
CG D3 26 01 04 EXCLUSION-UNSOLICITED COMMUNICATIONS
CG Dl 42 01 99 EXCLUSION-DISCRIMINATION

CG D2 42 01 02 EXCLUSION WAR

CG T4 78 02 90 EXCLUSION-ASBESTOS

|L T8 01 10 93 PAGE: 1 OF 2

 

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Z TRAvELERs

 

PoLlcY NuMBER: 1-660-390513356-TcT-06
EFFECT|VE DATE: 11~25~06
lSSuE DATE: 10-18-06

CG T3 33 11 03 LIMIT WHEN TWO OR MORE POLICIES APPLY
CG 32 34 01 05 CALIFORNIA CHANGES

INTERLINE ENDORSEMENTS

IL T3 68 01 06 FEDERAL TERRORISM RISK INSURANCE ACT

IL T3 79 01 06I CAPS ON LOSSES FROM CERT ACTS OF TERROR
IL 00 21 07 02 NUCLEAR ENERGY LIAB EXCL END-BROAD FORM
IL 01 02 05 05 CALIFORNIA CHANGES - ACTUAL CASH VALUE
IL 01 04 02 04 CALIFORNIA CHANGES

IL 02 70 11 04 CA CHANGES-CANCELLATION & NON-RENEWAL

IL T3 55 08 98 EXCL OF CERTAIN COMPUTER REL LOSSES

IL T0 10 04 94 LENDERS CERTIFICATE OF INSURANCE-FORM A
IL T0 11 03 96 LENDERS' CERTIFICATE OF INSURANCE-FORM B

lL T8 01 10 93 PAGE: 2 OF 2

 

 

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COMMON POL|CY COND|T|ONS

Ail Coverage Parts included in this policy are subject to the following conditions

A. CANCELLAT|ON

lL T0 01 05 03

1. The first Named insured shown in the Dec|a-
rations may cancel this policy by mailing or
delivering to us advance written notice of
cancellation.

2. We may cancel this policy or any Coverage
Part by mailing or delivering to the first
Named insured written notice of cancellation
at least:

a. 10 days before the effective date of can-
cellation if we cancel for nonpayment of
premium; or

b. 30 days before the effective date of can-
cellation if we cancel for any other
reason.

3. We will mail or deliver our notice to the first
Named lnsured’s last mailing address known
to us

4. Notice of cancellation will state the effective
date of cancellation. if the policy is can-
celled, that date will become the end of the
policy period. if a Coverage Part is can-
celled, that date will become the end of the
policy period as respects that Coverage Part
on|y.

5. if this policy or any Coverage Part is can-
celled, we will send the first Named insured
any premium refund due. if we cancel, the
refund will be pro rata. if the first Named
insured cancels the refund may be less than
pro rata. The cancellation will be effective
even if we have not made or offered a refund.

6. if notice is mailed, proof of mailing will be
sufficient proof of notice.

. CHANGES
This policy contains all the agreements between

you and us concerning the insurance afforded.
The first Named insured shown in the Dec|ar-
ations is authorized to make changes in the
terms of this policy with our consent This poi-
icy’s terms can be amended or waived only by
endorsement issued by us as part of this policy.

. EXAM|NAT|ON OF YOUR BOOKS AND RE-

CORDS

We may examine and audit your books and
records as they relate to this policy at any time
during the policy period and up to three years
afterward.

. lNSPECT|ONS AND SURVEYS

We have the right but are not obligated to:
1. Make inspections and surveys at any time;

includes copyrighted material of insurance Servlces Office,
with its permission Copyright, insurance Services Office, 1989

2. Give you reports on the conditions we find;
and

3. Recommend changes
Any inspections surveys reports or recom-
mendations relate only to insurability and the
premiums to be charged We do not make
safety inspections We do not undertake to
perform the duty of any person or organiza-
tion to provide for the health or safety of
workers or the public. And we do not warrant
that conditions:
1. Are safe or healthfu|; or
2. Comply with laws regulations codes or

standards

This condition applies not only to us, but
also to any rating, advisory, rate service or
similar organization which makes insurance
inspections surveys reports or recommen-
dations.

E. PREMIUMS

1. The first Named insured shown in the Dec|a-
ratlons:

a. is responsible for the payment of all
premiums; and

b. Will be the payee for any return pre-
miums we pay.

2. We compute ali premiums for this policy in
accordance with our rules rates rating
plans premiums and minimum premiums
The premium shown in the Dec|arations was
computed based on rates and rules in effect
at the time the policy was issued. On each
renewal continuation or anniversary of the
effective date of this policy1 we will compute
the premium in accordance with our rates
and rules then in effect.

F. TRANSFER OF YOUR R|GHTS AND DUT|ES

UNDER TH|S POLiCY

Your rights and duties under this policy may not
be transferred without our written consent except
ln the case of death of an individual named
insured.

if you die, your rights and duties will be
transferred to your legal representative but only
while acting within the scope of duties as your
legal representative. Until your legal represen-
tative is appointed, anyone having proper
temporary custody of your property will have
rights and duties but only with respect to that
property.

Page 1 of 2

 

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This policy consists of the Common Policy Dec|ara-
tions and the Coverage Parts and endorsements
listed in that declarations form.

ln return for payment of the premium, The Travelers
agrees with the Named insured to provide the in-
surance afforded by a Coverage Part forming part of
this policy. That insurance will be provided by the

The Travelers indemnity Company (iND)
The Phoenlx insurance Company (PHX)
The Charter Oak Fire insurance Company (COF)

Travelers Property Casualty Company of America (T|L)
* The Travelers indemnity Company of Connecticut (TCT)

The Travelers indemnity Company of America (TlA)

company indicated as insuring company in the Com-
mon Policy Dec|arations by the abbreviation of its
name opposite that Coverage Part.

The companies listed below (each a stock company)
have executed this policy, but it is valid only if
countersigned on the Common Policy Dec|arations
by our authorized representative

*Formerly known as the Travelers indemnity Company of Rhode island (TR|)

Ac._\am.t.\

Genera| Counse| & Secretary

Page 2 of 2

Chairman of the Board & Chief Executive Officer

|L T0 01 05 03

 

 

 

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LOCAT|ON SCHEDULE POL|CY NUMBER: I-660-39053356-TCT-06

This Schedu|e of Locations and Buiidings applies to the Common Policy Dec|arations for the period
11-25-06 to ll-25-07.

Loc. Bldg.
No. No. Address Occupancy
1 1 8090 ENGINEER ROAD MICROFILM COPYING
SAN DIEGO, CA 92111
|L T0 03 04 96

Page 1 (END)

 

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POL|CY NUMBER: I'660-39O5B355~TCT~05 GENERAL PURPOSE ENDORSEMENT

NAMED INSURED ENDORSEMENT

ITEM 1 NAMED INSURED TO READ:

COLLEGESOURCE, INC HARRY G. COOPER. TRUSTEE OF
THE HARRY G. COOPER TRUST DATED 09/21/89

lL T8 00 Page 1 (END)

 

 

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COMMERC|AL PROPERTY

 

 

 

 

 

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COMMERC|AL PROPERTY

 

 

 

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5 TRAVELERS One Tower Square. Hartford, Connecticut 06183

COMMERC|AL PROPERTY POL|CY NUMBER: I-660-3905B356-TCT-06
COVERAGE PART DECLARAT|ONS lSSUE DATE: 10-18-06

 

INSURING COMPANY:
THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT

DECLARATIONS PERIOD: From 11/25/06 to 11/25/07 12:01 A.M. Standard Time at your
mailing address shown in the Common Policy Declarations.

The Commercial Property Coverage Part consists of these Declarations and the
attached Supplemental Declaration(s), Schedule(s), Table of Contents, Commercial
Property Conditions, the Coverage Form(s), the Cause of Loss Form(s) and
endorsements.

l. COVERAGE - Insurance applies only to premises location(s) and building number(s)
shown below for the coverage(s), optional coverage(s) or coverage option(s)
indicated in this Declarations or specified in any endorsements attached to this
Coverage Part.

2. DEDUCTIBLE - The following deductible applies unless a different or more
specific deductible is indicated within this Declarations or by endorsement.

$ 1,000 per occurrence

PREMISES LOCATION NO. 0001 BUILDING NO. 0001
LIMIT OF CAUSES
COVERAGE INSURANCE COINSURANCE OF LOSS
Building $ 633,195 100% Special

Agreed Value applies
Replacement Cost applies

Your Business Personal Property $ 1,016,488 90% Special
Replacement Cost applies

Business Income Without Extra Expense $ 200,000 100% Special
Ordinary Payroll is included
Period of Restoration - Time Period: 72 hours
Civil Authority - Time Period: 72 hours
Civil Authority Coverage Period: 21 consecutive days
Extended Business Income: 30 days

Extra Expense $ 30,000 n/a Special
Restoration Period and Monthly Percentage
Limits on Loss Payment: 40-80-100%
Civil Authority Coverage Period: 21 consecutive days

 

CPT0110103

PRODUCER! G A PEARSON & ASSOCIATES X0846 OFF|CEZ ELMIRA NY SRV CTR 700

 

 

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g TRAVELERS One Tower Squarel Hartford, Connecticut 06183

COMMERC|AL PROPERTY POL|CY NUMBER: I-660-39OSB356-TCT-06
COVERAGEPARTDECLARA“ONS lSSUEDATE 10-1306

 

SUPPLEMENTAL DECLARATIONS

ADDITIONAL COVERAGES & COVERAGE EXTENSIONS

 

The following Additional Coverages and Coverage Extensions are provided under the
Coverage Form(s) listed below for the Limits of Insurance shown. These Limits of
Insurance apply in any one occurrence unless otherwise stated.

Some of these Additional Coverages and Coverage Extensions, or the applicable
Limits of Insurance, may be modified by endorsements attached to this policy. There
may also be other Additional Coverages or Coverage Extensions within your policy.
Please read it carefully.

BUILDING AND PERSONAL PROPERTY COVERAGE FORM

 

Limit of
Additional Coverages Insurance
Debris Removal
- Additional Amount at each described premises $ 25,000
Pollutant Cleanup and Removal 1
- 12 Month Aggregate Limit $ 25,000 l
Preservation of Property Policy Limit
Fire Department Service Charge $ 5,000
Reward Coverage
- Maximum Limit $ 5,000 `
Increased Cost of Construction l
- At each described premises $ 10,000 `
Fire Protective Equipment Discharge $ 5,000
Coverage Extensions l
Newly Acquired or Constructed Property
- Each Building $ 500,000
- Personal Property in total, at each premises $ 250,000
Personal Effects and Property of Others
- At each described premises $ 10,000
- Any one employee $ 2,500

Valuable Papers and Records
- At each described premises $ 10,000
Property Off-Premises
- At any installation premises or temporary storage
premises while awaiting installation $ 10,000
- At any other premises you do not own, lease, or
regularly operate including fairs, trade shows

and "exhibitions" $ 25,000
Temporary Relocation of Property $ 50,000
Outdoor Property $ 10,000

- Any one treel shrub or plant $ 500
- Any one antenna $ 2,500
Claim Data Expense $ 2,500

CPT0110103

PRODUCERI G A PEARSON & ASSOCIATES X0846 OFF|CEI ELMIRA NY SRV CTR 700

 

 

 

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g TRAVELERS One Tower Squarel Hartford, Connecticut 06183

 

COMMERC|AL PROPERTY POL|CY NUMBER: I-660-3905B356-TCT-06
COVERAGEPARTDECLARAUONS |SSUEDATE 10-1&£6
BUILDING AND PERSONAL PROPERTY COVERAGE FORM (Continued)
Limit of
Coverage Extensions Insurance
Extra Expense (including Expediting Expenses) $ 2,500

Accounts Receivable

- At each described premises $ 10,000
Non-Owned Detached Trailers $ 5,000
Outside Signs $ 2,500
Covered Property in Transit $ 10,000
Duplicate Electronic Data Processing Data & Media $ 10,000
$

Electronic Data Processing Equipment and Data & Media - Limited 10,000
Theft Damage to Rented Property Policy Limit
BUSINESS INCOME WITHOUT EXTRA EXPENSE COVERAGE FORM

Limit of

Additional Coverages Insurance

Expenses to Reduce Loss Policy Limit

Alterations and New Buildings Policy Limit

Interruption of Computer Operations - Aggregate Limit $ 25,000

Delayed Net Income Loss Policy Limit
Coverage Extensions

Newly Acquired Locations $ 250,000

Claim Data Expense $ 2,500

EXTRA EXPENSE COVERAGE FORM

Limit of

Additional Coverages Insurance

Alterations and New Buildings Policy Limit

Interruption of Computer Operations - Aggregate Limit $ 25,000
Coverage Extensions

Newly Acquired Locations $ 100,000

Claim Data Expense $ 2,500

CPT0110103

PRODUCER G A PEARSON & ASSOCIATES X0846 OFHCEZ ELMIRA NY SRV CTR700

 

 

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g TRAVELERS One Tower Square, Hartford, Connecticut 06183

 

COMMERC|AL PROPERTY _ POL|CY NUMBER: I-660-39053356-TCT-06
COVERAGE PART DECLARAT|ONS lSSUE DATE:
Premises Bldg. Mortgage Ho|der
Loc. No. No. Name and Maiiing Address
1 1 MIDLAND LoAN sERvIcEs, INc

AND AS PER CP T8 00
NCCI-026-06-01

900 WEST TRADE STREET, STE 650
CHARLOTTE NC 28255

CP T0 05 04 94

 

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COMMERC|AL PROPERTY
POL|CY NUMBER: I-660-3905B356-TCT-06 lSSUE DATE: 10-18-06

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

LOSS PAYABLE PROV|S|ONS

This endorsement modihes insurance provided under the following:

BU|LD|NG AND PERSONAL PROPERTY COVERAGE FORM
BUlLDERS’ R|SK COVERAGE FORM

CONDOM|N|UM ASSOC|AT|ON COVERAGE FORM
CONDOM|N|UM COMMERC|AL UN|T-OWNERS COVERAGE FORM
STANDARD PROPERTY POL|CY

SCHEDULE
Prem. Bldg.
No. No.
Description Loss Payee
of Property (Name & Address)
SEE CP TB 87 03 99
Loss Lenders Contract
Payab|e Loss Payabie of Sa|e

Provisions App|icabie:

A. When this endorsement is attached to the
STANDARD PROPERTY POL|CY CP 00 99 the
term Coverage Part in this endorsement is re-
placed by the term Policy.

The following is added to the LOSS PAYl\/iENT
Loss Conditionl as indicated in the Declarations
or by an "X'l in the Schedule:

B. LOSS PAYABLE
For Covered Property in which both you and a
Loss Payee shown in the Schedule or in the
Declarations have an insurable interest, we will:

1. Adjust losses with you; and

2. Pay any claim for loss or damage jointly to
you and the Loss Payee, as interests may
appear.

C. LENDER’S LOSS PAYABLE

1. The Loss Payee shown in the Schedule or in
the Declarations is a creditorl including a
mortgageho|der or trustee, whose interest in
Covered Property is established by such
written instruments as:

CP1218 06 95

Warehouse receipts

A contract for deed:

Bills of lading:

Flnancing statements or

ll/lortgages deeds of trust, or security
agreements

For Covered Property in which both you and

a Loss Payee have an insurable interest:

a. We will pay for covered loss or damage
to each Loss Payee in their order of
precedence, as interests may appear

b. The Loss Payee has the right to receive
loss payment even if the Loss Payee has
started foreclosure or similar action on
the Covered Property

c. lf we deny your claim because of your
acts or because you have failed to comp-
ly with terms of the Coverage Part the
Loss Payee will still have the right to
receive loss payment if the Loss Payee:

sense

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COMMERC|AL PROPERTY

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(1) Pays any premium due under this
Coverage Part at our request if you
have failed to do so:

(2) Submits a signed, sworn proof of
loss within 60 days after receiving
notice from us of your failure to do
so: and

(3) Has notified us of any change in
ownership, occupancy or substantial
change in risk known to the Loss
Payee.

All of the terms of this Coverage Part will

then apply directly to the Loss Payee,

if we pay the Loss Payee for any loss or
damage and deny payment to you be-
cause of your acts or becauseyou have
failed to comply with the terms of this
Coverage Part:

(1) The Loss Payee’s rights will be trans-
ferred to us to the extent of the
amount we pay: and

(2) The Loss Payee’s rights to recover

the full amount of the Loss Payee’s
claim will not be impaired,
At our option, we may pay to the
Loss Payee the whole principal on
the dept plus any accrued interest. in
this event, you will pay your remain-
ing debt to us.

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3.

if we cancel this policy, we will give written

notice to the Loss Payee at least:

a. 10 days before the effective date of can-
cellation if we cancel for your non-pay-
ment of premium: or

b 30 days before the effective date of can-
cellation if we cancel for any other
reason

if we elect not to renew this policy, we will
give written notice to the Loss Payee at least
10 days before the expiration date of this
policy.

D. CONTRACT OF SALE

1.

The Loss Payee shown in the Schedule or in
the Declarations is a person or organization
you have entered a contract with for the sale
of Covered Property.

For Covered Property in which both you and

the Loss Payee have an insurable interest,

we will:

a. Adjust losses with you; and

b. Pay any claim for loss or damage jointly
to you and the Loss Payee, as interest
may appear.

The following is added to the OTHER lN-
SURANCE Condition:

For Covered Property that is the subject of a
contract of saie, the word "you" includes the
Loss Payee.

CP 12 18 06 95

 

 

 

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COMMERC|AL PROPERTY

POL|CY NUMBER: I-660-3905B356-TCT-06 lSSUE DATE;10-13-05

LOSS PAYABLE PROV|S|ONS SCHEDULE

Loss Payee (Name & Address)

MIDLAND LOAN SERVICES, INC.
AND AS PER CP T8 00
NCCI-026-06-01

900 WEST TRADE STREET, STE 650

CHARLOTTE NC 28255
Prem. Bldg. Description Provisions
No. No. of Property App|icab|e
1 l BUSINESS PERSONAL PROPERTY Loss Payable

CP T8 87 03 99

 

 

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COMMERC|AL PROPERTY
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The following indicates the contents of the principal Forms which may be attached to your policy. it contains
no reference to the Declarations or Endorsements which also may be attached.
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A. Concea|ment, i\/|isrepresentation or ' A. Coverage
Fraud B. Covered Causes of Loss, Exclusions
B. Control of Property and Limitations
C. insurance Under Two or More C. Limits of insurance
Coverages D. Loss Conditions
D. Legal Action Against Us E. Additional Condition
E. Liberalization F. Optional Coverages
F. No Benetit to Bai|ee G. Definitions
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H. Policy Period, Coverage Territory BUlLDERS’ R|SK COVERAGE FORM
|. Transfer of Rights of Recovery A- Coverage
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A. Covered Causes of Loss
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E. Definitions

 

 

 

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COMMERC|AL PROPERTY

 

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Coverage

Exclusions

Limits of insurance

Loss Conditions

Additional Conditions
DeHnition

.`"'!""_O.OPJ.>

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Additional Coverage-Collapse
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A-l\/lortgage Ho|der’s interest
Conditions Applicable to Coverage
B-Property Owned or Held in Trust
G. Conditions Applicable to Coverage
C-Mortgagee Ho|ders Liability
and Coverage D-Rea| Estate Tax
Liability
H. Conditions Applicable to A|l Coverages
i. Definitions

mvow>

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LEASEHOLD |NTEREST COVERAGE FORM
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mmsow>

TOBACCO SALES WAREHOUSES COVERAGE
FORM

Coverage

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Limits of insurance

Deductible

Loss Conditions

Additional Conditions

Definitions

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COMMERC|AL PROPERTY

COMMERC|AL PROPERTY COND|T|ONS

This Coverage Part is subject to the following conditions the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commerciai Property Coverage Forms.

A.

CP 00 90 07 88

CONCEALMENT, MlSREPRESENTAT|ON OR
FRAUD

This Coverage Part is void in any case of fraud
by you as it relates to this Coverage Part at any
time. lt is also void if you or any other insured, at
any timel intentionally conceal or misrepresent a
material fact concerning:

1. This Coverage Part;

2. The Covered Property;

3. Your interest in the Covered Property; or
4. A claim under this Coverage Part.
coNTRoL oF PRoPERTv '

Any act or neglect of any person other than you
beyond your direction or control will not affect
this insurance.

The breach of any condition of this Coverage
Part at any one or more locations will not affect
coverage at any location where, at the time of
loss or damage, the breach of condition does not
exist

lNSURANCE UNDER TWO OR MORE
COVERAGES

if two or more of this policy’s coverages apply to
the same loss or damage, we will not pay more
than the actual amount of the loss or damage.

LEGAL ACT|ON AGA|NST US

No one may bring a legal action against us
under this Coverage Part unless

1. There has been full compliance with all of the
terms of this Coverage Part; and

2. The action is brought within 2 years after the
date on which the direct physical loss or
damage occurred.

L|BERAL|ZAT|ON

if we adopt any revision that would broaden the
coverage under this Coverage Part without addi-
tional premium within 45 days prior to or during
the policy perlod, the broadened coverage will
immediately apply to this Coverage Part.

NO BENEF|T TO BA|LEE

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No person or organization, other than you,
having custody of Covered Property will benefit
from this insurance.

G. OTHER lNSURANCE

1. You may have other insurance subject to the
same planl terms conditions and provisions
as the insurance under this Coverage Part. if
you do, we will pay our share of the covered
loss or damage, Our share is the proportion
that the applicable Limit of insurance under
this Coverage Part bears to the Limits of ln-
surance of all insurance covering on the
same basis

2. if there is other insurance covering the same
loss or damage, other than that described in
1. above, we will pay only for the amount of
covered loss or damage in excess of the
amount due from that other insurance,
whether you can collect on it or not But we
will not pay more than the applicable Limit of
lnsurance.

H. POLiCY FER|OD, COVERAGE TERRlTORY

Under this Coverage Part;
1. We cover loss or damage commencing:

a. During the policy period shown in the
Declarations; and

b. Within the coverage territory.
2. The coverage territory is:_

a. The United States of America (including
its territories and possessions);

b. Puerto Rico; and
c. Canada.

TRANSFER OF R|GHTS OF RECOVERY
AGA|NST OTHERS TO US

if any person or organization to or for whom we
make payment under this Coverage Part has
rights to recover damages from another, those
rights are transferred to us to the extent of our

' payment That person or organization must do

everything necessary to secure our rights and
must do nothing after loss to impair them. But

Page 1 of 2

 

 

 

 

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COMMERC|AL PROPERTY
you may waive your rights against another party a. Someone insured by this insurance;
m Wr't'"gi b. A business firm:
1. Prior to a loss to your Covered Property or (1) Owned Or Control|ed by you; Or

Covered income.

2 That owns or controls ou; or
2. After a loss to your Covered Property or ( ) y
Covered income only if, at time of loss that °' Your tenant-
party is one of the following: This will not restrict your insurance

 

 

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BUlLD|NG AND PERSONAL PROPERTY
COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights duties and
what is and is not covered.

Throughout the policy the words "you" and "your" refer to the Named insured shown in the Declarations The
words "we", "us" and "our" refer to the Company providing this insurance.

Other words and phrases that appear in quotation marks have special meaning Refer to SECT|ON H -
DEF|N|T|ONS.

A. COVERAGE

We will pay for direct physical loss of or damage
to Covered Property at the premises described in
the Declarations caused by or resulting from a
Covered Cause of Loss.

Covered Property

Covered Property, as used in this Coverage
Part, means the type of property described in
this section, A.1., and limited in A.2., Prop-
erty Not Covered, if a Limit of insurance is
shown in the Declarations for that type of
property.

1.

a.

Building, meaning the building or struc-
ture described in the Declarations in-
ciuding:

(1) Comp|eted additions
(2) Fixtures, including outdoor fixtures

(3) Machinery and equipment perma-
nently attached to the building or
structure;

(4) Personal property owned by you that
is used to maintain or service the
building or structure or its premises
including:

(a) Fire extinguishing equipment;
(b) Outdoor furniture;
(c) Floor coverings

(d) Lobby and hallway furnishings
owned by you;

(e) Appliances used for refrigerating,
ventilating, cooking, dishwashing
or laundering (not used for res-
taurant operations);

(f) Lawn maintenance and snow re-
moval equipment; and

(g) Alarm systems

CP T1 00 01 03

(5) |f not covered by other insurance;

(a) Aiterations and repairs to the
building or structure; and

(b) Materia|s equipment supplies
and temporary structures on or
within 1,000 feet of the described
premises used for making ai-
terations or repairs to the building
or structure.

b. Your Business Personal Property lo-

cated in or on the building described in
the Declarations or in the open (or in a
vehicle) within 1,000 feet of the de-
scribed premises consisting of the fol-
lowing unless otherwise specified in the
Declarations or on the Your Business
Personal Property-Separation of Cover-
age endorsement

(1) Furniture and fixtures
(2) Machinery and equipment;
(3) "Stock";

(4) A|l other personal property owned by
you and used in your business

(5) Labor, materials or services fur-
nished or arranged by you on per-
sonal property of others

(6) Your use interest as tenant in im-
provements and betterments lm-
provements and betterments are fix-
tures alterations installations or ad-
ditions:

(a) Made a part of the building or

structure you occupy or lease,
but do not own; and

(b) You acquired or made at your
expense but are not permitted to
remove;

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(7) Leased personal property for which
you have a contractual responsibility
to insure, unless coverage is other-
wise provided for under Personal
Property of Others.

Your Business Personal Property does
not include "Electronic Data Processing
Equipment" or "Electronic Data Process-
ing Data and Media" except as provided
under Sections A.1.d. "Electronic Data
Processing Equipment" and A.1.e. "Elec-
tronic Data Processing Data and Media".

Personal Property of Others that is:
(1) in your care, custody or control; and

(2) Located in or on the building de-
scribed in the Declarations or in the
open (or in a vehicle) within 1,000
feet of the described premises

However, our payment for loss of or
damage to Personal Property of Others
will only be for the account of the owner
of the property.

Personal Property of Others does not in-
clude "Electronic Data Processing Equip-
ment" or "Electronic Data Processing
Data and Media" except as provided un-
der Sections A.1.d. "Electronic Data
Processing Equipment" and A.1.e. "Elec-
tronic Data Processing Data and Media".

"Electronic Data Processing Equip-
ment" that you own or lease, or that is in
your carel custody or contro|, while lo-
cated in or on the building described in
the Declarations or in the open (or in a
vehicle) within 1,000 feet of the de-
scribed premises

"Electronic Data Processing Data and
Media" that you own or lease, or that is
in your carel custody or controi, while lo-
cated in or on the building described in
the Declarations or in the open (or in a
vehicle) within 1,000 feet of the de-
scribed premises

2. Property Not Covered

Unless the following property is added by
endorsement to this Coverage Form, Cov-
ered Property does not include:

a.

Accounts bills, currency, other evidences
of debt, money, notes checks drafts se-
curities or food stamps except as pro-
vided in the Accounts Receivab|e Cover-

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age Extension. Lottery tickets held for
sale are not securities

Live animals birds or fish, unless owned
by others and boarded by you, or if
owned by youl only as "stock" while in-
side of buildings

Automobi|es held for sa|e;

Contraband, or property in the course of
illegal transportation or trade;

The cost of excavations grading, back
filling or filling;
Foundations of buildings structures ma-

chinery or boilers if their foundations are
below:

(1) The lowest basement floor; or

(2) The surface of the ground, if there is
no basement;

Water or land whether in its natural state
or otherwise (including land on which the
property is located), land improvements
growing crops standing timber;

Aircraft or watercraft (other than water-
craft owned by you while out of water at
the described premises); and personal
property while airborne or waterborne ex-
cept as provided in the Covered Property
in Transit Coverage Extension;

Bulkheads pilings piers wharves docks
dikes or dams

Property that is covered under another
Coverage Form of this or any other policy
in which lt is more specifically described,
except for the excess over the amount
due (whether you can collect on it or not)
from that other insurance;

Underground pipes flues, drains tanks
tunnels all whether or not connected to
buildings mines or mining property;

The cost to research, replace or restore
the information on "Vaiuabie Papers and
Records", except as provided in the
Valuable Papers and Records - Cost of
Research Coverage Extension;

. Vehic|es or self-propelled machines that:

(1) Are licensed for use on public roads
or

(2) Are operated principally away from
the described premises

but this paragraph does not apply to:

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(a) Vehic|es or self-propelled machines
other than automobiles you manu-
facture, process warehouse or hold
for sale;

(b) Automobiles you manufacture, proc-
ess or warehouse; or

(c) Trailers or Semi-Trailers except as
provided in (a) above or as provided
for in the Coverage Extension for
Non-Owned Detached Trailers

n. The following property while outside of
buildings

(1) Harvested grain, hay, straw or other
crops or

(2) The following Outdoor Property, ex-
cept as provided in the Outdoor
Property Coverage Extension;

(a) Bridges, walks roadways patios
or other paved surfaces

(b) Retaining walls that are not part
of the buildings described in the
Declarations

(c) Fences, trees shrubs and plants
(other than "stock" of trees
shrubs or piants), or lawns (in-
cluding fairways greens and
tees); or

(d) Radio or television antennas (in-
cluding microwave or satellite
dishes) and their lead-in wiring,
masts or towers

The cost of restoring land or water;

Any "Electronic Data Processing Data
and Media" which is obsolete or no longer
used by you;

q. Outside signs except as provided in the
Outside Signs Coverage Extension; or

r. Additions under construction except as
provided in the Newly Acquired or Con-
structed Property Coverage Extension.

3. Covered Causes of Loss

See applicable Causes of Loss Form as
shown in the Declarations

4. Additional Coverages

Each of these Additional Coverages is addi-
tional insurance unless otherwise indicated

Unless otherwise indicated in the Declara-
tions or by endorsement the following Addi-
tional Coverages apply:

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b.

Debris Removai

(1) We will pay your expense to remove
debris of Covered Property, other
than outdoor property as included in
the Outdoor Property Coverage Ex-
tension, caused by or resulting from a
Covered Cause of Loss that occurs
during the policy period. The ex-
penses will be paid only if they are
reported to us in writing within 180
days of the date of direct physical
loss or damage.

This Additional Coverage does not

apply to:

(a) Costs to extract "po||utants" from
land or water; or

(b) Costs to remove, restore or re-
place polluted land or water.

(2) Except as provided in (3) below,
payment for Debris Removai is in-
cluded within the applicable Limit of
insurance shown in the Declarations
The most we will pay under this Ad-
ditional Coverage is 25% of:

(a) The amount we pay for the direct
physical loss of or damage to
Covered Property; plus

(b) The deductible in this Coverage
Part applicable to that loss or
damage.

(3) When the debris removal expense
exceeds the 25% limitation in (2)
above or when the sum of the debris
removal expense and the amount we
pay for the direct physical loss of or
damage to Covered Property ex-
ceeds the applicable Limit of lnsur-

' ance, we will pay an additional
amount for debris removal expense
up to $25,000, for each of your
premises in any one occurrence.

Po|lutant Cleanup and Removai

We will pay your expense to extract
"po||utants" from land or water at the de-
scribed premises if the discharge, dis-
persal, seepage, migration, release or
escape of the "po||utants" is caused by or
results from a Covered Cause of Loss
which occurs

(1) On the described premises
(2) To Covered Property; and

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(3) During the policy perlod.

The expenses will be paid only if they are
reported to us in writing within 180 days
of the date on which the Covered Cause
of Loss occurs

This Additional Coverage does not apply
to costs to test for, monitor or assess the
existencel concentration or effects of
"po||utants" But we will pay for testing
which is performed in the course of ex-
tracting the "po||utants" from the land or
water.

The most we will pay under this Addi-
tional Coverage is $25,000 for the sum of
all covered expenses arising out of ali
Covered Causes of Loss occurring during
each separate 12 month period of this
policy beginning with the effective date of
this policy.

Preservation of Property

if it is necessary to move Covered Prop-
erty from the described premises to pre-
serve it from loss or damage by a Cov-
ered Cause of Loss we will pay for:

(1) The necessary and reasonable ex-
penses actually incurred by you to
remove the Covered Property from
the described premises temporarily
store the Covered Property at an-
other location and to move the Cov-
ered Property back to the described
premises and

(2) Any direct physical loss or damage to
Covered Property while it is being
moved from a described premises
while temporarily stored at another
location or while being moved back
to the described premises

However, this Additional Coverage will
only apply if the loss or damage occurs
within 90 days after the Covered Property
is first moved and will cease when the
policy is amended to provide insurance at
the new location, the Covered Property is
returned to the existing location or this
policy expires whichever occurs first

Payments under this Additional Coverage
will not increase the applicable Limit of
lnsurance.

Fire Department Service Charge

When the fire department is called to
save or protect Covered Property from a

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Covered Cause of Loss we will pay up to
$5,000 in any one occurrence for your li-
ability for fire department service
charges

(1) Assumed by contract or agreement
prior to loss or

(2) Required by local ordinance.

No Deductible applies to this Additional
Coverage.

Reward Coverage

We will reimburse you for rewards you
have incurred for information leading to:

(1) The successful return of undamaged
stolen Covered Property to a law
enforcement agency; or

(2) The arrest and conviction of any per-
son who has damaged or stolen any
of your Covered Property.

We will pay 25% of the covered loss
(prior to the application of any applicable
deductible and recovery of undamaged
stolen Covered Property) up to a maxi-
mum of $5,000 in any one occurrence for
the payments of rewards you make.
These reward payments must be docu-
mented. No deductible applies to this Ad-
ditional Coverage. '

increased Cost of Construction or Re-

pair

(1) This Additional Coverage applies
only to buildings to which the Re-
placement Cost Optiona| Coverage
applies

(2) in the event of damage by a Covered
Cause of Loss to buildings that are
Covered Property, we will pay the in-
creased costs incurred to comply with
enforcement of an ordinance or law
in the course of repair, rebuilding or
replacement of damaged parts of that
property, subject to the limitations
stated in f.(3) through f.(8) of this
Additional Coverage.

(3) The ordinance or law referred to in
f.(2) of this Additional Coverage is an
ordinance or law that regulates the
construction or repair of buildings or
establishes zoning or land use re-
quirements at the described prem-
ises and is in force at the time of
loss

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(4) Under this Additional Coverage, we
will not pay any costs due to an ordi-
nance or law that:

(a) You were required to comply with
before the loss even when the
building was undamaged; and

(b) You failed to comply with.

(5) Under this Additional Coverage, we
will not pay any costs associated with
the enforcement of an ordinance or
law which requires any insured or
others to test forl monitor, clean up,
remove, contain, treat, detoxify or
neutralize, or in any way respond tol
or assess the effects of "po||utants".

(6) The most we will pay under this Ad-
ditional Coverage at each of your de-
scribed premises is $10,000 in any
one occurrence.

(7) With respect to this Additional Cov-
erage:

(a) We will not pay the increased
Cost of Construction or Repair:

(i) Until the property is actually
repaired or replaced, at the
same or another premises
and

(ii) Uniess the repairs or re-
placement are made as soon
as reasonably possible after
the loss or damage, not to
exceed two years We may
extend this period in writing
during the two years

(b) if the building is repaired or re-
placed at the same premises or
if you elect to rebuild at another
premises the most we will pay
for the increased Cost of Con-
struction or Repair, subject to the
provisions of f.(6) of this Addi-
tional Coveragel is the increased
cost of construction or repair at
the same premises

(c) if the ordinance or law requires
relocation to another premises
the most we will pay for the in-
creased Cost of Construction or
Repair, subject to the provisions
of f.(6) of this Additional Cover-
age, is the increased cost of con-

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struction or repair at the new
premises

(8) This Additional Coverage is not sub-
ject to the terms of the Ordinance or
Law Exclusion, to the extent that
such Exclusion would conflict with
the provisions of this Additional Cov-
erage.

Fire Protective Equipment Discharge

if fire protective equipment discharges
accidentally or to control a Covered
Cause of Loss we will pay your cost to:

(1) Refill or recharge the system with the
extinguishing agents that were dis-
charged; and

(2) Replace or repair faulty valves or
controls which caused the discharge.

The most we will pay under this Addi-
tional Coverage is $5.000 in any one oc-
currence.

5. Coverage Extensions

Each of these Coverage Extensions is addi-
tional insurance unless otherwise indicated

Uniess othen/vise indicated in the Declara-
tions or by endorsement the following Cov-
erage Extensions apply:

Newly Acquired or Constructed Prop-
erty

We will pay for direct physical loss or
damage by a Covered Cause of Loss to:

(1) Buildings:

(a) Your new buildings or additions
to existing buildings insured un-
der this Coverage Part while be-
ing built on the described prem-
ises or newly acquired premises
including materials equipment
supplies and temporary struc-
tures on or within 1,000 feet of
the premises and

(b) Buildings you acquire at the de-
scribed premises or at locations
other than the described prem-
ises.

The most we will pay for loss or
damage to this building property in
any one occurrence is $500,000 at
each building.

(2) Your Business Personal Property,
Personal Property of Others, Elec-

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tronic Data Processing Equipment,
and Electronic Data Processing
Data and Media:

(a) if a Limit of insurance is shown in
the Declarations for Your Busi-
ness Personal Property, Personal
Property of Others "Electronic
Data Processing Equipment" or
"Electronic Data Processing Data
and Media", you may extend that
insurance to apply to that type of
property at:

(i) A building you newly acquire
at a location described in the
Declarations or

(ii) At any other location you ac-
quire by purchase or lease
(other than at fairs, trade
shows or exhibitions).

The most we will pay for loss or
damage to all types of property de-
scribed above in any one occurrence
is $250,000 in total at each location,

(3) insurance under this Extension for
each newly acquired or constructed
property will end when any of the
following first occurs

(a) This policy expires

(b) 90 days expire after you acquire
or begin to construct the prop-
ert1/;

(c) You report values to us; or

(d) The property is more specifically
insured.

We will charge you additional pre-

mium for values reported from the

date construction begins or you ac-
quire the property,

b. Personal Effects and Property of Oth-

eI'S

You may extend the insurance that ap-
plies to Your Business Personal Property
to apply to the following types of property
only while on the described premises

(1) Personal effects or "Fine Arts" owned
by you, your officers your partners
your managers or your employees

(2) Personal property (other than per-
sonal effects "Fine Arts", "Electronic
Data Processing Equipment" or

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"Electronic Data Processing Data and
Media") owned by;

(a) Your employees for not more
than $2,500 for any one em-
ployee; or

(b) Others, and in your care, custody
or contro|.

The most we will pay for loss or damage
under this Extension in any one occur-
rence is $10,000 at each described
premises The direct physical loss or
damage must be caused by a Covered
Cause of Loss Our payment for loss of
or damage to personal property of others
will only be for the account of the owner
of the property.

Valuable Papers and Records - Cost
of Research

You may extend the insurance that ap-
plies to Vour Business Personal Property
to apply to your costs to research, re-
place or restore the lost information on
lost or damaged "Vaiuabie Papers and
Records" for which duplicates do not ex-
ist.

The most we will pay under this Exten-
sion in any one occurrence is $10,000 at
each described premises The direct
physical loss or damage must be caused
by a Covered Cause of Loss.

Property Off-Premises

(1) You may extend the insurance that
applies to your Covered Property and
Covered Personal Property of Others
to apply to direct physical loss or
damage by a Covered Cause of Loss
to such property while temporarily
away from the described premises

(a) At any fair, trade show or "exhi-
bition" within the Coverage Ter-
ritory at a premises you do not
own, lease or regularly operate;

(b) At installation premises or tempo-
rary storage premises while
awaiting installation within the
Coverage Territory that you do
not own, lease or regularly oper-
ate. This coverage applies only
to such property that will or has
become a permanent part of an
installation project being per-
formed for others by you or on

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your behalf This coverage will
end when any of the following
first occurs

(i) Your interest in the property
ceases

(ii) The installation is accepted;

(iii)The installation is aban-
doned;

(iv) The property is more specifi-
cally insured; or

(v) This policy is cancelled or
expires whichever occurs
first; or

(c) At any other premises within the
Coverage Territory that you do
not ownl lease or regularly oper-
ate.

(2) This Extension does not apply to:
(a) Property in due course of transit;

(b) Property to which the Temporary
Relocation of Property or the Du-
plicate Electronic Data Process-
ing Data and Media Coverage
Extensions apply; or

(c) Property sold by you under an in-
stallment plan, conditional sale,
trust agreement or other deferred
payment plan after delivery to
the purchasers

(3) The most we will pay for loss or
damage in any one occurrence under
this Extension is $25,000, but we will
not pay more than $10,000 at any in-
stallation premises or temporary
storage premises while awaiting in-
stallation.

Temporary Relocation of Property

if Personal Property for which a Limit of
insurance is shown in the Declarations is
removed from the described premises
and stored temporarily at another location
you own, lease or operate while the de-
scribed premises is being renovated or
remodeled, we will pay for direct physical
loss or damage to that stored property:

(1) Caused by or resulting from a Cov-
ered Cause of Loss;

(2) Up to $50,000 in any one occurrence;
and

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(3) During the storage period of up to 90
consecutive days but not beyond the
expiration date of this policy.

This Extension does not apply if the
stored property is more specifically in-
sured.

Outdoor Property

You may extend the insurance provided
by this Coverage Form to apply to your
outdoor property described below on the
described premises as follows

(1) Fences retaining walls that are not
part of a building, lawns (including
falnNays, greens and tees). trees
shrubs and plants (other than "stock"
of trees shrubs or piants), bridges
walks roadways patiosl or other
paved surfaces for loss or damage by
the following causes of loss if they
are a Covered Cause of Loss

(a) Fire;

(b) Lightning;

(c) Explosion;

(d) Rlot or Civil Commotion;
(e) Aircraft;

(f) Fa|ling Objects;

(g) Sinkhoie Co||apse; or
(h) Volcanic Action.

(2) Radio and television antennas (in-
cluding microwave or satellite dishes)
for loss or damage by the following
causes of loss if they are a Covered
Cause of Loss

(a) A cause of loss listed in (1)(a)
through (1)(h) above;

(b) Windstorm or hail;
(c) Vehic|es or
(d) Vandalism.

The most we will pay under this Exten-
sion in any one occurrence is $10,000,
but we will not pay more than $500 for
any one tree, shrub or plant nor more
than $2,500 for any one antenna

We will also pay your necessary and rea-
sonable expense that you incur to re-
move debris of Outdoor Property shown
under f.(1) and f.(2) above at your de-
scribed premises caused by or resulting

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from a Covered Cause of Loss listed
above that occurs during the policy pe-
riod. Such expenses will be paid only if
they are reported to us in writing within
180 days of the date of direct physical
loss or damage. This will not increase the
Limits of insurance that apply to this Ex-
tension.

Claim Data Expense

You may extend the insurance provided
by this Coverage Form to apply to the
expense you incur in preparing claim
data when we require it. This includes the
cost of taking inventories making ap-
praisals and preparing other documenta-
tion to show the extent of loss The most
we will pay for preparation of claim data
under this Extension in any one occur-
rence is $2,500. We will not pay for:

(1) Any expenses lncurred, directed, or
billed by or payable to attorneys in-
surance adjusters or their associates
or subsidiaries

(2) Any costs as provided in the Loss
Condition - Appraisal; or

(3) Any expenses incurred, directed, or
billed by or payable to insurance bro-
kers or agents or their associates or
subsidiaries without our written con-
sent prior to such expenses being in-
curred.

Extra Expense (including Expediting
Expenses)

in the event of covered loss or damage,
you may extend the insurance provided
by this Coverage Form to apply to:

(1) The necessary and reasonable extra
expense you incur to continue as
nearly as possible your normal busi-
ness operation; and

(2) The necessary and reasonable addi-
tional expenses you incur to make
temporary repairs or expedite per-
manent replacement at the premises
sustaining loss or damage. Expedit-
ing expenses include overtime wages
and the extra cost of express or other
rapid means of transportation

The most we will pay in total in any one
occurrence under this Extension is
$2,500.

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Accounts Receivab|e

You may extend the insurance that ap-
plies to Your Business Personal Property
to apply to the following loss and ex-
penses resulting from direct physical loss
or damage by a Covered Cause of Loss
to your accounts receivable records (in-
cluding those on electronic data proc-
essing media). Credit card company
charge media will be considered ac-
counts receivable until delivered to the
credit card company.

(1) We will pay:

(a) All amounts due from your cus-
tomers that you are unable to
collect;

(b) interest charges on any loan re-
quired to offset amounts you are
unable to collect pending our
payment of these amounts and

(c) Collection expenses in excess of
your normal collection expenses
that are made necessary by the
loss or damage.

(2) The most we will pay in any one oc-
currence under this Extension is
$10,000 for all loss and expense at
each described premises

Non-Owned Detached Trailers

(1) You may extend the insurance that
applies to Your Business Personal
Property to apply to direct physical
loss or damage by a Covered Cause
of Loss to trailers or semi-trailers that
you do not own, provided that:

(a) The trailer or sami-trailer is used
in your business

(b) The trailer or semi-trailer is in
your care, custody or control at
the premises described in the
Declarations and

(c) You have a contractual responsi-
bility to pay for loss or damage to
the trailer or semi-trailer.

(2) We will not pay for any loss or dam-
age that occurs

(a) While the trailer or semi-trailer is
attached to any motor vehicle or
motorized conveyance, whether
or not the motor vehicle or mo-

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torized conveyance is in motion;
or

(b) During hitching or unhitching op-
erations or when a trailer or
seml-trailer becomes accidentally
unhitched from a motor vehicle
or motorized conveyance.

(3) The most we will pay for loss or
damage in any one occurrence under
this Extension is $5,000.

(4) This insurance is excess over the
amount due (whether you can collect
on it or not) from any other insurance
covering such property.

Outside Signs

You may extend the insurance that ap-
plies to Building or Your Business Per-
sonal Property to apply to direct physical
loss or damage by a Covered Cause of
Loss to outside signs whether or not at-
tached to buildings on or within 1,000
feet of the described premises

The most we will pay for loss or damage
in any one occurrence under this Exten-
sion is $2,500.

Covered Property |n Transit

(1) You may extend the insurance that
applies to Covered Property to apply
to direct physical loss or damage by
a Covered Cause of Loss to such
property while in due course of transit
at your risk within the Coverage Ter-
ritory.

(2) When the Causes of Loss - Special
Form is applicable, the Earth l\/love-
ment exclusion and the Water exclu-
sion do not apply to this Extension.

(3) The exclusion of personal property
while airborne or waterborne under
Section A.2. Property Not Covered,
does not apply to this Extension, but
the insurance provided under this
Extension for property while water-
borne is limited as provided in para-
graph (4) (c) below.

(4) This Extension does not apply to:

(a) Property within 1000 feet of the
described premises

(b) Property shipped by mail;

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(5)

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(c) Property while waterborne, ex-
cept in regular ferry operations in
the course of being moved by
other means of transportation,
and then to include General Av-
erage and Salvage Charges for
which you become liable;

(d) Export shipments once:

(i) The shipment is loaded on
board the export convey-
ance; or

(ii) Coverage under an Ocean
i\/larine or other insurance
policy covering the shipment
begins

whichever is earlier;
(e) import shipments prior to:

(i) The shipment being un-
loaded from the import con-
veyance; or

(ii) Coverage under an Ocean
Marine or other insurance
policy covering the shipment
ends

whichever is later;

(f) Property of others for which you
are responsible while acting as a
common or contract carrierl
freight fon/varder, freight consoli-
dator, freight broker or public
warehouseman;

(g) Property sold by you under an in-
stallment plan, conditional sale,
trust agreement or other deferred
payment plan after delivery to
the purchasers or

(h) Tools, equipment supplies and
materials all used for service or
repair in your business which are
kept in a motor vehicie. How-
ever, this does not apply to prop-
erty in the care, custody or con-
trol of your sales representatives

The following additional exclusion
applies to this Extension when the
Causes of Loss - Special Form ap-
plies to this Coverage Form:

We will not pay for loss or damage
by theft from a conveyance or con-
tainer while unattended unless the
portion of the conveyance or con-

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tainer containing the Covered Prop-
erty is fully enclosed and securely
locked, and the theft is by forcible
entry of which there is visible evi-
dence.

(6) The most we will pay for loss or
damage in any one occurrence under
this Extension is $10,000.

. Duplicate Electronic Data Processing
Data and Media

(1) You may extend the insurance pro-
vided by this Coverage Form to apply
to direct physical loss or damage by
a Covered Cause of Loss to dupli-
cates of your "Electronic Data Proc-
essing Data and Media" while stored
in a separate, unattached building
from where your original "Electronic
Data Processing Data and Media" are
kept

(2) The most we will pay for loss or
damage in any one occurrence under
this Extension is $10,000.

Electronic Data Processing Equipment
and Data and Media - Limited

This Extension only applies when a Limit
of insurance is not stated in the Declara-
tions for "Electronic Data Processing
Equipment" and "Electronic Data Proc-
essing Data and Media".

(1) if a Limit of insurance is shown in the
Declarations for Vour Business Per-
sonal Property, you may extend that
insurance to apply to direct physical
loss or damage by a Covered Cause
of Loss to "Electronic Data Process-
ing Equipment" and "Electronic Data
Processing Data and l\/ledia" located
in or on the building described in the
Declarations or in the open (or in a
vehicle) within 1,000 feet of the de-
scribed premises

(2) The most we will pay for loss or
damage in any one occurrence under
this Extension is $10,000.

Theft Damage to Rented Property

You may extend the insurance that ap-
plies to Your Business Personal Property
to apply to direct physical loss or damage
by theft or attempted theft to that part of
any non-owned building at the described
premises you occupy and which contains

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the Covered Property, and to property
within the non-owned building used for
maintenance or service of the non-owned
building

This Extension applies only if you are a
tenant and are required in your lease to
cover this exposure.

We shall not be liable under this Exten-
sion for damage by fire or explosion, or
to glass (other than glass building blocks)
or to any lettering, ornamentation or bur-
glar alarm tape on glass

Payment under this Extension will not in-
crease the Limit of insurance that applies
to Your Business Personal Property at
the premises where the direct physical
loss or damage occurs

The Additional Condition, Coinsurance, does
not apply to these Extensions,

EXCLUS|ONS AND LlM|TAT|ONS

See applicable Causes of Loss Form as shown in
the Declarations

LlM|TS OF lNSURANCE

The most we will pay for loss or damage in any
one occurrence is the applicable Limit of lnsur-
ance shown in the Declarations this Coverage
Form or any endorsements applicable to this
Coverage Form.

DEDUCT|BLE

Uniess othen/vise indicated, we will not pay for
loss or damage in any one occurrence until the
amount of loss or damage exceeds the Deducti-
ble shown in the Declarations We will then pay
the amount of loss or damage in excess of the
Deductible, up to the applicable Limit of lnsur-
ance, after any deduction required by the Coin-
surance Additional Condition.

lf more than one deductible applies to loss or
damage in any one occurrence, we will apply
each deductible separatelyl But the total of all
deductible amounts applied in any one occur-
rence will not exceed the largest applicable de-
ductible.

LOSS COND|T|ONS

The following conditions apply in addition to the
Common Policy Conditions and the Commerciai
Property Conditions

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Abandonment

There can be no abandonment of any prop-
erty to us

Appraisal

if we and you disagree on the value of the
property or the amount of loss either may
make written demand for an appraisal of the
loss in this event each party will select a
competent and impartial appraiser. The two
appraisers will select an umpire. if they can-
not agree, either may request that selection
be made by a judge of a court having juris-
diction. The appraisers will state separately
the value of the property and amount of loss
if they fail to agree, they will submit their dif-
ferences to the umpire. A decision agreed to
by any two will be binding Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equally.

|f there is an appraisal, we will still retain our
right to deny the claim.

3. Duties in the Event of Loss or Damage

a. You must see that the following are done
in the event of loss or damage:

(1) Notify the police if a law may have
been broken.

(2) Give us prompt notice of the loss or
damage. include a description of the
property involved

(3) As soon as possible, give us a de-
scription of how, when and where the
loss or damage occurred

(4) Take all reasonable steps to protect
the Covered Property from further
damage, and keep a record of your
expenses necessary to protect the
Covered Property for consideration in
the settlement of the claim. This will
not increase the Limit of lnsurance.
However, we will not pay for any
subsequent loss or damage resulting
from a cause of loss that is not a
Covered Cause of Loss Aiso, if fea-
sible, set the damaged property aside
and in the best possible order for ex-
amination.

(5) At our request give us complete in-
ventories of the damaged and un-
damaged property. include quanti-

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b.

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ties costs values and amount of loss
claimed

(6) As often as may be reasonably re-
quired, permit us to inspect the prop-
erty proving the loss or damage and
examine your books and records

Aiso permit us to take samples of
damaged and undamaged property
for inspection, testing and analysis
and permit us to make copies from
your books and records

(7) Send us a signed sworn proof of loss
containing the information we request
to investigate the claim. You must do
this within 60 days after our request
We will supply you with the neces-
sary forms.

(8) Cooperate with us in the investigation
or settlement of the claim.

We may examine any insured under
oathl while not in the presence of any
other insured and at such times as may
be reasonably required about any matter
relating to this insurance or the clalm, in-
cluding an insured's books and records
in the event of an examinationl an in-
sured's answers must be signed

4. Loss Payment

in the event of loss or damage covered
by this Coverage Form, at our option, we
will either:

(1) Pay the value of lost or damaged
Property;

(2) Pay the cost of repairing or replacing
the lost or damaged property, subject
to b. below;

(3) Take all or any part of the property at
an agreed or appraised value; or

(4) Repair, rebuild or replace the prop-
erty with other property of like kind
and quality, subject to b. below.

We will determine the value of lost or
damaged property, or the cost of its re-
pair or replacement in accordance with
the applicable terms of the Valuation
Condition in this Coverage Form or any
applicable provision which amends or
supersedes the Valuation Condition.

The cost to repair, rebuild or replace
does not include the increased cost at-
tributable to enforcement of any ordi-

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nance or law regulating the constructionl
use or repair of any propertyl except as
provided under the increased Cost of
Construction or Repair Additional Cover-
age,

We will give notice of our intentions
within 30 days after we receive the sworn
proof of loss

We will not pay you more than your fi-
nancial interest in the Covered Property.

We may adjust losses with the owners of
lost or damaged property if other than
you. if we pay the owners such pay-
ments will satisfy your claims against us
for the owner's property. We will not pay
the owners more than their financial in~
terest in the Covered Property.

We may elect to defend you against suits
arising from claims of owners of property.
We will do this at our expense.

We will pay for covered loss or damage
within 30 days after we receive the sworn
proof of loss if you have complied with
all of the terms of this Coverage Part
and:

(1) We have reached agreement with
you on the amount of loss or

(2) An appraisal award has been made.

At our option, we may make a partial
payment toward any claims subject to
the policy provisions and our normal ad-
justment process To be considered for a
partial claim payment you must submit a
partial sworn proof of loss with supporting
documentation. Any applicable deducti-
bles must be satisfied before any partial
payments are made.

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(2) The value of the recovered property;
or

(3) The Limit of insurance;
whichever is less

6. Valuation

We will determine the value of Covered
Property in the event of covered loss or
damage as follows

At actual cash value as of the time of
loss or damage, except as provided in b.,
c., d., e., f., g., h., i., j., k., |., and m.
below.

if the`Limit of insurance for Building sat-
isfies the Additional Condition, Coinsur-
ance, and the cost to repair or replace
the damaged building property is $5,000
or less we will pay the cost of building
repairs or replacement

The cost of building repairs or replace-
ment does not include the increased cost
attributable to enforcement of any ordi-
nance or law regulating the construction,
use or repair of any property except as
provided under the increased Cost of
Construction or Repair Additional Cover-
age.

However, the following property will be
valued at the actual cash value even
when attached to the building:

(1) Awnings or floor coverings

(2) Appliances for refrigerating ventilat-
ing, cooking, dishwashing or laun-
dering;or

(3) Outdoor equipment or furniture.

"Stock" you have sold but not delivered
at the selling price less discounts and ex-

5. Recovered Property penses you otherwise would have had.

lf either you Or we recover any property after d. class at the cost of replacement with
loss settlement that party must give the other safety glazing material if required by |aW,

prompt notice. At your option, the property ,
will be returned to you. You must then return e' Tenams |mprovemems and Bettermems

to us the amount we paid to you for the prop- at'

erty. (1) Actual cash value of the lost or dam-

a_ We Wi" pay: aged property if you make repairs
promptiy.

(1) Recovery expense; and (2) A proportion of your original cost if
(2) COStS 10 repair the recovered PFOD' you do not make repairs promptly.
eni/§ We will determine the proportionate

b. But the amount we pay will not exceed: Value 35 fO"°W55
(1) The total of a.(1) and a.(2) above;

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(a) Multipiy the original cost by the
number of days from the loss or
damage to the expiration of the
lease;and

(b) Divide the amount determined in
(a) above by the number of days
from the installation of improve-
ments to the expiration of the
iease.

lf your lease contains a renewal op-
tion, the expiration of the renewal
option period will replace the expira-
tion of the lease in this procedure.

(3) Nothing if others pay for repairs or
replacement

"Vaiuabie Papers and Records" at the
cost of:

(1) B|ank materials for reproducing the
papers and records and

(2) Labor to transcribe or copy the pa-
pers and records when there is a du-
plicate, but only if the papers and re-
cords are actually transcribed or
copied

"Fine Arts" at the least of:

(1) Market value at the time and place of
loss

(2) The cost of reasonably restoring that
property; or

(3) The cost of replacing that property
with substantially the same property.

Personal Property of Others at the
amount you are liable not to exceed Ac-
tual Cash Value.

The value of Accounts Recelvable will be
determined as follows

(1) lf you cannot accurately establish the
amount of Accounts Recelvable out-
standing as of the time of loss we
will:

(a) Determine the total of the aver-
age monthly amounts of Ac-
counts Receivable for the 12
months immediately preceding
the month in which the loss oc-
curs; and

(b) Adjust that total for any normal
fluctuations in the amount of Ac-
counts Receivable for the month
in which the loss occurred or for

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any demonstrated variance from
the average for that month.

(2) if you can accurately establish the
amount of Accounts Recelvable out-
standing, that amount will be used in
the determination of loss

(3) The following will be deducted from
the total amount of Accounts Recelv-
able, however that amount is estab-
Hshed:

(a) The amount of the accounts for
which there is no loss

(b) The amount of the accounts that
you are able to re-establish or
collect;

(c) An amount to allow for probable
bad debts that you are normally
unable to collect; and

(d) All unearned interest and service
charges

Stock in process at the cost of raw mate-
rials and labor, plus the proper propor-
tion of overhead charges

"Electronic Data Processing Equipment"
at replacement cost as of the time and
place of loss without deduction for physi-
cal deterioration, depreciation, obsoles-
cence and depletion However, in the
event replacement of "Electronic Data
Processing Equipment" with identical
property is impossible, the replacement
cost will be the cost of items that are
similar to the damaged or destroyed
equipment and intended to perform the
same functionl but which may include
technological advances

"Electronic Data Processing Equipment"
that is obsolete or no longer used by you
will be valued at actual cash value.

"Electronic Data Processing Data and
|\/ledia" for which duplicates do not exist
will be valued as follows

(1) The cost of blank media; and

(2) Your cost to research, replace or re-
store the lost electronic data on lost
damaged or destroyed "Electronic
Data Processing Data and ll/ledia",
but only if the lost electronic data is
actually replaced or restored

. Duplicate "Electronic Data Processing

Data and Media" at the cost of:

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(1) Blank media; and

(2) Labor to copy the electronic data, but
only if the electronic data is actually
copied

F. ADD|T|ONAL COND|T|ONS

The following conditions apply in addition to the
Common Policy Conditions and the Commerciai
Property Conditions

Coinsurance

This Additional Condition does not apply to
"Electronic Data Processing Equipment" and
"Electronic Data Processing Data and Media"
when a specific Limit of insurance is shown
for that coverage in the Declarations

lf a Coinsurance percentage is shown in the
Declarations the following condition applies
when the loss or damage in any one occur-
rence is $5,000 or more.

1.

We will not pay the full amount of any
loss if the value of Covered Property at
the time of loss times the Coinsurance
percentage shown for it in the Declara-
tions is greater than the Limit of lnsur-
ance for the property.

lnstead, we will determine the most we
will pay using the following steps
(1) Multipiy the value of Covered Prop-

erty at the time of loss by the Coin-
surance percentage;

(2) Divide the Limit of insurance of the
property by the figure determined in
Step (1):

(3) Multipiy the total amount of loss be-
fore the application of any deductible,
by the figure determined in step (2);
and

(4) Subtract the deductible from the fig-
ure determined in step (3).

We will pay the amount determined in

step (4) or the Limit of insurance, which-

ever is less For the remainder, you will

either have to rely on other insurance or

absorb the loss yourself.

Example No. 1 (Underinsurance):
When: The value of the

property is: $250,000
The Coinsurance
percentage for it is 80%

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The Limit of

insurance for it is: $120,000

The Deductible is: $500

The amount of loss

is: $40,000
Step (1): $250,000 x 80% = $200,000

(the minimum amount of insurance to
meet your Coinsurance requirements)

step (2); $120,000/$200,000 = .60
step (3): 840,000 x .60 = $24,000
step (4); $24,000 - $500 = $23,500

We will pay no more than $23,500. The
remaining $16,500 is not covered

Example No. 2 (Adequate lnsurance):
When:
The value of the property

is $250,000
The Coinsurance percent-

age for it is: 80%
The Limit of insurance for it

is: $200,000
The Deductible is: $500

The amount of loss is: $40,000

The minimum amount of insurance to
meet your Coinsurance requirement is
$200,000 ($250,000 x 80%).Therefore,
the Limit of insurance in this Example is
adequate and no penalty applies We will
pay no more than $39,500 ($40,000
amount of loss minus the deductible of
$500).

if one Limit of insurance applies to two or
more separate items this condition will
apply to the total of all property to which
the limit applies

Example No. 3: (Underinsurance)
When:
The value of the property is

Bldg. at Location No. 1: $75,000
Bldg. at Location No. 2: $100,000
Personal Property at

Location No. 2 $75,000
Tota| Value: $250,000
The Coinsurance percent-

age for it is 90%

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The Limit of insurance for
Buildings and Personal
Property at Locations No. 1

and 2 lsi $180,000
The Deductible is $1,000
The amount of loss is

Bldg. at Location No. 2: $30,000
Personal Property at

Location No. 21 $20,000
Total amount of loss $50,000
step (1): $250,000 x 90% = $225,000

(the minimum amount of insurance to
meet your Coinsurance requirements and
to avoid the penalty shown below)

step (2); $180,000/$225.00 .80
step (3): $50,000 x .80 = $40,000
step (4): s40,000 - $1,000 = $39,000

We will pay no more than $39,000. The
remaining $11,000 is not covered

2. Mortgagehoiders

b.

The term, mortgageho|der, includes

trustee.

We will pay for covered loss of or dam-
age to buildings or structures to each
mortgageho|der shown in the Declara-
tions in their order of precedence, as in-
terests may appear.

The mortgageho|der has the right to re-
ceive loss payment even if the mort-
gageho|der has started foreclosure or
similar action on the building or structure

lf we deny your claim because of your
acts or because you have failed to com-
ply with the terms of this Coverage Part
the mortgageho|der will still have the
right to receive loss payment if the mort-
gageho|der:

(1) Pays any premium due under this
Coverage Part at our request if you
have failed to do so; and

(2) Submits a signed sworn statement of
loss within 60 days after receiving
notice from us of your failure to do
so.

All of the terms of this Coverage Part will
then apply directly to the mortgageho|der.

if we pay the mortgageho|der for any loss
or damage and deny payment to you be-
cause of your acts or because you have

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failed to comply with the terms of this
Coverage Part;

(1) The mortgageho|der's rights under
the mortgage will be transferred to us
to the extent of the amount we pay;
and

(2) The mortgageho|der's right to recover
the full amount of the mortgage-
ho|der's claim will not be impaired

At our option, we may pay to the mort-
gageho|der the whole principal on the
mortgage plus any accrued interest, in
this event your mortgage and note will
be transferred to us and you will pay your
remaining mortgage debt to us.

if we cancel this policyl we will give writ-
ten notice to the mortgageho|der at least:

(1) 10 days before the effective date of
cancellation if we cancel for your
nonpayment of premium; or

(2) 30 days before the effective date of
cancellation if we cancel for any
other reason

if we elect not to renew this policy, we
will give written notice to the mortgage-
ho|der at least 10 days before the expira-
tion date of this policy.

G. OPT|ONAL COVERAGES

if shown as applicable in the Declarations the
following Optional Coverages apply separately to
each item.

1. Agreed Value

The Additional Condition, Coinsurancel
does not apply to Covered Property to
which this Optional Coverage applies

The terms of this Optional Coverage ap-
ply only to loss or damage that occurs on
or after the effective date of this Optional
Coverage.

2. inflation Guard

a.

The Limit of insurance for property to
which this Optional Coverage applies will
automatically increase by the annual per-
centage shown in the Declarations

The amount of increase will be:

(1) The Limit of insurance that applied
on the most recent of the policy in-
ception datel the policy anniversary
date, or any other policy change

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amending the Limit of insurance,
times

(2) The percentage of annual increase
shown in the Declarations expressed
as a decimal (example: 8% is .08),
times

(3) The number of days since the begin-
ning of the current policy year or the
effective date of the most recent
policy change amending the Limit of
insurance, divided by 365.

Examp|e:

|f:

The applicable Limit

of insurance is: $100,000
The annual percentage
increase is 8%

The number of days since the beginning
of the policy year (or last policy change)
is 146

The amount of increase is:

$100,000 X .08 X 146/365 = $3,200

3. Replacement Cost

a.

Replacement Cost (without deduction for
depreciation) replaces the term Actual
Cash Value in provisions a., e. and h. of
the Loss Condition, Valuation, in Section
E.6. of this Coverage Form.

if you decide to repair or rebuild buildings
which have sustained loss or damage,
our payment will include any necessary
and reasonable architectural, engineer-
ing, consulting or supervisory fees in-
curred in the repair or rebuilding This will
not increase the applicable Limits of ln-
surance. ~

This Optional Coverage does not apply

to:

(1) Obsolete property, or property no
longer used by you;

(2) Residential personal property or per-
sonal effects

(3) Awnings or floor coverings
(4) Outdoor equipment or furniture;

(5) "Stock", unless the including "Stock"
option is shown in the Declarations
or

(6) "Vacant" buildings

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d. You may make a claim for loss or dam-

age covered by this insurance on an ac-
tual cash value basis instead of on a re-
placement cost basis in the event you
elect to have loss or damage settled on
an actual cash value basis you may still
make a claim for the additional coverage
this Optional Coverage provides if you
notify us of your intent to do so within 180
days after the loss or damage.

We will not pay on a replacement cost
basis for any loss or damage:

(1) Until the lost or damaged property is
actually repaired or replaced; and

(2) Uniess the repairs or replacement are
made as soon as reasonably possible
after the loss or damage.

This restriction does not apply to losses
less than $5,000 in any one occurrence,
other than losses to tenants' improve-
ments and betterments.

With respect to tenants' improvements
and betterments the following also apply:

(3) if the conditions in e.(1) and e.(2)
above are not met the value of ten-
ants' improvements and betterments
will be determined as a proportion of
your original cost as set forth in the
Actual Cash Value Valuation Condi-
tion of this Coverage Form; and

(4) We will not pay for loss or damage to
tenants' improvements and better-
ments if others pay for repairs or re-
placement

We will not pay more for loss or damage
on a replacement cost basis than the
least of (1), (2), or (3), subject to g. be-
low:

(1) The Limit of insurance applicable to
the lost or damaged property;

(2) The cost to replace, on the same
premises the lost or damaged prop-
erty with other property:

(a) Of comparable material and
quality; and

(b) Used for the same purpose; or

(3) The amount actually spent that is
necessary to repair or replace the lost
or damaged property.

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if a building is rebuilt at a new premises
the cost described in f.(2) above is lim-
ited to the cost which would have been
incurred if the building had been rebuilt at
the original premises

The cost of repair or replacement does
not include the increased cost attributable
to enforcement of any ordinance or law
regulating the construction, use or repair
of any property except as provided under
the increased Cost of Construction or
Repair Additional Coverage.

We will determine the value of patterns
dies molds and forms not in current us-
age at Actual Cash Value. if the loss is
paid on an Actual Cash Value basis and
within 24 months from the date of the
loss you need to repair or replace one or
more of them, we will pay you, subject to
the conditions of this insurance, the dif-
ference between Actual Cash Value and
Replacement Cost for those patterns
molds and dies which are actually re-
paired or replaced

"Electronic Data Processing Equipment"
at replacement cost as of the time and
place of loss without deduction for physi-
cal deterioration depreciation, obsoles-
cence and depletion However, in the
event replacement of "Electronic Data
Processing Equipment" with identical
property is impossiblel the replacement
cost will be the cost of items that are
similar to the damaged or destroyed
equipment and intended to perform the
same function, but which may include
technological advances

"Electronic Data Processing Equipment"
that is obsolete or no longer used by you
will be valued at actual cash value.

"Electronic Data Processing Data and
Media" for which duplicates do not exist
will be valued as follows

(1) The cost of blank media; and

(2) Your cost to research, replace or re-
store the lost electronic data on lost
damaged or destroyed "Electronic
Data Processing Data and Media",
but only if the lost electronic data is
actually replaced or restored

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H. DEF|N|T|ONS

1.

"Pollutants" means any solid liquid gaseous
or thermal irritant or contaminant including
smoke, vaporl soot fumes acids alka|is,
chemicals waste and any unhealthful or haz-
ardous building materials (including but not
limited to asbestos and lead products or ma-
terials containing lead). Waste includes mate-
rials to be recycled reconditioned or re-
claimed

llStock" means merchandise held in storage
or for sale, including supplies used in their
packing or shipping

"Exhibition" means the temporary display of
personal property at a convention, exposition,
trade show or similar event at a location you
do not own, lease or regularly occupy.

"Fine Arts" means paintings etchings pic-
tures tapestries art glass windows valuable
rugs statuary, marbles, bronzes, antique fur-
niture, rare books antique silver, manu-
scripts, porcelains rare glass bric-a-brac,
and similar property of rarity, historical value,
or artistic merit.

"Electronic Data Processing Data and Media"
means

a. Data stored as or on, created or used on,
or transmitted to or from computer soft-
ware (including systems and applications
software) on electronic data processing
recording or storage media such as hard
or floppy disks CD-ROMS, tapes drives
cells data processing devices or any
other repositories of computer software
which are used with electronically con-
trolled equipment

b. The electronic media on which the data is
stored; and

c. Programming records and instructions
used for "Electronic Data Processing
Equipment".

"Electronic Data Processing Equipment"
means any of the following equipment used
in your data processing operations

a. Electronic data processing equipment
facsimile machines word processors
multi-functional telephone equipment and
laptop and portable computers and

b. Any component parts and peripherals of
such equipment including related surge
protection devices

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"Electronic Data Processing Equipment" does
not include equipment used to operate pro-
duction type machinery or equipment

"Vacant" See applicable Causes of Loss
form as shown in the Declarations

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"Vaiuabie Papers and Records" means in-
scribed, printed or written documents manu-
scripts or records including abstracts books
deeds drawings films maps or mortgages
But "Vaiuabie Papers and Records" does not
include money, securities or "Electronic Data
Processing Data and Media".

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COMMERC|AL PROPERTY

BUS|NESS lNCOME (WlTHCUT EXTRA EXPENSE)
COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights duties and
what is and is not covered

Throughout this policy the words "you" and "your" refer to the Named insured shown in the Declarations The

words "we ,

us" and "our" refer to the Company providing this insurance

Other words and phrases that appear in quotation marks have special meaning Refer to SECT|ON G -
DEFiNiT|ONS.

A. COVERAGE
1. Business income

C.

Business income means the:

(1) Net income (Net Profit or Loss be-
fore income taxes) that would have
been earned or incurred; and

(2) Continuing normal operating ex-
penses incurred including payroll.

Coverage is provided as described and
limited below for one or more of the fol-
lowing options for which a Limit of lnsur-
ance is shown in the Declarations

(1) Business income including "Rental
Value".

(2) Business income excluding "Rental
Value".

(3) "Rental Value".

if option (1) above is selected the term
Business income will include "Rental
Value". if option (2) above is selected
the term Business income excludes
"Rental Value". if option (3) above is se-
lected, the term Business income will
mean "Rental Value" on|y.

if Limits of insurance are shown under
more than one of the above options the
provisions of this Coverage Part apply
separately to each.

We will pay for the actual loss of Busi-
ness income you sustain due to the nec-
essary "suspension" of your "operations"
during the "period of restoration". The
"suspension" must be caused by direct
physical loss of or damage to property at
premises which are described in the
Declarations and for which a Business
income Limit of insurance is shown in the
Declarations The loss or damage must
be caused by or result from a Covered

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Cause of Loss. With respect to loss of or
damage to property in the open or prop-
erty in a vehicle, the described premises
includes the area within 1,000 feet of the
building at which the described premises
is located

With respect to the requirements set forth
in the preceding paragraph, if you occupy
only part of the site at which the de-
scribed premises are located your
premises means

(1) The portion of the building which you
rent lease or occupy; and

(2) Any area within the building or on the
site at which the described premises
are located if that area services or
is used to gain access to, the de-
scribed premises

2. Additional Coverages

Uniess otherwise stated payments made
under these Additional Coverages will not in-
crease the applicable Limits of insurance

Uniess otherwise indicated in the Declara-
tions or by endorsement the following Addi-
tional Coverages apply:

a.

Expenses To Reduce Loss

in the event of a covered loss of Busi-
ness lncome, we will pay necessary ex-
penses you incur, except the cost of ex-
tinguishing a nre, to avoid further loss of
Business income The total of our pay-
ment for Business income loss and Ex-
penses to Reduce Loss will not be more
than the Business income loss that would
have been payable under this Coverage
Form (after application of any Coinsur-
ance penalty) if the Expenses to Reduce
Loss had not been incurred

The Coinsurance condition does not ap-
ply specifically to such Expenses to Re-

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duce Loss but it is used as described
above to determine the total amount
payable

Civil Authority

We will pay for the actual loss of Busi-
ness income you sustain caused by ac-
tion of civil authority that prohibits access
to the described premises The civil
authority action must be due to direct
physical loss or damage by a Covered
Cause of Loss to property at locations
other than the described premises that
are within 100 miles of the described
premises

Uniess a different time period and/or
coverage period is indicated in the Decla-
rations the coverage for Business ln-
come will begin 72 hours after the time of
that action and will apply for a period of
up to three consecutive weeks after cov-
erage begins

Alterations and New Buildings

We will pay for the actual loss of Busi-
ness income you sustain due to direct
physical loss or damage at the described
premises caused by or resulting from any
Covered Cause of Loss to:

(1) New buildings or structures whether
complete or under construction;

(2) Alterations or additions to existing
buildings or structures and

(3) Machinery, equipment supplies or
building materials located on or
within 1,000 feet of the described
premises and:

(a) Used in the construction, altera-
tions or additions or

(b) incidental to the occupancy of
new buildings

if such direct physical loss or damage
delays the start of "operations"l the "pe-
riod of restoration" for Business income
coverage will begin on the date "opera-
tions" would have begun if the direct
physical loss or damage had not oc-
curred.

Extended Business income

(1) Business income Other Than "Rental
Value"

(2)

lf the necessary "suspension" of your
"operations" produces a Business ln-
come loss payable under this Cover-
age Part, we will pay for the actual
loss of Business income you incur
during the period that:

(a) Begins on the date property (ex-
cept "finlshed stock") is actually
repaired rebuilt or replaced and
"operations" are resumed; and

(b) Ends on the earlier of:

(i) The date you could restore
your "operations", with rea-
sonable speed to the level
which would generate the
Business income amount
that would have existed if no
direct physical loss or dam-
age had occurred; or

(ii) Uniess othen/vise stated in
the Declarations or by en-
dorsement 30 consecutive
days after the date deter-
mined ln (1)(a) above.

However, Extended Business income
does not apply to loss of Business ln-
come incurred as a result of unfavor-
able business conditions caused by
the impact of the Covered Cause of
Loss in the area where the described
premises are located

Loss of Business income must be
caused by direct physical loss or
damage at the described premises
caused by or resulting from a Cov-
ered Cause of Loss

"Rental Value"

if the necessary "suspension" of your
"operations" produces a "Rental
Value" loss payable under this Cov-
erage Part we will pay for the actual
loss of "Rental Value" you incur dur-
ing the period that:
(a) Begins on the date property is
actually repaired rebuilt or re-

placed and tenantabillty is re-
stored; and

(b) Ends on the earlier of:

(i) The date you could restore
tenant occupancy with rea-
sonable speed to the level

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which would generate the
"Rental Value" that would
have existed if no direct
physical loss or damage had
occurred; or

(ii) Uniess othen/vise stated in
the Declarations or by en-
dorsement 30 consecutive
days after the date deter-
mined in (2)(a) above

However, Extended Business income
does not apply to loss of "Rental
Value" incurred as a result of unfa-
vorable business conditions caused
by the impact of a Covered Cause of
Loss in the area where the described
premises are located

Loss of "Rental Value" must be

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(1) The Delayed Net income Loss is
caused by direct physical loss or
damage to property at premises
which are described in the Declara-
tions and for which a Business ln-
come Limit of insurance is shown in
the Declarations

(2) The loss or damage is caused by a
Covered Cause of Loss

(3) You incur the Delayed Net income
Loss within 24 months of the date of
the direct physical loss or damage to
the property; and

(4) You notify us in writing of such De-
layed Net income Loss within 24
months of the direct physical loss or
damage to the property.

` 3. Coverage Extensions

Each of these Coverage Extensions is addi-
tional insurance Uniess otherwise indicated
in the Declarations or by endorsement the
following Coverage Extensions apply:

caused by direct physical loss or
damage at the described premises
caused by or resulting from a Cov-
ered Cause of Loss

e. interruption of Computer Operations

We will pay for the actual loss of Busi-
ness income you sustain due to the "sus-
pension" of your "operations" during the
"period of restoration" and Extended
Business income caused by direct physi-
cal loss or damage to "Electronic Data
Processing Data and Media" at the de-
scribed premises by a Covered Cause of
Loss

The most we will pay under this Addi-
tional Coverage is $25,000 for the sum of
all covered interruptions arising out of all
Covered Causes of Loss occurring during
each separate 12 month period of this
policy beginning with the effective date of
this policy. The amount payable under
this Additional Coverage is in addition to
the Limit of insurance

Delayed Net income Loss

We will pay for the actual loss of Net ln-
come (Net Protit or Loss before income
taxes) you sustain due to the "suspen-
sion" of your "operations" resulting in a
loss in the value of production which oc-
curs beyond the "period of restoration"
and Extended Business income. We will
only pay under this Additional Coverage
if:

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a. Newly Acquired Locations

(1) You may extend your Business ln-
come coverage to apply to property
(including property under construc-
tion) at any location you newly ac-
quire by purchase or lease (other
than fairsl trade shows or exhibi-
honst

(2) The most we will pay under this Ex-
tension for loss incurred at each
newly acquired location is

(a) $250,000 in any one occurrence;
or

(b) if a fraction is shown in the Dec-
larations for i\/lonthly Period of
lndemnity, the most we will pay
for loss in each period of 30 con-
secutive days is the fraction
shown in the Declarations times
$250,000; or

(c) if Maximum Period of indemnity
is shown in the Declarations the
most we will pay is the amount of
loss sustained during the 120
days immediately following the
beginning of the "period of resto-
ration"l or $250,000, whichever is
less

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(3) insurance under this Extension for
each newly acquired location will end
when any of the following first occurs

(a) This policy expires

(b) 90 days expire after you acquire
or begin to construct the prop-
erly;

(c) You report the location to us or

(d) Coverage for Business income at
the location is more specifically
insured

We will charge you additional premium
for values reported from the date you ac-
quire the location

b. Claim Data Expense

You may extend the insurance provided
by this Coverage Form to apply to the
expense you incur in preparing claim
data when we require it. This includes the
cost of preparing income statements and
other documentation to show the extent
of Business income ioss. The most we
will pay for preparation of claim data un-
der this Extension in any one occurrence
is $2,500. We will not pay for:

(1) Any expenses incurred directed or
billed by or payable to attorneys in-
surance adjusters or their associates
or subsidiaries

(2) Any costs as provided in the Loss
Condition - Appraisal; or

(3) Any expenses incurred directed, or
billed by or payable to insurance bro-
kers or agents or their associates or
subsidiaries without our written con-
sent prior to such expenses being in-
curred.

The Additional Condition, Coinsurance, does
not apply to these Extensions

B. COVERED CAUSES OF LOSS, EXCLUS|ONS
AND LlM|TAT|ONS

1.

See applicable Causes of Loss Form as
shown in the Declarations

Additional Limitation - interruption of
Computer Operations

Coverage for Business income does not ap-
ply to any loss or increase in loss caused by
direct physical loss or damage to "Electronic
Data Processing Data and Media", except as

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provided under the Additional Coverage - ln-
terruption of Computer Operations

C. LlMlTS OF lNSURANCE

The most we will pay for loss in any one occur-
rence is the applicable Limit of insurance shown
in the Declarations this Coverage Form or any
endorsements applicable to this Coverage Form.

D. LOSS COND|T|ONS

The following conditions apply in addition to the
Common Policy Conditions and the Commerciai
Property Conditions

1.

Appraisal

if we and you disagree on the amount of Net
income and operating expense or the amount
of loss either may make written demand for
an appraisal of the loss in this event each
party will select a competent and impartial
appraiser.

The two appraisers will select an umpire if
they cannot agreel either may request that
selection be made by a judge of a court hav-
ing jurisdiction The appraisers will state
separately the amount of Net income and
operating expense or amount of loss if they
fail to agree, they will submit their differences
to the umpire A decision agreed to by any
two will be binding Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equally.

if there is an appraisal, we will still retain our
right to deny the claim.

2. Duties in the Event of Loss

a. You must see that the following are done
in the event of loss

(1) Notify the police if a law may have
been broken

(2) Give us prompt notice of the direct
physical loss or damage. include a
description of the property involved.

(3) As soon as possible, give us a de-
scription of how, when and where the
direct physical loss or damage oc-
curred.

(4) Take all reasonable steps to protect
the Covered Property from further
damage, keep a record of your ex-
penses necessary to protect the
Covered Property, for consideration
in the settlement of the claim. This

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will not increase the Limit of lnsur-
ance. Howeverl we will not pay for
any subsequent loss or damage re-
sulting from a cause of loss that is
not a Covered Cause of Loss Also, if
feasible, set the damaged property
aside and in the best possible order
for examination

(5) As often as may be reasonably re-
quired permit us to inspect the prop-
erty proving the loss or damage and
examine your books and records

Aiso permit us to take samples of
damaged and undamaged property
for inspection testing and analysis
and permit us to make copies from
your books and records

(6) Send us a signed sworn proof of loss
containing the information we request
to investigate the claim. You must do
this within 60 days after our request
We will supply you with the neces-
sary forms.

(7) Cooperate with us in the investigation
and settlement of the claim.

(8) if you intend to continue your busi-
ness you must resume all or part of
your "operations" as quickly as possi-
ble

We may examine any insured under
oath, while not in the presence of any
other insured and at such times as may
be reasonably required about any matter
relating to this insurance or the claim, in-
cluding an insured's books and records
in the event of an examination an in-
sured's answers must be signed

3. Loss Determination

The amount of Business income loss will
be determined based on:

(1) The Net income of the business be-
fore the direct physical loss or dam-
age occurred;

(2) The likely Net income of the business
if no physical loss or damage oc-
curred but not including any likely
increase in Net income attributable to
an increase in the volume of busi-
ness as a result of favorable business
conditions caused by the impact of
the Covered Cause of Loss on cus-
tomers or on other businesses

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(3) The operating expenses including
payroll expenses to the extent in-
sured necessary to resume "opera-
tions" with the same quality of serv-
ice that existed just before the direct
physical loss or damage; and

(4) Other relevant sources of informa-
tion including:

(a) Your financial records and ac-
counting procedures

(b) Bills invoices and other vouch-
ers and

(c) Deeds liens or contracts
b. Resumption of Operations

We will reduce the amount of your Busi-
ness income loss to the extent you can
resume your "operations", in whole or in
part by using damaged or undamaged
property (including merchandise or stock)
at the described premises or elsewhere

c. if you do not resume "operations", or do
not resume "operations" as quickly as
possible, we will pay based on the length
of time it would have taken to resume
"operations" as quickly as possible

4. Loss Payment

We will pay for covered loss within 30 days
after we receive the sworn proof of loss lf:

a. You have complied with all of the terms
of this Coverage Part; and

b. We have reached agreement with you on
the amount of loss or an appraisal award
has been made

At our option, we may make a partial pay-
ment toward any claims subject to the policy
provisions and our normal adjustment proc-
ess. To be considered for a partial claim
payment you must submit a partial sworn
proof of loss with supporting documentation
Any applicable deductibles must be satisfied
before any partial payments are made

E. ADD|T|ONAL COND|T|ON
Coinsurance
if a Coinsurance percentage is shown in the
Declarations the following condition applies in
addition to the Common Policy Conditions and
the Commerciai Property Conditions
We will not pay the full amount of any Business

income loss if the Limit of insurance for Business
income is less than:

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a. The Coinsurance percentage shown for Busi-
ness income in the Declarations times

b. The sum of:

(1) The Net income (Net Profit or Loss be-
fore income taxes), and

(2) All operating expenses (including payroll
expenses),

that would have been earned or incurred (had
no loss occurred) by your "operations" at the
described premises for the 12 months fol-
lowing the inception or last previous anniver-
sary date, of this policy (whichever is later).

instead we will determine the most we will pay
using the following steps

1. Multipiy the Net income and operating ex-
pense for the 12 months following the incep-
tion or last previous anniversary date, of this
policy by the Coinsurance percentage;

2. Divide the Limit of insurance for the de-
scribed premises by the figure determined in
step 1; and

3. Multipiy the total amount of loss by the figure
determined in step 2.

We will pay the amount determined in step 3. or
the Limit of insurance, whichever is less For the
remainder, you will either have to rely on other
insurance or absorb the loss yourself

in determining operating expenses for the pur-
pose of applying the Coinsurance condition the
following expenses if applicable shall be de-
ducted from the total of all operating expenses

1. Prepaid freight - outgoing;
Returns and allowances
Discounts;

Bad debts

Collection expenses

Cost of raw stock and factory supplies con-
sumed (including transportation charges);

7. Cost of merchandise sold (including trans-
portation charges);

8. Cost of other supplies consumed (including
transportation charges);

9. Cost of services purchased from outsiders
(not employees) to resell, that do not con-
tinue under contract

10. Power, heat and refrigeration expenses that
do not continue under contract (if form CP 15
11 is attached);

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11. The amount of payroll expense excluded
(when ordinary payroll is excluded or limited
as stated in the Declarations); and

12. Special deductions for mining properties
(royalties unless specifically included in cov-
erage; actual depletion commonly known as
unit or cost depletion - not percentage deple-
tion; welfare and retirement fund charges
based on tonnage; hired trucks).

Example No. 1 (Underinsurance):

When: The Net income and
operating expenses for the
12 months following the
inception or last previous
anniversary datel of this
policy at the described
premises would have been: $400,000

The Coinsurance percentage is 50%
The Limit of insurance is: $150,000
The amount of loss is: $80,000

Step 1: $400.000 X 50% = $200,000 (the mini-
mum amount of insurance to meet your Coinsur-
ance requirements)

Step 21 $150,000/$200,000 = .75
Step 31 $ 80,000 X .75 = $60,000

We will pay no more than $60,000. The remain-
ing $20,000 is not covered .

Example No. 2 (Adequate lnsurance):

When: The Net income and
operating expenses for the
12 months following the
inception or last previous
anniversary date, of this
policy at the described
premises would have been: $400,000

The Coinsurance percentage is 50%
The Limit of insurance is: $200,000
The amount of loss is $80,000

The minimum amount of insurance to meet your
Coinsurance requirement is $200,000 ($400,000
X 50%). Therefore, the Limit of insurance in this
Example is adequate and no penalty applies We
will pay no more than $80,000 (amount of loss).

OPT|ONAL COVERAGES

if shown as applicable in the Declarations the
following Optional Coverages apply separately to
each item.

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1. Maximum Period of indemnity

The Additional Condition, Coinsurance,
does not apply to this Coverage Form at
the described premises to which this Op-
tional Coverage applies.

The most we will pay for loss of Business
income, including Extended Business ln-
come and Delayed Net income Loss Ad-
ditional Coverages is the lesser of:

(1) The amount of loss sustained during
the 120 days immediately following
the beginning of the "period of resto-
ration"; or

(2) The Limit of insurance shown in the
Declarations

2. Month|y Limit of indemnity

The Additional Condition, Coinsurance,
does not apply to this Coverage Form at
the described premises to which this Op-
tional Coverage applies

The most we will pay for loss of Business
income including Extended Business in-
come and Delayed Net income Loss Ad-
ditional Coverages in each period of 30
consecutive days after the beginning of
the "period of restoration" is:

(1) The Limit of insurance, multiplied by

(2) The fraction shown in the Declara-
tions for this Optional Coverage.

Example:
When: The Limit of insurance

is $120,000

The fraction shown in
the Declarations for
this Optional Cover-
age is: 1/4

The most we will pay for loss in each pe-
riod of 30 consecutive days is
$120,000 X 1/4 = $30,000

if, in this example, the actual amount of
loss is

Days 1-30 $40,000

Days 31-60 $20,000

Days 61-90 $30,000
W

We will pay:

Days 1-30 $30,000

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Days 31-60 $20.000
Days 61-90 $30,000
$80,000

The remaining $10,000 is not covered.

3. Business income Agreed Value
a. To activate this Optional Coverage;

(1) A signed Business income Work-
sheet must be submitted to and ac-
cepted by us. The Worksheet must
show financial data for your "opera-
tions":

(a) For the most recent 12 months
prior to the date of the Work-
sheet; and

(b) Estimated for the 12 months im-
mediately following the inception
of this Optional Coverage.

(2) The Declarations must indicate that
the Business income Agreed Value
Optional Coverage applies and an
Agreed Value must be shown on the
Business income Worksheet on file
with us. The Agreed Value should be
at least equal to:

(a) The Coinsurance percentage
shown in the Declarations multi-
plied by

(b) The amount of Net income and
operating expenses for the foi-
lowing 12 months you state on
the Worksheet

b. The Additional Condition, Coinsurance, is

suspended unti|:

(1) 12 months after the effective date of
this Optional Coverage; or

(2) The expiration date of this poiicy;

whichever occurs first.

We will reinstate the Additional Condi-
tion, Coinsurance, automatically if you do
not submit a new Worksheet and Agreed
Value:

(1) Within 12 months of the effective
date of this Optional Coverage; or

(2) When you request a change in your
Business income Limit of insurance.

4. Ordinary Payroll Limitation or Exclusion
a. To activate this Optional Coverage indi-

cate the following in the Declarations

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(1) Ordinary payroll is exciuded; or

(2) Ordinary payroll is limited to a speci-
fied number of days. The number of
days may be used in two separate
periods during the "period of restora-
tion".

b. When ordinary payroll is excluded or lim-
ited:

(1) in determining the operating ex-
penses for the policy year for Coin-
surance purposes payroll expenses
will not include ordinary payroll ex-
cept for ordinary payroll incurred
during the number of days shown in
the Declarations if the ordinary pay-
roll for the policy year varies during
the year, the period of greatest ordi-
nary payroll will be used.

(2) Ordinary payroll means payroll ex-
penses for ali your employees ex-
cept
(a) Officers;

(b) Executives;
(c) Department managers
(d) Emp|oyees under contract; and

(e) Additional Exemptionsl shown in
the Declarations or by endorse-
ment as

(i) Job Classifications; or

(ii) Emp|oyees specifically listed
by name.

(3) Ordinary payroll includes
(a) Payroil;

(b) Emp|oyee benefits if directly re-
lated to payroll;

(c) FlCA and Medicare payments
(d) Union dues and

(e) Worker's compensation premi-
ums.

G. DEF|N|T|ONS

"Electronic Data Processing Data and Media"
means

a. Data stored as or on created or used on
or transmitted to or from computer soft-
ware (inc|uding systems and application
software) on electronic data processing,
recording or storage media such as hard
or floppy disks CD-ROMS, tapes drives

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cells data processing devices or any
other repositories of computer software
which are used with electronically con-
trolled equipment;

b. The electronic media on which the data is
stored; and

c. Programming records and instructions
used for "Electronic Data Processing
Equipment".

"Electronic Data Processing Equipment"
means any of the following equipment used
in your data processing operations

a. Electronic data processing equipment,
facsimile machines word processors
multi-functiona| telephone equipment and
iaptop and portable computers and

b. Any component parts and peripherals of
such equipment, including related surge
protection devices.

"Electronic Data Processing Equipment" does
not include equipment used to operate pro-
duction type machinery or equipment

"Finished Stock" means stock you have
manufactured

"Finished Stock" also includes whiskey and
alcoholic products being aged, unless there is
a Coinsurance percentage shown for Busi-
ness income in the Declarations

"Finished Stock" does not include stock you
have manufactured that is held for sale on
the premises of any retail outlet insured un-
der this Coverage Part.

"Operations" means

a. Your business activities occurring at the
described premises and

b. The tenantabi|ity of the described prem-
ises, if coverage for Business income in-
cluding "Rental Value" or "Rental Value"
applies.

"Period of Restoration" means the period of
time after direct physical loss or damage
caused by or resulting from a Covered Cause
of Loss at the described premises which:

a. Begins

(1) Uniess a different time period is indi-
cated in the Declarations 72 hours
after the time of direct physical loss
or damage; and

b. Ends on the earlier of:

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(1) The date when the property at the
described premises should be re-
paired, rebuilt or replaced with rea-
sonable speed and similar quality; or

(2) The date when business is resumed
at a new permanent location,

"Period of restoration" does not include any
increased period required due to the en-
forcement of any ordinance or law that:

(1) Regulates the construction use or
repair, or requires the tearing down of
any property; or

(2) Requires any insured or others to test
for, monitor, clean up, removel con-
tain, treat, detoxify or neutralize, or in
any way respond to. or assess the
effects of "po||utants".

The expiration date of this policy will not cut
short the "period of restoration".

"Pollutants" means any soiid, liquid, gaseous
or thermal irritant or contaminant, including
smokel vapor, soot, fumes acids alkalis
chemicals waste and any unhealthful or haz-
ardous building materials (including but not
limited to asbestos and lead products or ma-
terials containing lead). Waste includes mate-
rials to be recycled, reconditioned or re-
claimed.

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"Rental Value" means Business income that
consists of:

a. Net income (Net Profit or Loss before in-
come taxes) that would have been
earned or incurred as rental income from
tenant occupancy of the premises de-
scribed in the Declarations as furnished
and equipped by you, including fair rental
value of any portion of the described
premises which is occupied by you; and

b. Continuing normal operating expenses
incurred in connection with that premises
including:

(1) Payro|i; and

(2) The amount of charges which are the
legal obligation of the tenant(s) but
would othen/vise be your obligations

"Suspension" means

a. The partial or complete cessation of your
business activities or

b. That a part or all of the described prem-
ises is rendered untenantabie, if cover-
age for Business income including
"Rental Value" or "Rental Value" applies

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EXTRA EXPENSE COVERAGE FORM

Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights duties and
what is and is not covered.

Throughout this policy the words "you" and "your" refer to the Named insured shown in the Declarations The
words "we", "us" and "our" refer to the Company providing this insurance

Other words and phrases that appear in quotation marks have special meaning. Refer to SECT|ON E -
DEFiNiT|ONS.

A. COVERAGE We will also pay Extra Expense (including

We will pay the actual reasonable and necessary
Extra Expense you sustain due to direct physical
loss of or damage to property at premises which
are described in the Declarations and for which
an Extra Expense Limit of insurance is shown in
the Declarations The loss or damage must be
caused by or result from a Covered Cause of
Loss. With respect to loss of or damage to prop-
erty in the open or property in a vehicle, the de-
scribed premises includes the area within 1,000
feet of the‘building at which the described prem-
ises is iocated.

With respect to the requirements set forth in the
preceding paragraph, if you occupy only part of
the site at which the described premises are lo-
cated, your premises means

(i) The portion of the building which you
rent, lease or occupy; and

(ii) Any area within the building or on the site
at which the described premises are |0-
cated, if that area services or is used to
gain access to, the described premises

1. Extra Expense

Extra Expense means reasonable and nec-
essary expenses you incur during the "period
of restoration" that you would not have in-
curred if there had been no direct physical
loss or damage to property.

We will pay Extra Expense (other than the
expense to repair or replace property) to:

a. Avoid or minimize the "suspension" of
business and to continue "operations" at
the described premises or at replacement
premises or temporary locations includ-
ing relocation expenses and costs to
equip and operate the replacement loca-
tion or temporary iocation; or

b. i\/iinimize the "suspension" of business if
you cannot continue "operations".

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Expediting Expense) to repair or replace the
property, but only to the extent it reduces the
amount of loss that otherwise would have
been payable under this Coverage Form.

Additional Coverages

Uniess othen/vise stated, payments made
under these Additional Coverages will not in-
crease the applicable Limits of insurance

Uniess othen/vise indicated in the Declara-
tions or by endorsement, the following Addi-
tional Coverages apply:

a. Alterations and New Buiidings

We wiii pay for the actual and necessary
Extra Expense you incur due to direct
physical loss or damage at the described
premises caused by or resulting from any
Covered Cause of Loss to:

(1) New buildings or structures whether
complete or under construction;

(2) Alterations or additions to existing
buildings or structures and

(3) i\/iachineryl equipment, supplies or
building materials located on or
within 1,000 feet of the described
premises and:

(a) Used in the construction, altera-
tions or additions or

(b) incidental to the occupancy of
new buildings

b. Civil Authority

We will pay for the actual reasonable and
necessary Extra Expense you incur
caused by action of civil authority that
prohibits access to the described prem-
ises The civil authority action must be
due to direct physical loss or damage by
a Covered Cause of Loss to property at
locations other than the described

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premises that are within 100 miles of the
described premises

Uniess a different coverage period is in-
dicated in the Declarations this coverage
will apply for a period of up to three con-
secutive weeks from the date of that ac-
tion,

c. interruption of Computer Operations

We will pay for the reasonable and nec-
essary Extra Expense you incur during
the "period of restoration" caused by di-
rect physical loss or damage to "Elec-
tronic Data Processing Data and lViedia"
at the described premises by a Covered
Cause of Loss

The most we will pay under this Addi-
tional Coverage is $25,000 for the sum of
ali covered interruptions arising out of ali
Covered Causes of Loss occurring during
each separate 12 month period of this
policy beginning with the effective date of
this policy. The amount payable under
this Additional Coverage is in addition to
the Limit of insurance

3. Coverage Extensions

Each of these Coverage Extensions is addi-
tional insurance, Uniess otherwise indicated
in the Declarations or by endorsement, the
following Coverage Extensions apply:

a. Newly Acquired Locations

(1) You may extend your Extra Expense
Coverage to apply to property (in-
cluding property under construction)
at any location you acquire by pur-
chase or lease (other than fairs, trade
shows or exhibitions).

(2) The most we will pay for loss under
this Extension is $100,000 iri any one
occurrence at each newly acquired
location.

(3) insurance under this Extension for
each newly acquired location will end
when any of the following first occurs
(a) This policy expires

(b) 90 days expire after you acquire
or begin to construct the prop-
erty;

(c) You report the location to us or

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(d) Coverage for Extra Expense at
the location is more specifically
insured.

We will charge you additional pre-
mium from the date you acquire the
property.

b. Claim Data Expense

You may extend the insurance provided
by this Coverage Form to apply to the
expense you incur in preparing claim
data when we require it. This includes the
cost of taking inventories making ap-
praisals and preparing other documents
to show the extent of Extra Expenses
The most we will pay for preparation of
claim data under this Extension in any
one occurrence is $2,500.

We will not pay for:

(1) Any expenses incurred, directed or
billed by or payable to attorneys in-
surance adjusters or their associates
or subsidiaries

(2) Any costs as provided in the Loss
Condition - Appraisal; or

(3) Any expenses incurred, directedl or
billed by or payable to insurance bro-
kers or agents or their subsidiaries
without our written consent prior to
such expenses being incurred.

B. COVERED CAUSES OF LOSS, EXCLUS|ONS
AND LlM|TAT|ONS

1.

See applicable Causes of Loss Form as
shown in the Declarations

Additional Limitation - interruption of
Computer Operations

Coverage for Extra Expense does not apply
to any loss or increase in loss caused by di-
rect physical loss or damage to "Electronic
Data Processing Data and Media", except as
provided under the Additional Coverage -
interruption of Computer Operations

C. LlM|TS OF lNSURANCE

The most we will pay for loss in any one occur-
rence is the applicable Limit of insurance shown
in the Declarations this Coverage Form or any
endorsements applicable to this Coverage Form.

D. LOSS COND|T|ONS

The following conditions apply iri addition to the
Common Policy Conditions and the Commerciai
Property Conditions

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Appraisal

if we and you disagree on the amount of loss
either may make written demand for an ap-
praisal of the ioss. in this eventl each party
will select a competent and impartial ap-
praiser. The two appraisers wi|| select an um-
pire. if they cannot agree, either may request
that selection be made by a judge of a court
having jurisdiction The appraisers will state
separately the amount of loss if they fail to
agree, they will submit their differences to the
umpire. A decision agreed to by any two will
be binding. Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equally.

if there is an appraisa|, we will still retain our
right to deny the claim.

2. Duties if You incur Extra Expense

a. You must see that the following are done
if you incur Extra Expense:

(1) Notify the police if a law may have
been broken.

(2) Give us prompt notice of the direct
physical loss or damage. include a
description of the property involved.

(3) As soon as possible, give us a de-
scription of howl when and where the
direct physical loss or damage oc-
curred.

(4) Take all reasonable steps to protect
Covered Property from further dam-
age. and keep a record of your ex-
penses necessary to protect Covered
Property for consideration in the set-
tlement of the claim. This will not in-
crease the Limit of insurance, How-
ever, we will not pay for any subse-
quent loss or damage resulting from
a cause of loss that is not a Covered
Cause of Loss. Also, if feasibie, set
the damaged property aside and in
the best possible order for examina-
tion.

(5) As often as may be reasonably re-
quired, permit us to inspect the prop-
erty proving the loss or damage and
examine your books and records

Aiso permit us to take samples of
damaged and undamaged property
for inspection, testing and analysis

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and permit us to make copies from
your books and records

(6) Send us a signed, sworn proof of loss
containing the information we request
to investigate the claim. You must do
this within 60 days after our request.
We will supply you with the neces-
sary forms

(7) Cooperate with us in the investigation
or settlement of the claim.

(8) if you intend to continue your busi-
ness you must resume ali or part of
your "operations" as quickly as possi-
ble.

b. We may examine any insured under
oath, while not in the presence of any
other insured and at such times as may
be reasonably required, about any matter
relating to this insurance or ciaim, in-
cluding an insured's books and records
in the event of an examination an in-
sured's answers must be signed.

3. Limits On Loss Payment

We will not pay more for Extra Expense than
the percentages shown in the Declarations
times the Limit of insurance,

When the "period of restoration" is

a. 30 days or less the first percentage ap-
plies.

b. 60 days or less but more than 30 days
the second percentage applies

c. More than 60 days the third percentage
applies

Example:

The Limit of insurance is: $100,000

The percentages shown in
the Declarations are:

The "period of restoration" is:

The amount of Extra Expenses
incurred is: $90,000

We will not pay more than $100,000 times
80% (the percentage applicable for a "period
of restoration" of 31-60 days), or $80,000.
The remaining $10,000 is not covered.

40%-80%-100%
45 days

4. Loss Determination

a. The amount of Extra Expense will be
determined based on:

(1) All expenses that exceed the normal
operating expenses that would have

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been incurred by "operations" during
the "period of restoration" if no direct
physical loss or damage had oc-
curred. We will deduct from the total
of such expenses

(a) The salvage value that remains
of any property bought for tempo-
rary use during the "period of
restoration", once "operations"
are resumed; and

(b) Any Extra Expense that is paid
for by any other insurance, ex-
cept for insurance that is written
subject to the same plan, terms
conditions and provisions as this
insurance; and

(2) Necessary expenses that reduce the
Extra Expense loss otherwise in-
curred.

b. We will reduce the amount of your Extra
Expense loss to the extent you can re-
turn "operations" to normal and discon-
tinue such Extra Expense.

c. if you do not resume "operations", or do
not resume "operations" as quickly as
possible, we will pay based on the length
of time it would have taken to resume
"operations" as quickly as possibie.

5. Loss Payment

We will pay for any loss within 30 days after
we receive the proof of loss, if you have
complied with ali of the terms of this Cover-
age Part; and

a. We reach agreement with you on the
amount of loss or

b. An appraisal award has been made.

At our option, we may make a partial pay-
ment toward any claims subject to the policy
provisions and our normal adjustment proc-
ess. To be considered for a partial claim
payment, you must submit a partial sworn
proof of loss with supporting documentaion.
Any applicable deductibies must be satisfied
before any partial payments are made.

E. DEF|N|T|ONS

"Operations" means your business activities
occurring at the described premises

"Period of Restoration" means the period of
time that:

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a. Begins with the date of direct physical
loss or damage caused by or resulting
from any Covered Cause of Loss at the
described premises and

b. Ends on the date when the property at
the described premises should be re-
paired, rebuilt or replaced with reason-
able speed and similar qua|ity or the date
when business is resumed at a new per-
manent location

"Period of restoration" does not include any
increased period required due to the en-
forcement of any ordinance or law that:

(1) Regulates the construction, use or repair,
or requires the tearing down of any prop-
erty; or

(2) Requires any insured or others to test for,
monitor, clean up, remove, contain, treat,
detoxify or neutralize, or in any way re-
spond to, or assess the effects of "po||ut-
ants".

The expiration date of this policy will not cut
short the "period of restoration".

"Pollutants" means any solid, iiquid, gaseous
or thermal irritant or contaminant, including
smoke, vapor, soot, fumes acids aikaiis,
chemicals waste and any unhealthful or haz-
ardous building material (including but not
limited to asbestos and lead products or ma-
terials containing lead). Waste includes mate-
rials to be recycled, reconditioned or re-
ciaimed.

"Suspension" means the partial or complete
cessation of your business activities

"Electronic Data Processing Data and Media"
means

a. Data stored as or on created or used on,
or transmitted to or from computer soft-
ware (inciuding systems and application
software) on electronic data processing,
recording or storage media such as hard
or floppy disks CD-ROMS, tapes drives
cells data processing devices or any
other repositories of computer software
which are used with electronically con-
trolled equipment;

b. The electronic media on which the data is
stored; and

c. Programming records and instructions
used for "Electronic Data Processing
Equipment".

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6. "Electronic Data Processing Equipment"
means any of the following equipment used
in your data processing operations

a. Electronic data processing equipment,
facsimile machines word processors
multi-functional telephone equipment and
iaptop and portable computers and

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b. Any component parts and peripherais of
such equipment, including related surge
protection devices

"Electronic Data Processing Equipment" does
not include equipment used to operate pro-
duction type of machinery or equipment

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CAUSES OF LOSS - SPEC|AL FORM

Words and phrases that appear in quotation marks have special meaning. Refer to SECT|ON F - DEFiNiT|ONS.
A. COVERED CAUSES OF LOSS

When Special is shown in the Declarationsl Cov-
ered Causes of Loss means R|SKS OF DiRECT
PHYS|CAL LOSS unless the loss is:

Excluded in Section B., Exclusions or

1.

2. Limited in Section C., Limitations
that follow.
B. EXCLUS|CNS

1.

We will not pay for loss or damage caused
directly or indirectly by any of the following.
Such loss or damage is excluded regardless
of any other cause or event that contributes
concurrently or in any sequence to the loss.

Ordinance or Law

The enforcement of any ordinance or
iaw:

(1) Regulating the construction, use or
repair of any property; or

(2) Requiring the tearing down of any
propertyl including the cost of re-
moving its debris

This exclusion Ordinance or Law, ap-
plies whether the loss results from:

(1) An ordinance or law that is enforced
even if the property has not been
damaged; or

(2) The increased costs incurred to com-
ply with an ordinance or law in the
course of construction, repair, reno-
vation remodeling or demolition of
property, or removal of its debris
following a physical loss to that prop-
erty.

Earth Movement

(1) Earthquake, including any earth
sinking, rising or shifting related to
such event;

(2) Landslide, including any earth sink-
ing, rising or shifting related to such
event

(3) Mine subsidence, meaning subsi-
dence of a man-made mine, whether
or not mining activity has ceased;

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(4) Earth sinking (other than sinkhole
collapse), rising or shifting including
soil conditions which cause settiing,
cracking or other disarrangement of
foundations or other parts of realty.
Soil conditions include contraction
expansion freezing, thawing, ero-
sion, improperly compacted soil and
the action of water under the ground
surface;

all whether naturally occurring or due to
man-made or other artificial causes

But if Earth Movement, as described in b.
(1) through (4) above, results in fire or
explosion we will pay for the loss or
damage caused by that fire or explosion

(5) Volcanic eruptionl explosion or effu-
sion. But if voicanic eruption explo-
sion or effusion results in fire, build-
ing glass breakage or voicanic ac-
tion we will pay for the loss or dam-
age caused by that Hrel building
glass breakage or voicanic action.

Volcanic action means direct loss or
damage resulting from the eruption
of a voicano when the loss or dam-
age is caused by:

(a) Airborne voicanic blast or air-
borne shock waves

(b) Ash, dust or particulate matter; or
(c) Lava flow.

All voicanic eruptions that occur
within any 168 hour period will con-
stitute a single occurrence,

Volcanic action does not include the
cost to remove ash, dust or particu-
late matter that does not cause direct
physical loss or damage to the de-
scribed property.

c. Governmentai Action

Seizure or destruction of property by or-
der of governmental authority.

But we will pay for loss or damage
caused by or resulting from acts of de-
struction ordered by governmental
authority and taken at the time of a fire to

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prevent its spread, if the fire would be
covered under this Coverage Part.

Nuc|ear Hazard

Nuc|ear reaction or radiation or radioac-
tive contamination however caused.

But if nuclear reaction or radiation or ra-
dioactive contamination results in fire,
we will pay for the loss or damage
caused by that fire.

Utiiity Services

The failure or fluctuation of power or
other utility service supplied to the de-
scribed premises however caused, if the
failure or fluctuation occurs away from
the described premises

But if the failure or fluctuation of power or
other utility service results iri a Covered
Cause of Loss, we will pay for the loss or
damage caused by that Covered Cause
of Loss.

This exclusion does not apply to Busi-
ness income Coverage or Extra Expense
Coverage. instead, the Special Exclusion
in paragraph B.4.a.(1) applies to these
coverages

War And Miiitary Action

(1) War, including undeclared or civil
war;

(2) Warlike action by a military force, in-
cluding action in hindering or de-
fending against an actual or expected
attack, by any government, sover-
eign or other authority using military
personnel or other agents or

(3) insurrection rebellion revolution
usurped power, or action taken by
governmental authority in hindering
or defending against any of these.

Water

(1) Fiood, surface water, waves, tides
tidal waves overflow of any body of
water, or their spray, all whether
driven by wind or not;

(2) Mudslide or mudf|ow;

(3) Water or sewage that backs up or
overflows from a sewer, drain or
sump; or

(4) Water under the ground surface
pressing on, or flowing or seeping
through:

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(a) Foundations walls floors or
paved surfaces

(b) Basements, whether paved or
not;or

(c) Doors, windows or other open-
ings;
ai| whether naturally occurring or due to
man-made or other artificial causes

But if Water, as described in g.(1)
through g.(4) above, results in fire, ex-
plosion or sprinkler ieakage, we will pay
for the loss or damage caused by that
fire, explosion or sprinkler ieakage.

h. Neg|ect

Neglect of an insured to use all reason-
able means to save and preserve prop-
erty from further damage at and after the
time of loss

Exclusions B.1.a. through B.1.h. apply
whether or not the loss event results in wide-
spread damage or affects a substantial area.

We will not pay for loss or damage caused by
or resulting from any of the foilowing:

a. Artificiai|y generated electrical current,
including electric arcing, that disturbs
electrical devices equipment, appliances
or wires But if artificially generated elec-
trical current results in fire, we will pay for
the loss or damage caused by that fire.

b. Delay, loss of use or loss of market.

Smoke, vapor or gas from agricultural
smudging or industrial operations

d. (1) Wear and tear;

(2) Rustl other corrosion fungus decay,
deterioration hidden or latent defect
or any quality in property that causes
it to damage or destroy itself;

(3) Smog;

(4) Settling, cracking, shrinking or ex-
pansion;

(5) Nesting or infestation or discharge or
release of waste products or secre-
tions by insects birds rodents or
other animals

(6) Mechanical breakdown including
rupture or bursting caused by cen-
trifugal force. But if mechanical
breakdown results in elevator colli-

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sion, we will pay for the loss or dam- h. Dishonest or criminal act by you, any of

 

 

age caused by that elevator collision;

(7) The following causes of loss to per-
sonal property:

(a) Dampness or dryness of atmos-
phere;

(b) Changes in or extremes of tem-
perature;

(c) Marring or scratching;

(d) Changes in flavor, coior, texture
orfinish;

(e) Evaporation or leakage; or

(8) Contamination by other than "po||ut-
ants".

But if an excluded cause of loss that is
listed in 2.d.(1) through (8) results in a
"specified cause of ioss" or building glass
breakage, we will pay for the loss or
damage caused by that "specified cause
of ioss" or building glass breakage.

Explosion of steam boilers steam pipes
steam engines or steam turbines owned
or leased by you, or operated under your
control. But if explosion of steam boilers
steam pipes steam engines or steam
turbines results in fire or combustion ex-
plosion we will pay for the loss or dam-
age caused by that fire or combustion
explosion We will also pay for loss or
damage caused by or resulting from the
explosion of gases or fuel within the fur-
nace of any fired vessel or within the
flues or passages through which the
gases of combustion pass

Continuous or repeated seepage or leak-
age of water, or the presence or conden-
sation of humidity, moisture or vapor,
that occurs over a period of 14 days or
more.

Water, _other liquids powder or molten
material that leaks or flows from plumb-
ing, heating, air conditioning or other
equipment (except fire protective sys-
tems) caused by or resulting from freez-
ing, unless

(1) You do your best to maintain heat in

your partners members officers man-
agers employees (including leased em-
ployees), directors trustees authorized
representatives or anyone to whom you
entrust the property for any purpose:

(1) Acting alone or in collusion with oth-
ers; or

(2) Whether or not occurring during the
hours of employment

This exclusion does not apply to acts of
destruction by your employees (including
leased employees); but theft by employ-
ees (including leased employees) is not
covered.

Voluntary parting with any property by
you or anyone else to whom you have
entrusted the property.

Rain snowl sand, dustl ice or sleet to
personal property in the open.

Collapse. except as provided below in the
Additional Coverage - Collapse. But if
collapse results in a Covered Cause of
Loss at the described premises we will
pay for the loss or damage caused by
that Covered Cause of Loss.

Discharge, dispersal, seepage, migration
release or escape of "po||utants" unless
the discharge, dispersall seepage, migra-
tion, release or escape is itself caused by
any of the "specified cause of ioss". But if
the discharge, dispersal, seepage, migra-
tion release or escape of "po||utants" re-
sults in a "specihed cause of ioss", we
will pay for the loss or damage caused by
that "specified cause of ioss".

This exclusion i., does not apply to dam-
age to glass caused by chemicals applied
to the glass

. The cost of correcting or making good

the damage to personal property attribut-
able to such property being processed,
manufactured, testedl repairedl restored.
retouched or otherwise being worked
upon,

3. We will not pay for loss or damage caused by

or resulting from any of the foilowing, 3.a.
through 3.c. But if an excluded cause of loss
(2) You drain the equipment and shut off that is listed in 3.a. and 3.b. results in a Cov-
the supply if the heat is not main- ered Cause of Loss we will pay for the re-
tained. su|ting loss or damage caused by that Cov-
ered Cause of Loss.

the building or structure; or

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a. Weather conditions But this exclusion
only applies if weather conditions con-
tribute in any way with a cause or event
excluded in B.1. above to produce the
loss or damage.

b. Acts or decisions including the failure to
act or decide, of any person group, or-
ganization or governmental body.

c. Faulty, inadequate or defective:

(1) Planning, zoning, development, sur-
veying, siting;

(2) Design specifications workmanship,
repairl construction, renovation re-
modeling, grading, compaction;

(3) Materiais used in repair, construction,
renovation or remodeling; or

(4) Maintenance;

of part or ali of any property on or off the
described premises

if an excluded cause of loss that is listed
in 3.c. above results in a Covered Cause
of Loss we will pay for the resulting loss
or damage caused by that Covered
Cause of Loss. But we will not pay for:

(1) Any cost of correcting or making
good the fault, inadequacy or defect
itself, including any cost incurred to
tear down tear out, repair or replace
any part of any property to correct
the fault, inadequacy or defect; or

(2) Any resulting loss or damage by a
Covered Cause of Loss to the prop-
erty that has the fault, inadequacy or
defect until the fault, inadequacy or
defect is corrected.

4. Special Exclusions

The following provisions apply only to the
specified Coverage Forms and/or coverages
when they are part of this policy.

 

a. Business income (And Extra Expense)
Coverage Forml Business income
(Without Extra Expense) Coverage
Form, or Extra Expense Coverage
Form

We will not pay for:

(1) Any loss caused directly or indirectly
by the failure or fluctuation of power
or other utility service supplied to the
described premises however caus-

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L________

(2)

(3)

(4)

ed, if the failure occurs outside of a
covered building.

But if the failure or fluctuation of
power or other utility service results
in loss or damage by a Covered
Cause of Loss, we will pay for the
loss or damage caused by that Cov-
ered Cause of Loss.

Any loss caused by or resulting from:

(a) Damage or destruction of "fin-
ished stock"; or

(b) The time required to reproduce
"finished stock".

This exclusion does not apply to Ex-
tra Expense.

Any loss caused by or resulting from
direct physical loss of or damage to
the following property while outside
of buildings

(a) Harvested grain, hay, straw or
other crops

(b) Outdoor trees shrubs plants
lawns (including fainNays, greens
and tees), growing crops land or
water; and

(c) Radio or television antennas (in-
cluding microwave or satellite
dishes) and their lead-in wiring,
masts or towers.

Any increase of loss caused by or re-
sulting from:

(a) Delay in rebuilding, repairing or
replacing the property or resum-
ing "operations" due to interfer-
ence at the location of the re-
building, repair or replacement by
strikers or other persons or

(b) Suspension, lapse or cancellation
of any iicense, lease or contract.
But if the suspension lapse or
cancellation is directly caused by
the suspension of "operations",
we will cover such loss that af-
fects your Business income dur-
ing the "period of restoration" and
any extension of the "period of
restoration" in accordance with
the terms of the Extended Busi-
ness income Additionai Cover-
agel or any variation of these.

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(5) Any Extra Expense caused by or re-
sulting from suspension lapse or
cancellation of any licensel lease or
contract beyond the "period of resto-
ration".

(6) Any other consequential ioss.
Leasehoid interest Coverage Form

The following applies to this Coverage
Form:

(1) Exclusion B.1.a., Ordinance or Law,
does not apply; and

(2) We will not pay for any loss caused
by;
(a) Your cancelling the lease;

(b) The suspension lapse or can-
cellation of any iicense; or

(c) Any other consequential |oss.
Legai Liability Coverage Form

(1) The following exclusions do not apply
to insurance under this Coverage

Form;

(a) Paragraph B.1.a., Ordinance or
Law;

(b) Paragraph B.1.c., Governmenta|
Action;

(c) Paragraph B.1.d., Nuc|ear Haz-
ard;

(d) Paragraph B.1.e., Utiiity Serv-
ices;and

(e) Paragraph B.1.f. War and Miii-
tary Action.

(2) The following additional exclusions
apply to insurance under this Cover-
age Form;

(a) Contractuai Liability

We will not defend any claim or
"suit"l or pay damages that you
are legally liable to pay, solely by
reason of your assumption of li-
ability in a contractor agreement
But this exclusion does not apply
to a written lease agreement in
which you have assumed liability
for building damage resulting
from an actual or attempted bur-
glary or robbery, provided that:

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(i) Your assumption of liability
was executed prior to the ac-
cident; and

(ii) The building is Covered
Property under this Coverage
Form.

(b) Nuc|ear Hazard

We will not defend any claim or
"suit", or pay any damages loss
expense or obligation resulting
from nuclear reaction or radia-
tion or radioactive contamina-
tion however caused.

d. Electronic Data Processing Equip-

ment; Electronic Data Processing Data
and Media; Valuable Papers and Rec-
ords and Accounts Receivab|e Cover-
ages

(1) Exclusions

(a) B. 2. a., which excludes loss
caused by or resulting from artifi-
cially generated electrical current
that disturbs electrical devices
equipment, appliances or wires
and

(b) B. 2.c., which excludes loss
caused by or resulting from
smoke, vapor, or gas from agri-
cultural smudging or industrial
operations

do not apply to loss or damage to
"Electronic Data Processing Equip-
ment", "Electronic Data Processing
Data and Media" and "Vaiuabie Pa-
pers and Records"; or to loss of Busi-
ness income and Extra Expense that
is a consequence of such loss or
damage.

(2) With respect to "Electronic Data
Processing Equipment" and "Elec-
tronic Data Processing Data and Me-
dia":

(a) Exclusion B.2.d.(6), which ex-
cludes loss caused by or result-
ing from mechanical breakdown
including rupture or bursting of
pipes does not appiy. The re-
mainder of the B.2.d. exclusion
continues to appiy, but if a cause
of loss listed in B.2.d.(1) through
(5) and B.2.d.(7) results in me-
chanical breakdown of "Elec-

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(b)

tronic Data Processing Equip-
ment" or in any of the "specified
cause of ioss", we will pay for the
resulting loss or damage.

The following exclusion is added:

We will not pay for loss or dam-
age to "Electronic Data Process-
ing Equipment" and "Electronic
Data Processing Data and Me-
dia"; or loss of Business income
or Extra Expense, that is a con-
sequence of loss or damage to
"Electronic Data Processing
Equipment" and "Electronic Data
Processing Data and Media";
caused by or resulting from any
of the foilowing:

(i) Programming errors omis-
sions or incorrect instructions
to a machine. But if pro-
gramming errors omissions
or incorrect instructions to a
machine results in a "speci-
ied cause of ioss" or me-
chanical breakdown of
"Electronic Data Processing
Equipment"l we will pay for
the resulting loss or damage;

(ii) Unauthorized viewing, copy-
ing or use of electronic data
(or any proprietary or confi-
dential information or intel-
lectual property in any form)
by any person even if such
activity is characterized as
theft;

(iii)Errors or deficiency in de-
sign installation mainte-
nance, repair or modiHcation
of your computer system or
any computer system or net-
work to which your system is
connected or on which your
system depends (including
electronic data). But if errors
or deficiency in design in-
stallation maintenance, re-
pair or modification of your
computer system or any
computer system or network
to which your system is con-
nected or on which your
system depends (including
electronic data) results in a

(C)

"specified cause of ioss" or
mechanical breakdown of
"Electronic Data Processing
Equipment". we will pay for
the resulting loss or damage;
or

(iv)Unexpiained or indetermin-
able failure, malfunction or
slowdown of a computer
system, including electronic
data and the inability to ac-
cess or properly manipulate
the electronic data,

The second paragraph of the
Utiiity Services Exclusion B.1.e.,
and the Special Exclusion appli-
cable to Business income or Ex-
tra Expense coverage, B.4.a.(1),
are deleted and replaced by the
following:

But if the failure or fluctuation of
power or other utility service re-
sults in a Covered Cause of Loss
(other than mechanical break-
down of "Electronic Data Proc-
essing Equipment" or loss or
damage from artificially gener-
ated electrical current which dis-
turbs electrical devices equip-
ment, appliances or wires), we
will pay for the resulting loss or
damage caused by that Covered
Cause of Loss

(3) With respect to Accounts Receivabie
coverage, we will not pay for:

(a)

(b)

(C)

Loss caused by or resulting from
bookkeeping, accounting or bill-
ing errors or omissions

Loss that requires an audit of re-
cords or any inventory computa-
tion to prove its factual exis-
tence; or

Loss caused by or resulting from
alteration falsification conceal-
ment or destruction of records of
accounts receivable done to con-
ceal the wrongful giving, taking
or withholding of money, securi-
ties or other property. But this
exclusion applies only to the ex-
tent of the wrongful giving, taking
or withholding

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(4) With respect to "Vaiuabie Papers and
Records" coverage, we will not pay
for any loss or damage caused by or
resulting from:

(a) Unauthorized viewingl copying or
use of electronic data (or any
proprietary or conidentiai infor-
mation or intellectual property in
any form) by any person even if
such activity is characterized as
theft; or

(b) Errors or omissions in processing
or copying. But if errors or omis-
sions in processing or copying
results in fire or explosion we will
pay for the resulting loss or dam-
age caused by that fire or explo-
sion.

C. LlM|TAT|ONS

The following limitations apply to all policy forms
and endorsements unless otherwise stated.

1.

We will not pay for loss of or damage to
property, as described and limited in this sec-
tion. in addition we will not pay for any loss
that is a consequence of loss or damage as
described and limited in this section.

Steam boilers steam pipes steam en-
gines or steam turbines caused by or re-
sulting from any condition or event inside
such equipment. But we will pay for loss
of or damage to such equipment caused
by or resulting from an explosion of
gases or fuel within the furnace of any
fired vessel or within the flues or pas-
sages through which the gases of com-
bustion pass

Hot water boilers or other water heating
equipment caused by or resulting from
any condition or event inside such boilers
or equipment, other than an expiosion.

The "interior of any building or structure",
or to personal property in the building or
structure, caused by or resulting from
rain, snow, sleet, ice, sand or dust,
whether driven by wind or not, unless

(1) The building or structure first sustains
damage by a Covered Cause of Loss
to its roof or walls through which the
rain snow, sleet, ice, sand or dust
enters or

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(2) The loss or damage is caused by or
results from thawing of snow, sleet or
ice on the building or structure.

Building materials and supplies not at-
tached as part of the building or structure,
caused by or resulting from theft.

However, this limitation does not apply
to:

(1) Building materials and supplies held
for sale by you, unless they are in-
sured under the Builders Risk Cover-
age Form; or

(2) Business income coverage or Extra
Expense coverage,

Property that is missing, where the only
evidence of the loss or damage is a
shortage disclosed on taking inventory, or
other instances where there is no physi-
cal evidence to show what happened to
the property.

Property that has been transferred to a
person or to a place outside the de-
scribed premises on the basis of unau-
thorized instructions

2. We will not pay for loss of or damage to the
following types of property unless caused by
a "specified cause of ioss" or building glass
breakage:

Live animals birds or fish and then only
if they are killed or their destruction is
made necessary.

Fragile articles such as glassware statu-
ary, marbies, chinaware and porcelains, if
broken. This restriction does not apply to:

(1) Glass that is part of a building or
structure; or

(2) Containers of property held for sale.

Builders' machinery, tools and equip-

ment owned by you or entrusted to you,

provided such property is Covered Prop-
erty. However, this limitation does not
apply:

(1) if the property is located on or within
1,000 feet of the described premises
unless the premises is insured under
the Builders Risk Coverage Form; or

(2) To Business income coverage or to
Extra Expense coverage

3. The special limit shown for each category, a.
through d., is the total limit for loss of or

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damage to all property in that category. The
special limit applies to any one occurrence of
theft, regardless of the types or number of
articles that are lost or damaged in that oc-
currence. The special limits are:

a. $5,000 for furs fur garments and gar-
ments trimmed with fur.

b. $5,000 for jewelry, watches watch
movements jewels pearls, precious and
semi-precious stones bullion goid, sil-
ver, platinum and other precious alloys or
metals This limit does not apply to jew-
elry and watches worth $100 or less per
item.

c. $25,000 for patterns dies molds and
forms.

d. $1,000 for stamps tickets including lot-
tery tickets held for sale, and letters of
credit.

These special limits are part of, not in addi-
tion to, the Limit of insurance applicable to
the Covered Property.

This limitation C.3., does not apply to Busi-
ness income coverage or to Extra Expense
coverage,

We will not pay the cost to repair any defect
to a system or appliance from which water,
other liquidl powder or molten material es-
capes. But we will pay the cost to repair or
replace damaged parts of fire extinguishing
equipment if the damage:

a. Results in discharge of any substance
from an automatic fire protection system;
or

b. is directly caused by freezing

However, this limitation does not apply to
Business income coverage or to Extra Ex-
pense coverage

if the building where loss or damage occurs
has been "vacant" for more than 60 consecu-
tive days before that loss or damage occurs

a. We will not pay for any loss or damage
caused by any of the following even if
they are Covered Causes of Loss

(1) Vandalism;

(2) Sprinkier ieakage, unless you have
protected the system against freez-
ing;

(3) Building glass breakage;

(4) Discharge or leakage of water;

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(5) Theft; or
(6) Attempted theft.

b. With respect to Covered Causes of Loss
other than those listed in 5.a.(1) through
5.a.(6) above, we will reduce the amount
we would othen/vise pay for the loss or
damage by 15%.

D. ADD|T|ONAL COVERAGE - COLLAPSE

The term Covered Cause of Loss includes the
Additional Coverage - Collapse as described and
limited in D.1., through D.5. below.

1.

2.

With respect to buildings collapse means

a. An abrupt failing down or caving in of a
building or any portion of a building with
the result that the building or portion of
the building cannot be occupied for its
intended purpose; or

b. A building or any portion of a building
that has not abruptly fallen down or
caved in, but is in imminent danger of
abruptly failing down or caving in or has
suffered a substantial impairment of
structural integrity.

A building that is standing or any portion of a
building that is standing is not considered to
be in a state of collapse even if it shows evi-
dence of cracking, buiging, sagging, bending,
leaningl settiing, shrinkage or expansion un-
less the building is in imminent danger of
abruptly falling down or caving in or has suf-
fered a substantial impairment of structural
integrity.

a. We will pay for direct physical loss or
damage to Covered Propertyl caused by
the collapse of a building or any part of a
building that is insured under this
Coverage Form or that contains Covered
Property insured under this Coverage
Form, if the building or any portion of the
building is in a state of collapse (as
defined in 1.a. and b. above) and the
state of collapse is caused by:

(1) A "specified cause of ioss" or break-
age of building giass;

(2) Weight of people or personal prop-
erty; or

(3) Weight of rain that collects on a roof;
and

b. When a building or any portion of a
building has abruptly fallen down or

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caved in and can no longer be occupied
for its intended purpose we will also pay
for any direct physical loss or damage to
Covered Property caused by:

(1) Decay that is hidden from view, un-
less the presence of such decay is
known to an insured prior to collapse;

(2) insect or vermin damage that is hid-
den from view, unless the presence
of such damage is known to an in-
sured prior to collapse; or

(3) Use of defective material or methods
in construction remodeling or reno-
vation if the building abruptly falls
down or caves in during the course of
the construction, remodeling or reno-
vation. Howeverl if the abrupt failing
down or caving in of the building oc-
curs after construction, remodeling or
renovation is complete and is caused
in part by a cause of loss listed in
D.2.a., D.2.b. (1) and D.2.b.(2)
above, we will pay for the loss or
damage even if use of defective
material or methods in construction,
remodeling, or renovation contrib-
utes to the abrupt failing down or
caving in.

3. With respect to the following property:

a. Outdoor radio or television antennas (in-
cluding microwave or satellite dishes)
and their lead-in wiringl masts or towers

Awnings gutters and downspouts;
Yard fixtures

Outdoor swimming pools
Fences;

asbes'»s

Piers, pilings wharves docks dikes or
dams

g. Beach or diving platforms or appurte-
nances;

h. Retaining walis; and

i. Waiks, roadways and other paved sur-
faces

if the collapse is caused by a cause of loss
listed in D. 2.a.(2), D.2.a.(3), and D.2.b.(1)
through D.2.b.(3) above, we will pay for loss
or damage to that property only if:

a. Such loss or damage is a direct result of
an abrupt failing down or caving in of a
covered building or any portion of a cov-

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ered building insured under this Cover-
age Form; and

b. The property listed in 3. a. through 3. i.
above is Covered Property under this
_Coverage Part.

lf personal property abruptly fails down or
caves in and such collapse is not the result of
collapse of a building, we will pay for loss or
damage to Covered Property caused by such
collapse of personal property only if:

a. The collapse was caused by a Cause of
Loss listed in D. 2. a. and D. 2. b. above;

b. The personal property which collapses is
inside a building; and

c. The property which collapses is not of a
kind listed in 3. above, regardless of
whether that kind of property is consid-
ered to be personal property or real prop-
erty.

The coverage stated in this Paragraph 4.
does not apply to personal property if marring
and/or scratching is the oniy'damage to that
personal property caused by the collapse

Collapse of personal property does not mean
cracking, bulging, sagging, bendingl ieaning,
settiing, shrinkage or expansion

This Additional Coverage - Collapse does not
increase the Limits of insurance provided in
this Coverage Part.

E. ADD|T|ONAL COVERAGE EXTENS|ONS

1.

Water Damage, Other Liquids, Powder or
Mo|ten Materiai Damage

if loss or damage caused by or resulting from
covered water or other liquid, powder or
molten material occurs we will also pay the
cost to tear out and replace any part of the
building or structure to repair damage to the
system or appliance from which the water or
other substance escapes

This Coverage Extension does not increase
the Limit of insurance

G|ass

in the event of loss or damage to covered
glass under this Coverage Part;

a. We will pay for expenses incurred to put
up temporary plates or board up open-
ings if repair or replacement of damaged
glass is delayed; and

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b. We will pay for expenses incurred to re-
move or replace obstructions when re-
pairing or replacing glass that is part of a
building This does not include removing
or replacing window displays

This Coverage Extension does not increase
the Limit of insurance

F. DEF|N|T|ONS

1.

"Pollutants" means any solid, liquid, gaseous
or thermal irritant or contaminantl including
smoke, vapor, soot, fumes acids alkalis,
chemicals waste and any unhealthful or haz-
ardous building materiai. (including but not
limited to asbestos and lead products or ma-
terials containing iead.) Waste includes mate-
rials to be recycled, reconditioned or re-
claimed.

"Specified Cause of Loss" means the follow-
ing: Fire; |ightning; explosion windstorm or
hail; smoke; aircraft or vehicles riot or civil
commotion; vandalism; leakage from fire ex-
tinguishing equipment; sinkhoie`coiiapse (as
defined below); voicanic action; failing ob-
jects (as limited below); weight of snow, ice
or sieet; water damage (as defined below)l ali
only as othenivise insured against in this Cov-
erage Part.

a. Sinkhoie collapse means the sudden
sinking or collapse of land into under-
ground empty spaces created by the ac-
tion of water on limestone or dolomite
This cause of loss does not include:

(1) The cost of filling sinkhoies; or

(2) Sinking or collapse of land into man-
made underground cavities

b. Fa|ling objects does not include loss or
damage to:

(1) Personal property in the open; or

(2) The "interior of a building or struc-
ture", or property inside a building or
structure, unless the roof or an out-
side wall of the building or structure
is first damaged by a failing object
Any portion of a building or structure
that is within the exterior-facing sur-
face material of a building or struc-

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ture shall constitute the interior of
that building or structure

c. Water damage means accidental dis-
charge or leakage of water or steam as
the direct result of the breaking apart or
cracking of any part of a system or appli-
ance (other than a sump system includ-
ing its related equipment and parts) that
is located on the described premises and
contains water or steam.

When the Causes of Loss - Earthquake en-
dorsement, Causes of Loss - Earthquake
Sprinkier Leakage endorsement, or Causes
of Loss - Broad Form Flood endorsement is
included in this policy, "specified cause of
ioss" also includes such cause of loss but
only to the extent such cause of loss is in-
sured against under this Coverage Part.

"Vacant" means

a. When this policy is issued to a tenant
and with respect to that tenant's interest
in Covered Property, building means the
unit or suite rented or leased to the ten-
ant Such building is vacant when it does
not contain enough business personal
property to conduct customary opera-
tions

b. When this policy is issued to the owner or
general lessee of a building building
means the entire building Such building
is vacant unless at least 31% of its total
square footage is:

(1) Rented to a lessee or sub-lessee and
used by the lessee or sub-lessee to
conduct its customary operations
and/or

(2) Used by the building owner to con-
duct customary operations

c. Buildings under construction or renova-
tion are not considered vacant

"lnterior of any building or structure" means
all portions of a building or structure that are
within the exterior facing surface material of
the building or structure

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COMMERC|AL PROPERTY
POLICY NUMBERZ I-660-3905B356-TCT-06 lSSUE DATE: 10-18-06

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

FUNGUS, ROT, BACTER|A AND OTHER
CAUSES 0F LOSS CHANGES

This endorsement modifies insurance provided under the following:
COMMERC|AL PROPERTY COVERAGE PART

A. SCHEDULE
Limited "Fungus", Wet Rot, Dry Rot and Bacteria Coverage;
Direct Damage - increased Limit of insurance $
Business income/Extra Expense - increased Number of Days

B. THE CAUSES OF LOSS - BAS|C FORM, 2. The following Additional Coverage is added:
CAUSES OF LCSS - BROAD FORM AND -- - - ii -.
Additional Coverage - Limited Fungus ,
cAUSES oF LOSS _ SpEClAL FORM are rel Wet Rot, Dry R°t and Bacteria

vised as foilows: _ _
a. The coverage described in b. and c. be-

1. The following exclusion is added to Section low On|y applies When the ~-fungus.-1 Wet

B‘1': or dry rotor bacteria is the result of:
"Fungus"’ Wet R°t’ Dry R°t and Bacteria (1) A Covered Cause of Loss other than
a. We will not pay for loss or damage or fire or lightning that occurs during
any increase in,the amount of loss or the polle period When the CAUSES
damage, caused directly or indirectly by OF LOSS - BAS|C FORM or
or resulting from the presence growth, CAUSES OF LOSS- BROAD FORM
proliferation spread or any activity of applieS;Ol'
"fungus"'Wet°rdry rotor bacteria (2) A "specified cause of ioss", other
But if "fungus", wet or dry rot or bacteria than fire or lightningl that occurs
results in a: during the policy period when the
(1) Covered Cause of Loss under the ESHEAES |QF_ LOSS _ SPEC|AL
cAusEs oF Loss - BAsic FoRivi app'es'
or CAUSES OF LOSS _ BROAD and only if ali reasonable means have
FORM;or been used to save and preserve the

(2) ..Specmed Cause Of IOSS.. under the property from further damage at the time

CAUSES OF LOSS _ SpEC|AL of and after that occurrence
FORM; b. Limited "Fungus", Wet Rot, Dry Rot and

We Wi" pay for the loss Or damage Bacteria Coverage-DirectDamage

caused by that "specified cause of ioss". (1) We will pay for direct physical loss or

- - . damage to Covered Property caused

b. This exclusion does not appiy. by ,.fungus,,’ Wet Or dry mt or bacte_
(1) When "fungus“, wet or dry rot or ria, inc|uding;

bacteria results from fire or lightning;

Or (a) The cost of removal of the "fun-

gus", wet or dry rotor bacteria;

(b) The cost to tear out and replace
any part of the building or other
property as needed to gain ac-

(2) To the extent that coverage is pro-
vided in the Additional Coverage -
Limited "Fungus", Wet Rot, Dry Rot
and Bacteria in Section B.3. of this Cess to the ..fungus.. Wet Or dry
endorsement with respect to loss or '

damage by a cause of loss other than mt Or bacte"a; and
fire or lightning (c) The cost of testing performed

after removai, repair, replace-

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COMMERC|AL PROPERTY

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(2)

(3)

(4)

ment or restoration of the dam-
aged property is compieted, pro-
vided there is a reason to believe
that "fungus", wet or dry rot or
bacteria are present

The coverage described in b.(1)
above is limited to $15,000 unless an
increased Limit of insurance is indi-
cated in the Schedule of this en-
dorsement for Limited "Fungus", Wet
Rot, Dry Rot and Bacteria Coverage
- Direct Damage. Regardiess of the
number of claims this limit is the
most we will pay for the total of ali
loss or damage arising out of ali oc-
currences of:

(a) Covered Causes of Loss (other
than Hre or iightning) under the
CAUSES OF LOSS - BAS|C
FORM or CAUSES OF LOSS -
BROAD FORM; or

(b) "Specified causes of ioss" (other
than fire or lightning) under the
CAUSES OF LOSS - SPEC|AL
FORM;

which take place in a 12 month pe-
riod (starting with the beginning of
the present annual policy period).
With respect to a particular occur-
rence of loss which results in "fun-
gus", wet or dry rot or bacteria, we
will not pay more than a total of this
annual limit even if the "fungus", wet
or dry rot or bacteria continues to be
present or active or recurs, in a later
policy period.

The coverage provided under this
Limited "Fungus", Wet Rot, Dry Rot
and Bacteria Coverage - Direct
Damage does not increase the appli-
cable Limit of insurance on any Cov-
ered Property. if a particular occur-
rence results in loss or damage by
"fungus", wet or dry rot or bacteria,
and other loss or damage, we will not
pay more for the total of ali loss or
damage than the applicable Limit of
insurance on the Covered Property.

if there is covered loss or damage to
Covered Property that is not caused
by "fungus", wet or dry rot or bacte-
ria, loss payment will not be limited
by the terms of this Limited "Fungus",

C.

Wet Rot, Dry Rot and Bacteria Cov-
erage - Direct Damage except to the
extent that "fungus"l wet or dry rot or
bacteria causes an increase in the
ioss. Any such increase in the loss
will be subject to the terms of this
Limited "Fungus", Wet Rot, Dry Rot
and Bacteria Coverage - Direct
Damage.

Limited "Fungus", Wet Rot, Dry Rot and
Bacteria Coverage - Business income
and Extra Expense

The following Limited "Fungus", Wet Rot,
Dry Rot and Bacteria Coverage provi-
sions for Business income and Extra Ex-
pense apply only if Business income
and/or Extra Expense coverage applies
to the described premises and only if the
"suspension" of "operations" satisfies ali
of the terms of the applicable Business
income and/or Extra Expense coverage:

(1) if the loss which results in the "fun-
gus", wet or dry rot or bacteria does
not in itself necessitate a "suspen-
sion" of "operations", but such "sus-
pension" of "operations" is necessary
due to loss or damage to property at
the described premises caused by
"fungus", wet or dry rot or bacteria,
then our payment for Business ln-
come and/or Extra Expense is limited
to the amount of loss and/or expense
sustained in a period of not more
than 30 days. The days need not be
consecuuve.

(2) if a covered "suspension" of "opera-
tions" is caused by loss or damage at
the described premises by other than
"fungus", wet or dry rot or bacteria,
but remediation of "fungus", wet or
dry rot or bacteria prolongs the "pe-
riod of restoration", we will pay for
loss and/or expense sustained during
the delayl regardless of when such a
delay occurs during the "period of
restoration", but such coverage is
limited to 30 days The days need not
be consecutive

When an increased Number of Days is
indicated in the Schedule of this en-
dorsement for Limited "Fungus",' Wet
Rot, Dry Rot and Bacteria Coverage -
Business income and Extra Expense the
"30 days" in paragraphs c.(1) and c.(2)

CP T3 68 01 03

 

 

 

 

above is deleted and replaced by the
number of days indicated in the Sched-
uie.

The coverage provided under this Lim-
ited "Fungus", Wet Rot, Dry Rot and
Bacteria Coverage - Business income
and Extra Expense is included in and
does not increase the applicable Busi-
ness income and/or Extra Expense Limit
of insurance

d. The terms of this Limited Coverage do
not increase or reduce the coverage pro-
vided in:

(1) The CAUSES OF LOSS - BAS|C
FORM under paragraph 9.a.(2) of
Covered Causes of Loss A.9., Sprin-
kier Leakage;

The CAUSES OF LOSS - BROAD
FORM under paragraph 9.a.(2) of
Covered Causes of Loss A.9., Sprin-
kier Leakagel or under Covered
Causes of Loss Water Damage for
the cost to tear out and replace parts
of the building or structure to repair
damage to the system or appliance
from which water or steam escapes
or under the Additional Coverage -
Coiiapse; or

The CAUSES OF LOSS - SPEC|AL
FORM under the Water Damage
Other Liquids, Powder or i\/iolten
Materiai Damage Additional Cover-
age Extension or under the Additional
Coverage - Collapse.

The following Definition is added:

(2)

(3)

"Fungus" means any type or form of fungus
including but not limited to mold or mildew,
and any mycotoxins, spores scents or by-
products produced or released by fungi.

CP T3 68 01 03

C.

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COMMERC|AL PROPERTY

ADD|T|ONAL CHANGE TO THE CAUSES OF
LOSS - BROAD FORM

The following is added under paragraph b. of the
Fa|ling Objects Covered Causes of Loss in Sec-
tion A.:

Any portion of a building or structure that is within
the exterior-facing surface material of a building
or structure shall constitute the interior of that
building or structure

ADD|T|ONAL CHANGES TO THE CAUSES OF
LOSS - SPEC|AL FORM

1. Under exclusion B.2.d.(2)l reference to fun-
gus is deleted.

ORD|NANCE OR LAW COVERAGE CHANGE
Unden

1. Ordinance or Law Coverage endorsement CP
04 05;

2. Ordinance or Law - increased "Period of
Restoration" endorsement CP 15 31; and

3. Any other Ordinance or Law coverage or Or-
dinance or Law - increased "Period of Resto-
ration" coverage provided under this Cover-
age Part;

the following exclusion is added:
This coverage does not apply to:

a. Loss caused by or resulting from the en-
forcement of any ordinance or law which
requires the demolition repair, replace-
ment, reconstruction remodeling or re-
mediation of property due to the pres-
ence growth, proliferation spread or any
activity of "fungus", wet or dry rot or
bacteria; or

b. Costs associated with the enforcement of
any ordinance or law which requires any
insured or others to test for, monitor,
clean up, remove, contain, treat, detoxify
or neutralize or in any way respond to, or
assess the effects of "fungus"l wet or dry
rot or bacteria.

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COMMERC|AL PROPERTY
POL|CY NUMBER: I-660-3905B356-TCT-06 GENERAL PURPOSE ENDORSEMENT

THE MORTGAGEE/LOSS PAYEE, THE NAME AND ADDRESS OF PERSON OR ORGANIZATION IS
AMENDED TO READ:

MIDLAND LOAN SERVICES, INC AS MASTER SERVICER FOR WELLS FARGO BANK, NA
TRUSTEE FOR THE REGISTERED HOLDERS OF BANC OF AMERICA COMMERCIAL MORTGAGE
INC, PASS THROUGH CERTIFICATE SERIES 2000-1

LOAN #003077104

C/O BANK OF AMERICA, NA SUB SERVICER BACM SERIES 2000-l

NCl-026-06-01

900 WEST TRADE STREET, SUITE 650

CHARLOTTE, NC 28255

cP Ts oo Page 1

 

 

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COMMERC|AL PROPERTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

TERROR|SM R|SK
lNSURANCE ACT OF 2002 DISCLOSURE

This endorsement applies to the insurance provided under the following:

COMMERC|AL PROPERTY COVERAGE PART

On November 26l 2002, the President of the United
States signed into law the Terrorism Risk insurance
Act of 2002 (the "Act"). The Act establishes a pro-
gram under which the Federai Government will
partially reimburse "/nsured Losses" caused by
certain "Acts of Terrorism" (each as denned in the
Act).

The Federai Government’s share of compensation for
lnsured Losses in each year up to and including
calendar year 2006 is 90% of the amount of lnsured
Losses in excess of each /nsurer's statutorily estab-
lished deductible for that year, subject to the "Pro-
gram Trigger" (as defined in the Act). For calendar
year 2007 the Federai Government's share is 85% of
the amount of lnsured Losses in excess of each
/nsurer's deductible subject to the Program Trigger.
in no event, however, will the Federai Government or

Designated Cities are:

any Insurer be required to pay any portion of the
amount of aggregate insured Losses occurring in any
one year that exceeds $100,000,000,000, provided
that such insurer has met its deductible

The charge for lnsured Losses under this Coverage
Part is included in the Coverage Part premium. The
charge that has been included for this Coverage Part
is indicated below, and does not include any charge
for the portion of losses covered by the Federai
Government under the Act:

~ 7% of your total Commerciai Property Coverage
Part premium if your primary location is in a Des-
ignated City (as listed below).

' 3% of your total Commerciai Property Coverage
Part premium if your primary location is n_ot in a
Designated City (as listed below).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Albuquerque, NM El Paso, TX Miami, FL San Diegol CA
Atianta, GA Fort Worth, TX ll/liiwaukee, Wl San Antonio, TX
Austin, TX Fresno, CA i\/linneapolis, MN San Francisco, CA
Baitimore, MD Honoluiul Hl Nashvilie-Davidson TN San Jose, CA
Boston, MA Houston, TX New Orieans LA Seattie, WA
Charlotte, NC indianapolis iN New York, NY St. Louis, MO
Chicago, iL Jacksonville, FL Oakland, CA Tucson, AZ
Cleveland, OH Kansas City, MO Okiahoma City, OK Tulsa, OK
Coiorado Springs, CO Las Vegas NV Omaha, NE Virginia Beach, VA
Columbus, OH Long Beach, CA Phiiadelphia, PA Washington DC
Daiias, TX Los Angeies, CA Phoenixl AZ Wichita, KS
Denver, CO Memphis, TN Portlandl OR

Detroit, Mi Mesal AZ Sacramentol CA

 

 

 

CP T3 81 01 06

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GENERAL LlAB|LlTY

 

 

 

 

 

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GENERAL LlAB|LlTY

 

 

 

 

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g TRAVELERS One Tower Square. Hartford, Connecticut 06183

 

coMMERciAL GENERAL LiABiLiTY PoLicY No.: 1_550_39053355_TCT_06
covERAGE PART DECLARATioNs issue oATE: 10-18-06
iNsuRiNG coMPANY:

THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT
DECLARAT|ONS PER|OD: From 11-25-06 to 11-25_07 12:01 A.M. Standard Time at your mailing
address shown in the Common Policy Declarations

The Commerciai General Liability Coverage Part consists of these Declarations and the Coverage Form shown
below,

1. COVERAGE AND LlM|TS OF iNSURANCE:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE FORM LlM|TS OF lNSURANCE
General Aggregate Limit $ 2 , 000 , 000
(Other than Products-Compieted Operations)
Products-Compieted Operations Aggregate Limit $ 2, 000 , 000
Personal & Advertising injury Limit $ 1, 000 , 000
Each Occurrence Limit $ l, 000, 000
Damage To Premises Rented To You Limit (any one premises) $ 100 , 000
Medicai Expense Limit (any one person) $ 5, 000

2. AUD|T PER|OD: ANNUAL
3. FORM OF BUS|NESS: coRpoRATIoN

4. NUMBERS OF FORMS, SCHEDULES AND ENDORSEMENTS FORM|NG PART OF TH|S COVERAGE
PART ARE ATTACHED AS A SEPARATE L|STlNG.

COMMERC|AL GENERAL LlAB|LlTY COVERAGE
lS SUBJECT TO A GENERAL AGGREGATE LlM|T

CG T0 01 11 03 Page1of1

PRODUCER; G A PEARSON & ASSOCIATES X0846 OFF|CEI ELMIR.A NY SRV CTR 700

 

 

 

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DECLARAT|ONS PREMiUM SCHEDULE POL|CY NUMBER: I-660-39OSB356-TCT-06

This Schedule applies to the Declarations for the period of 11-25-06 to 11-25-07

it shows all of your known rating classes as of the effective date Any exceptions will be so noted. This includes
ali locations you own, rent or occupy.

 

LOC/ CLASS PREMiUM
OPN BLDG DESCR|PT/ BASE/ ADVANCE
NO. NO. CODE NO. SUBL|NE EXPOSURE RATES PREMiUM

 

MINIMUM PREMIUMS

PREM/OPS ;207
LOB 250

1/ l CCPYING AND DUPLICATING SERVICES - RETAIL
PRODUCTS-COMPLETED OPERATIONS ARE SUBJECT TO THE GENERAL AGGREGATE
LIMIT.

001 11222 PREM/OPS S 2,260,125 .374 845

1/ 1 ADDITIONAL INTEREST-OTHER
002 49950 PREM/OPS FLAT CHG 105

HIRED AND NONOWNED AUTO EXCESS LIABILITY
003 39097 PREM/OPS 30

COVERAGE PART TOTAL 980

*This class is subject to the prem/ops transition program.
ij if an "X" is entered in this box, these Declarations are completed on the Premium Schedule Extension CG TO 12.

CG T0 07 09 87 PAGE l (END)

 

 

 

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KEY TO DECLARAT|ONS PREMiUM SCHEDULE

ABBREV|AT|ONS:

CLASS DESCR|PT - means CLASS DESCR|PT|ON
LOC/BLDG NO. - means LOCAT|ON/BU|LD|NG NUMBER
OPN NO. - means OPERAT|ON NUMBER

PREM/OPS - means PREMiSES/OPERAT|ONS

PROD/C-OPS - means PRODUCTS/COMPLETED OPERAT|ONS

PREMiUM BASE:

Key Letter Premium Base How Rates App|y
a Area per 1,000 square feet
c Total Cost per $1,000 of total cost
m Admissions per 1,000 admissions
o Total Operating Expense per $1,000 of total operating expenditures
p Payroll per $1,000 of payroll
s Gross Saies per $1,000 of gross sales
t (see note* below) (see note* below)
u Units per unit

*'

Premium base t applies for a number of rarely used premium bases
The specific base and how rates apply are shown with the Class Descrlption
on the DECLARAT|ONS-PREMiUM SCHEDULE.

CG T0 08 11 03 Copyright, The Travelers indemnity Company, 2003 ' Page 1 of 1

 

 

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SECT|ON |_COVERAGES

Coverage A -

 

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COMMERC|AL GENERAL LlAB|LlTY

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CG 00 01 10 01

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COMMERC|AL GENERAL LlAB|LlTY

COMMERC|AL GENERAL LlAB|LlTY COVERAGE FORM

Various provisions in this policy restrict coverage
Read the entire policy carefully to determine rights
duties and what is and is not covered.

Throughout this policy the words "you" and "your"
refer to the Named insured shown in the Declarations
and any other person or organization qualifying as a
Named insured under this policy. The words "we",
"us" and "our" refer to the company providing this
insurance

The word "insured" means any person or organization
qualifying as such under Section il - Who is An
insured.

Other words and phrases that appear in quotation
marks have special meaning Refer to Section V -
DeHnitions.

SECT|ON i - COVERAGES

COVERAGE A BOD|LY iNJURY AND PROPERTY
DAMAGE LlAB|LlTY

1. insuring Agreement

a. We will pay those sums that the insured be-
comes legally obligated to pay as damages
because of "bodily injury" or "property dam-
age" to which this insurance applies We will
have the right and duty to defend the insured
against any "suit" seeking those damages
However, we will have no duty to defend the
insured against any "suit" seeking damages
for "bodily injury" or "property damage" to
which this insurance does not app|y. We may,
at our discretion investigate any "occurrence"
and settle any claim or "suit" that may result
But:

(1) The amount we will pay for damages is
limited as described in Section |ii - Limits
Of insurance; and

(2) Our right and duty to defend ends when
we have used up the applicable limit of
insurance in the payment of judgments or
settlements under Coverages A or B or
medical expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Suppiementary
Payments - Coverages A and B.

b. This insurance applies to "bodily injury" and
"property damage" only if:

CG 00 0110 01

C.

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(1) The "bodily injury" or "property damage"
is caused by an "occurrence" that takes
place in the "coverage territory";

(2) The "bodily injury" or "property damage"
occurs during the policy period; and

(3) Prior to the policy period, no insured
listed under Paragraph 1. of Section ii -
Who is An insured and no "employee"
authorized by you to give or receive no-
tice of an "occurrence" or ciaim, knew
that the "bodily injury" or "property dam-
age" had occurred, in whole or in part if
such a listed insured or authorized "em-
ployee" knew, prior to the policy periodl
that the "bodily injury" or "property dam-
age" occurred, then any continuation
change or resumption of such "bodily in-
jury" or "property damage" during or after
the policy period will be deemed to have
been known prior to the policy period.

"Bodiiy injury'l or "property damage" which
occurs during the policy period and was not,
prior to the policy period, known to have oc-
curred by any insured listed under Paragraph
1. of Section ii - Who is An insured or any
"employee" authorized by you to give or re-
ceive notice of an "occurrence" or claim, in-
cludes any continuation change or resump-
tion of that "bodily injury" or "property
damage" after the end of the policy period.

"Bodiiy injury" or "property damage" will be
deemed to have been known to have oc-
curred at the earliest time when any insured
listed under Paragraph 1. of Section || - Who
is An insured or any "employee" authorized
by you to give or receive notice of an "occur-
rence" or ciaim:

(1) Reports ail, or any part, of the "bodily in-
jury" or "property damage" to us or any
other insurer;

(2) Receives a written or verbal demand or

claim for damages because of the "bodily
injury" or "property damage"; or

(3) Becomes aware by any other means that
"bodily injury” or "property damage" has
occurred or has begun to occur.

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COMMERC|AL GENERAL LlAB|LlTY

e. Damages because of "bodily injury" include (3) Any statute ordinance or regulation relat-
damages claimed by any person or organiza- ing to the sale, gift, distribution or use of
tion for care loss of services or death result- alcoholic beverages

lng atanyllme from the "bodily lnlul'y"' This exclusion applies only if you are in the

2. Exclusions business of manufacturing distributing seil-
ing, serving or furnishing alcoholic beverages

d. Workers' Compensation And Simi|ar Laws

This insurance does not apply to:

a. Expected Or intended injury
Any obligation of the insured under a workers'
compensation disability benents or unem-
ployment compensation law or any similar

"Bodiiy injury" or "property damage" expected
or intended from the standpoint of the in-
sured. This exclusion does not apply to "bod-

ily injuryll resulting from the use of reasonable law'
force to protect persons or property. e. Emp|oyer's Liability
b. Contractuai Liability "Bodiiy injury” to:
"Bodiiy injury” or "property damage" for which (1) An "employee" of the insured arising out
the insured is obligated to pay damages by of and in the course of:
reason of the assumption of liability in a con- (a) Emp|aymam bytha insured; ar

tract or agreement This exclusion does not

apply to liability for damages (b) Performing duties related to the con-

_ duct of the insured's business or
(1) That the insured would have in the ab-

Sance af the Contract ar agreement ar (2) The spouse childl parentl brother or sis-

_ ter of that "employee" as a consequence
(2) Assumed in a contract or agreement that af paragraph (1) abava.

is an "insured contract", provided the

"bodily injury" or "property damage" oc- This exclusion applles:

curs subsequent to the execution of the (1) Whether the insured may be liable as an
contract or agreement Solely for the pur- employer or in any other capacity; and
poses of liability assumed in an "insured (2) TO any Ob|igatian ta Share damages With
contract", reasonable attorney fees and ar repay aamaaaa else Who must pay
necessary litigation expenses incurred by damages because ofthe injury_

or for a party other than an insured are
deemed to be damages because of "bod-
ily injury" or "property damage", provided:

This exclusion does not apply to liability as-
sumed by the insured under an "insured con-

_ ,_ tract".
(a) Liability to such party for, or for the

cost of, that party's defense has also
been assumed in the same "insured (1) "Bodiiy injury" or "property damage" aris-
contract"; and ing out of the actual, alleged or threat-
ened discharge, dispersal, seepage, mi-
gration release or escape of "pollutants":

t PoHuHon

(b) Such attorney fees and litigation ex-
penses are for defense of that party

against a civil or alternative dispute (a) At or from any premises site or loca-
resoiution proceeding in which dam- tion which is or was at any time
ages to which this insurance applies owned or occupied by, or rented or
are alleged. loaned to, any insured. However, this

c. Liquor Liability Subparagraph does not apply to:

(i) "Bodiiy injuryll if sustained within
a building and caused by smoke,

. . . . . . fumes vapor or soot from equip-
(1) Causing or contributing to the intoxication mem used to heat that building;

of any person;

"Bodiiy injury” or "property damage" for which
any insured may be held liable by reason of:

(ii) "Bodiiy injury'l or "property dam-

 

(2) The furnishing of alcoholic beverages to a age" for Which you may be held
person un_der the legal dr'nl<'"g age °r liable if you are a contractor and l
under the influence of alcohol, or the Ownar or lessee af Such j

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(b)

(C)

(d)

CG 00 0110 01

premises site or location has
been added to your policy as an
additional insured with respect to
your ongoing operations per-
formed for that additional insured
at that premises site or location
and such premises site or loca-
tion is not and never was owned
or occupied by, or rented or
loaned to, any insured, other than
that additional insured; or

(iii) "Bodiiy injury" or "property dam-
age" arising out of heat smoke or
fumes from a "hostile fire";

At or from any premises site or loca-
tion which is or was at any time used
by or for any insured or others for the
handling storage disposal, process-
ing or treatment of waste;

Which are or were at any time trans-
ported, handled, stored, treated, dis-
posed of, or processed as waste by
or for:

(i) Any insured; or

(ii) Any person or organization for
whom you may be legally re-
sponsible or

At or from any premises site or loca-

tion on which any insured or any con-

tractors or subcontractors working di-

rectly or indirectly on any insured's

behalf are performing operations if
the "po||utants" are brought on or to
the premises site or location in con-
nection with such operations by such
insured, contractor or subcontractor.

However, this subparagraph does not

apply to:

(i) "Bodiiy injury” or "property dam-
age" arising out of the escape of
fuels, lubricants or other operat-
ing fluids which are needed to
perform the normal electrical. hy-
draulic or mechanical functions
necessary for the operation of
"mobiie equipment" or its parts if
such fuels lubricants or other
operating fluids escape from a
vehicle part designed to holdl
store or receive them. This ex-
ception does not apply if the

(6)

COMMERC|AL GENERAL LlAB|LlTY

"bodily injury'l or "property dam-
age" arises out of the intentional
discharge dispersal or release of
the fuels lubricants or other op-
erating fluids or if such fuels iu-
bricants or other operating fluids
are brought on or to the prem-
ises site or location with the in-
tent that they be discharged, dis-
persed or released as part of the
operations being performed by
such insured, contractor or sub-
contractor;

(ii) "Bodiiy injury” or "property dam-
age" sustained within a building
and caused by the release of
gases fumes or vapors from ma-
terials brought into that building in
connection with operations being
performed by you or on your be-
half by a contractor or subcon-
tractor; or

(iii) "Bodiiy injury” or "property dam-
age" arising out of heat, smoke or
fumes from a "hostile fire".

At or from any premises site or loca-
tion on which any insured or any con-
tractors or subcontractors working di-
rectly or indirectly on any insured's
behalf are performing operations if
the operations are to test for, monitor,
clean up, remove, contain, treat, de-
toxify or neutralize or in any way re-
spond to, or assess the effects of,
"po||utants".

(2) Any loss cost or expense arising out of
any:

(a)

(b)

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Requestl demand, order or statutory
or regulatory requirement that any in-
sured or others test for, monitor,
clean up, remove, contain, treat, de-
toxify or neutralize or in any way re-
spond to, or assess the effects of,
"pollutants"; or

Claim or "suit" by or on behalf of a
governmental authority for damages
because of testing for, monitoring
cleaning up, removing containing
treating detoxifying or neutralizing, or
in any way responding to, or assess-
ing the effects of, "po||utants".

Page 3 of 16

 

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COMMERC|AL GENERAL LlAB|LlTY

However, this paragraph does not apply
to liability for damages because of "prop-
erty damage" that the insured would have
in the absence of such request demand,
order or statutory or regulatory require-
ment or such claim or "suit" by or on be-
half of a governmental authority.

g. Aircraft Auto Or Watercraft

"Bodiiy injury" or "property damage" arising
out of the ownership, maintenance, use or en-
trustment to others of any aircraft "auto" or
watercraft owned or operated by or rented or
loaned to any insured. Use includes operation
and "ioading or unloading".

This exclusion applies even if the claims
against any insured allege negligence or
other wrongdoing in the supervision hiring
employment training or monitoring of others
by that insuredl if the "occurrence" which
caused the "bodily injury” or "property dam-
age" involved the ownership, maintenancel
use or entrustment to others of any aircraft
"auto" or watercraft that is owned or operated
by or rented or loaned to any insured.

This exclusion does not apply to:

(1) A watercraft while ashore on premises
you own or rent;

(2) A watercraft you do not own that is
(a) Less than 26 feet iong; and

(b) Not being used to carry persons or
property for a charge;

(3) Parking an "auto" on or on the ways next
to, premises you own or rent provided
the "auto" is not owned by or rented or
loaned to you or the insured;

(4) Liability assumed under any "insured con-
tract" for the ownership, maintenance or
use of aircraft or watercraft; or

(5) "Bodiiy injury" or "property damage" aris-
ing out of the operation of any of the
equipment listed in Paragraph f.(2) or
f.(3) of the definition of "mobiie equip-
ment".

Mobiie Equipment

"Bodiiy injury" or "property damage" arising

out of:

(1) The transportation of "mobiie equipment"
by an "auto" owned or operated by or
rented or loaned to any insured; or

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(2) The use of "mobiie equipment" in or
while in practice for, or while being pre-
pared for, any prearranged racing speed,
demolition or stunting activity.

War

"Bodiiy injury" or "property damage" due to
war, whether or not declared, or any act or
condition incident to war. War includes civil
war, insurrection rebellion or revolution This
exclusion applies only to liability assumed
under a contract or agreement

Damage To Property
"Property damage" to:

(1) Property you own rent, or occupy, includ-
ing any costs or expenses incurred by
youl or any other person organization or
entity, for repair, replacement enhance-
ment restoration or maintenance of such
property for any reason including preven-
tion of injury to a person or damage to
another's property;

(2) Premises you seii, give away or abandon
if the "property damage" arises out of any
part of those premises

(3) Property loaned to you;

(4) Personal property in the care custody or
control of the insured;

(5) That particular part of real property on
which you or any contractors or subcon-
tractors working directly or indirectly on
your behalf are performing operations if
the "property damage" arises out of those
operations or

(6) That particular part of any property that
must be restored, repaired or replaced
because “your work" was incorrectly per-
formed on it.

Paragraphs (1), (3) and (4) of this exclusion
do not apply to "property damage" (other than
damage by fire) to premises including the
contents of such premises rented to you for a
period of 7 or fewer consecutive days A
separate limit of insurance applies to Damage
To Premises Rented To You as described in
Section iii - Limits Of insurance

Paragraph (2) of this exclusion does not apply
if the premises are “your work" and were
never occupied, rented or held for rental by
you,

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Paragraphs (3)l (4), (5) and (6) of this exclu-
sion do not apply to liability assumed under a
sidetrack agreement

Paragraph (6) of this exclusion does not apply
to "property damage" included in the "prod-
ucts-compieted operations hazard".

Damage To Your Product

"Property damage" to "your product" arising
out of it or any part of it. '

Damage To Your Work

"Property damage" to "your work" arising out
of it or any part of it and included in the
"products-completed operations hazar ".

This exclusion does not apply if the damaged
work or the work out of which the damage
arises was performed on your behalf by a
subcontractor.

. Damage To impaired Property Or Property
Not Physicaiiy injured

"Property damage" to "impaired properly" or
property that has not been physically injured,
arising out of:

(1) A defect dehciency, inadequacy or dan-
gerous condition in "your product" or
"your work"; or

(2) A delay or failure by you or anyone acting
on your behalf to perform a contract or
agreement in accordance with its terms

This exclusion does not apply to the loss of
use of other property arising out of sudden
and accidental physical injury to "your prod-
uct" or l'your work" after it has been put to its
intended use

Recal| Of Products, Work Or impaired
Property

Damages claimed for any ioss, cost or ex-
pense incurred by you or others for the loss of
use withdrawai, recail, inspection, repair, re-
placement adjustment removal or disposal
of:

(1) "Your product";
(2) "Yourwork"; or
(3) "impaired property";

if such product work, or property is withdrawn
or recalled from the market or from use by
any person or organization because of a
known or suspected defect deficiency, in-
adequacy or dangerous condition in it.

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o. Personal And Advertising injury

"Bodiiy injury" arising out of "personal and
advertising injury".

Exclusions c. through n. do not apply to damage
by tire to premises while rented to you or tempo-
rarily occupied by you with permission of the
owner. A separate limit of insurance applies to
this coverage as described in Section ill - Limits
Of insurance

COVERAGE B PERSONAL AND ADVERT|S|NG
iNJURY LlAB|LlTY

1. insuring Agreement

We will pay those sums that the insured be-
comes legally obligated to pay as damages
because of "personal and advertising injury"
to which this insurance applies We will have
the right and duty to defend the insured
against any "suit" seeking those damages
However, we will have no duty to defend the
insured against any "suit" seeking damages
for "personal and advertising injury” to which
this insurance does not apply. We may, at our
discretion investigate any offense and settle
any claim or "suit" that may result But:

(1) The amount we will pay for damages is
limited as described in Section ill - Limits
Of insurance; and

(2) Our right and duty to defend end when
we have used up the applicable limit of
insurance in the payment of judgments or
settlements under Coverages A or B or
medical expenses under Coverage C.

No other obligation or liability to pay sums or
perform acts or services is covered unless
explicitly provided for under Suppiementary
Payments - Coverages A and B.

This insurance applies to "personal and ad-
vertising injuryll caused by an offense arising
out of your business but only if the offense
was committed in the "coverage territory” dur-
ing the policy period,

2. Exclusions

This insurance does not apply to:

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Knowing Vioiation Of Rights Of Another

"Personal and advertising injury” caused by
or at the direction of the insured with the
knowledge that the act would violate the
rights of another and would inflict "personal
and advertising injury".

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b. Materiai Pub|ished With Knowiedge Of
Faisity

"Personal and advertising injury" arising out
of oral or written publication of materiall if
done by or at the direction of the insured with
knowledge of its faisity.

c. Materiai Pub|ished Prior To Policy Period

"Personal and advertising injury" arising out
of oral or written publication of material whose
first publication took place before the begin-
ning of the policy period.

d. Crimina| Acts

"Personal and advertising injury" arising out
of a criminal act committed by or at the direc-
tion of the insured.

e. Contractuai Liability

"Personal and advertising injury" for which the
insured has assumed liability in a contract or
agreement This exclusion does not apply to
liability for damages that the insured would
have in the absence of the contract or
agreement

f. Breach Of Contract

"Personal and advertising injury" arising out
of a breach of contract except an implied
contract to use another's advertising idea in
your "advertisement".

g. Quality Or Performance Of Goods - Faii-
ure To Conform To Statements

"Personal and advertising injury" arising out
of the failure of goods products or services to
conform with any statement of quality or per-
formance made in your "advertisement".

h. Wrong Description Of Prices

"Personal and advertising injury" arising out
of the wrong description of the price of goods
products or services stated in your "adver-
tisement".

i. infringement Of Copyright, Patent, Trade-
mark Or Trade Secret

"Personal and advertising injury" arising out
of the infringement of copyright patent
trademark, trade secret or other intellectual
property rights

However, this exclusion does not apply to in-
fringement in your "advertisement". of copy-
right, trade dress or slogan

insureds in Media And internet Type Busi-
nesses

"Personal and advertising injury" committed
by an insured whose business is

(1) Advertising broadcasting, publishing or
telecasting;

(2) Designing or determining content of web-
sites for others or

(3) An internet search, access content or
service provider.

However, this exclusion does not apply to
Paragraphs 14.a., b. and c. of "personal and
advertising injury" under the Definitions Sec-
tion,

For the purposes of this exclusion the placing
of frames borders or iinks, or advertising for
you or others anywhere on the internet is not
by itself, considered the business of advertis-
ing broadcasting, publishing or telecasting

Electronic Chatrooms Or Bulietin Boards

"Personal and advertising injury" arising out
of an electronic chatroom or bulletin board the
insured hosts, owns, or over which the in-
sured exercises control.

Unauthorized Use Of Another's Name 0r
Product

"Personal and advertising injury" arising out
of the unauthorized use of another's name or
product in your e-mail address domain name
or metatag or any other similar tactics to mis-
lead another's potential customers

. Pol|ution

"Personal and advertising injury" arising out
of the actual, alleged or threatened discharge,
dispersal, seepage, migration release or es-
cape of "po||utants" at any time

Poi|ution-Reiated
Any loss cost or expense arising out of any:

(1) Request, demand or order that any in-
sured or others test for, monitor, clean up,
remove, contain, treat detoxify or neutral-
ize or in any way respond to, or assess
the effects of, "pollutants"; or

(2) Claim or suit by or on behalf of a govern-
mental authority for damages because of
testing forl monitoring cleaning up, re-
moving containing treating detoxifying
or neutralizing, or in any way responding

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to, or assessing the effects of, "pollut-
ants".

COVERAGE C MED|CAL PAYMENTS
1. insuring Agreement

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We will pay medical expenses as described
below for "bodily injury" caused by an acci-
dent

(1) On premises you own or rent;

(2) On ways next to premises you own or
rent; or

(3) Because of your operations
provided that:

(1) The accident takes place in the "coverage
territory'l and during the policy period;

(2) The expenses are incurred and reported
to us within one year of the date of the
accident; and

(3) The injured person submits to examina-
tion at our expense by physicians of our
choice as often as we reasonably require

We will make these payments regardless of
fault These payments will not exceed the ap-
plicable limit of insurance We will pay rea-
sonable expenses for:

(1) First aid administered at the time of an
accident;

(2) Necessary medicai, surgical, x-ray and
dental services including prosthetic de-
vices and

(3) Necessary ambulance hospitai, profes-
sional nursing and funeral services

Exclusions
We will not pay expenses for "bodily injury":
a. Any insured

To any insured, except "volunteer work-
ers".

b. Hired Person

To a person hired to do work for or on
behalf of any insured or a tenant of any
insured.

c. injury On Norma||y Occupied Premises

To a person injured on that part of prem-
ises you own or rent that the person nor-
mally occupies

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d. Workers Compensation And Simi|ar
Laws

To a person whether or not an "em-

ployee" of any insured, if benefits for the

"bodily injury" are payable or must be

provided under a workers' compensation

or disability benents law or a similar law.
e. Athietics Activities

To a person injured while taking part in
athletics

f. Products-Compieted Operations Haz-
ard

included within the "products-compieted
operations hazard".

g. Coverage A Exclusions
Excluded under Coverage A.
h. War

Due to war, whether or not declared, or
any act or condition incident to war. War
includes civil war, insurrection rebellion
or revolution

SUPPLEMENTARY PAYMENTS - COVERAGES A

AND B
1.

We will pay, with respect to any claim we investi-
gate or settle or any "suit" against an insured we
defend:

a.
b.

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All expenses we incur,

Up to $250 for cost of bail bonds required be-
cause of accidents or traffic law violations
arising out of the use of any vehicle to which
the Bodily injury Liability Coverage applies
We do not have to furnish these bonds

The cost of bonds to release attachments but
only for bond amounts within the applicable
limit of insurance We do not have to furnish
these bonds

All reasonable expenses incurred by the in-
sured at our request to assist us in the inves-
tigation or defense of the claim or "suit", in-
cluding actual loss of earnings up to $250 a
day because of time off from work.

All costs taxed against the insured in the
"suit".

Prejudgment interest awarded against the in-
sured on that part of the judgment we pay. if

we make an offer to pay the applicable limit of
insurance, we will not pay any prejudgment

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interest based on that period of time after the
offer.

g. All interest on the full amount of any judgment
that accrues after entry of the judgment and
before we have paid, offered to pay, or de-
posited in court the part of the judgment that
is within the applicable limit of insurance

These payments will not reduce the limits of in-
surance.

if we defend an insured against a "suit" and an
indemnitee of the insured is also named as a
party to the "suit", we will defend that indemnitee
if all of the following conditions are metz

a. The "suit" against the indemnitee seeks dam-
ages for which the insured has assumed the
liability of the indemnitee in a contract or
agreement that is an "insured contract";

b. This insurance applies to such liability as-
sumed by the insured;

c. The obligation to defend, or the cost of the
defense of, that indemnitee has also been
assumed by the insured in the same "insured
contract";

d. The allegations in the "suit" and the inforrna-
tion we know about the "occurrence" are such
that no conflict appears to exist between the
interests of the insured and the interests of
the indemnitee;

e. The indemnitee and the insured ask us to
conduct and control the defense of that in-
demnitee against such "suit" and agree that
we can assign the same counsel to defend
the insured and the indemnitee; and

f. The indemnitee;
(1) Agrees in writing to:

(a) Cooperate with us in the investiga-
tion settlement or defense of the
"suit";

(b) immediately send us copies of any
demands notices summonses or le-
gal papers received in connection
with the "suit";

(c) Notify any other insurer whose cov-
erage is available to the indemnitee;
and

(d) Cooperate with us with respect to co-
ordinating other applicable insurance
available to the indemnitee; and

(2) Provides us with written authorization to:

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(a) Obtain records and other information
related to the "suit"; and

(b) Conduct and control the defense of
the indemnitee in such "suit".

So long as the above conditions are met attor-
neys' fees incurred by us in the defense of that
indemnitee necessary litigation expenses in-
curred by us and necessary litigation expenses
incurred by the indemnitee at our request will be
paid as Suppiementary Payments Notwithstand-
ing the provisions of Paragraph 2.b.(2) of Section
l - Coverage A - Bodily injury And Property
Damage Liability, such payments will not be
deemed to be damages for "bodily injury" and
"property damage" and will not reduce the limits
of insurance

Our obligation to defend an insured's indemnitee
and to pay for attorneys' fees and necessary liti-
gation expenses as Suppiementary Payments
ends when:

a. We have used up the applicable limit of in-
surance in the payment of judgments or set-
tlements or

b. The conditions set forth above, or the terms
of the agreement described in Paragraph f.
above, are no longer met

SECT|ON ll - WHO lS AN iNSURED

if you are designated in the Declarations as

a. An individual, you and your spouse are insur-
eds but only with respect to the conduct of a
business of which you are the sole owner.

b. A partnership or joint venture you are an in-
sured. Your members your partners and
their spouses are also insureds but only with
respect to the conduct of your business

c. A limited liability company, you are an in-
sured, Your members are also insureds but
only with respect to the conduct of your busi-
ness Your managers are insureds but only
with respect to their duties as your managers

d. An organization other than a partnership, joint
venture or limited liability company, you are
an insured, Your "executive ofticers" and di-
rectors are insureds but only with respect to
their duties as your officers or directors Your
stockholders are also insureds but only with
respect to their liability as stockholders

e. A trust you are an insured, Your trustees are
also insureds but only with respect to their
duties as trustees

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2. Each of the following is also an insured;

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Your "volunteer workers" only while perform-
ing duties related to the conduct of your busi-
ness or your "employees", other than either
your "executive officers" (if you are an organi-
zation other than a partnershipl joint venture
or limited liability company) or your managers
(if you are a limited liability company), but
only for acts within the scope of their em-
ployment by you or while performing duties
related to the conduct of your business How-
ever, none of these "employees" or "volunteer
workers" are insureds for:

(1) "Bodiiy injury" or "personal and advertis-
ing injury":

(a) To you, to your partners or members
(if you are a partnership or joint ven-
ture), to your members (if you are a
limited liability company), to a co-
"employee" while in the course of his
or her employment or performing du-
ties related to the conduct of your
business or to your other "volunteer
workers" while performing duties re-
lated to the conduct of your business

(b) To the spouse child, parent brother
or sister of that co-"empioyee" or
"volunteer worker" as a consequence
of Paragraph (1)(a) above;

(c) For which there is any obligation to
share damages with or repay some-
one else who must pay damages be-
cause of the injury described in Para-
graphs (1)(a) or (b) above; or

(d) Arising out of his or her providing or
failing to provide professional health
care services

(2) "Property damage" to property:
(a) Owned, occupied or used by,

(b) Rented to, in the care custody or
control of, or over which physical con-
trol is being exercised for any pur-
pose by

youl any of your "employees , volunteer
workers", any partner or member (if you
are a partnership or joint venture), or any
member (if you are a limited liability com-
pany)-

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b. Any person (other than your "employee" or
"volunteer worker"), or any organization while
acting as your real estate manager.

c. Any person or organization having proper
temporary custody of your property if you die
but only:

(1) With respect to liability arising out of the
maintenance or use of that property; and

(2) Until your legal representative has been
appointed

d. Your legal representative if you die but only
with respect to duties as such. That represen-
tative will have all your rights and duties un-
der this Coverage Part.

With respect to "mobiie equipment" registered in
your name under any motor vehicle registration
law, any person is an insured while driving such
equipment along a public highway with your per-
mission Any other person or organization re-
sponsible for the conduct of such person is also
an insured, but only with respect to liability arising
out of the operation of the equipment, and only if
no other insurance of any kind is available to that
person or organization for this iiability. Howeverl
no person or organization is an insured with re-
spect to:

a. "Bodiiy injury" to a co-"employee" of the per-
son driving the equipment; or

b. "Property damage" to property owned by,
rented to, in the charge of or occupied by you
or the employer of any person who is an in-
sured under this provision

Any organization you newly acquire or form, other
than a partnership, joint venture or limited liability
company, and over which you maintain ownership
or majority interest will qualify as a Named ln-
sured if there is no other similar insurance avail-
able to that organization However:

a. Coverage under this provision is afforded only
until the 90th day after you acquire or form
the organization or the end of the policy pe-
riod, whichever is earlier;

b. Coverage A does not apply to "bodily injury"
or "property damage" that occurred before
you acquired or formed the organization and

c. Coverage B does not apply to "personal and
advertising injury" arising out of an offense
committed before you acquired or formed the
organization

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No person or organization is an insured with respect
to the conduct of any current or past partnership, joint
venture or limited liability company that is not shown
as a Named insured in the Declarations

SECTION ||l - LlM|TS OF lNSURANCE

1. The Limits of insurance shown in the Declarations
and the rules below fix the most we will pay re-
gardless of the number of:

a. insureds
b. Ciaims made or "suits" brought; or

c. Persons or organizations making claims or
bringing "suits".

2. The General Aggregate Limit is the most we will
pay for the sum of:

a. Medical expenses under Coverage C;

b. Damages under Coverage Al except dam-
ages because of "bodily injury" or "property
damage" included in the "products-comp|eted
operations hazard"; and

c. Damages under Coverage B.

3. The Products-Completed Operations Aggregate
Limit is the most we will pay under Coverage A
for damages because of "bodily injury" and "prop-
erty damage" included in the "products-completed
operations hazard".

4. Subject to 2. above, the Personal and Advertising
injury Limit is the most we will pay under Cover-
age B for the sum of ali damages because of ali
"personal and advertising injury" sustained by any
one person or organization

5. Subject to 2. or 3. above, whichever applies the
Each Occurrence Limit is the most we will pay for
the sum of:

a. Damages under Coverage A; and
b. Medical expenses under Coverage C

because of ali "bodily injury" and "property dam-
age" arising out of any one "occurrence".

6. Subject to 5. above, the Damage To Premises
Rented To You Limit is the most we will pay un-
der Coverage A for damages because of "prop-
erty damage" to any one premises while rented
to you, or in the case of damage by fire, while
rented to you or temporarily occupied by you with
permission of the owner.

7. Subject to 5. above, the Medical Expense Limit is
the most we will pay under Coverage C for all
medical expenses because of "bodily injury" sus-
tained by any one person

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The Limits of insurance of this Coverage Part apply
separately to each consecutive annual period and to
any remaining period of less than 12 months starting
with the beginning of the policy period shown in the
Declarations unless the policy period is extended
after issuance for an additional period of less than 12
months in that case the additional period will be
deemed part of the last preceding period for purposes
of determining the Limits of insurance

SECT|ON lV - COMMERC|AL GENERAL LlAB|LlTY
COND|T|ONS `

1. Bankruptcy

Bankruptcy or insolvency of the insured or of the
lnsured’s estate will not relieve us of our obliga-
tions under this Coverage Part.

2. Duties in The Event Of Occurrence Offense,
Claim Or Suit

a. You must see to it that we are notiHed as
soon as practicable of an "occurrence" or an
offense which may result in a claim. To the
extent possible, notice should include:

(1) How, when and where the "occurrence"
or offense took piace;

(2) The names and addresses of any injured
persons and witnesses and

(3) The nature and location of any injury or
damage arising out of the "occurrence" or
offense

b. lf a claim is made or "suit" is brought against
any insured, you must:

(1) immediately record the specifics of the
claim or "suit" and the date received; and

(2) Notify us as soon as practicable

You must see to it that we receive written no-
tice of the claim or "suit" as soon as practica-
b|e.

c. You and any other involved insured must:

(1) immediately send us copies of any de-
mands notices summonses or legal pa-
pers received in connection with the claim
or "suit";

(2) Authorize us to obtain records and other
information;

(3) Cooperate with us in the investigation or
settlement of the claim or defense against
the "suit"; and

(4) Assist us upon our request in the en-
forcement of any right against any person

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or organization which may be liable to the
insured because of injury or damage to
which this insurance may also app|y.

d. No insured wiii, except at that insured's own
cost voluntarily make a payment assume
any obligation or incur any expense other
than for first aid, without our consent

3. Legai Action Against Us

No person or organization has a right under this
Coverage Part;

a. To join us as a party or othen/vise bring us
into a "suit" asking for damages from an in-
sured; or

b. To sue us on this Coverage Part unless all of
its terms have been fully complied with.

A person or organization may sue us to recover
on an agreed settlement or on a final judgment
against an insured; but we will not be liable for
damages that are not payable under the terms of
this Coverage Part or that are in excess of the
applicable limit of insurance An agreed settle-
ment means a settlement and release of liability
signed by us, the insured and the claimant or the
ciaimant's legal representative

Other insurance

if other valid and collectible insurance is available
to the insured for a loss we cover under Cover-
ages A or B of this Coverage Part, our obligations
are limited as follows

a. Primary insurance

This insurance is primary except when b. be-
low applies lf this insurance is primary, our
obligations are not affected unless any of the
other insurance is also primary. Then we will
share with all that other insurance by the
method described in c. beiow.

b. Excess insurance
This insurance is excess over:

(1) Any of the other insurance, whether pri-
mary, excess contingent or on any other
basis

(a) That is Fire Extended Coverage
Builder's Risk, installation Risk or
similar coverage for “your work";

(b) That is Fire insurance for premises
rented to you or temporarily occupied
by you with permission of the owner;

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(c) That is insurance purchased by you
to cover your liability as a tenant for
"property damage" to premises
rented to you or temporarily occupied
by you with permission of the owner;
or

(d) if the loss arises out of the mainte-
nance or use of aircraft "autos" or
watercraft to the extent not subject to
Exclusion g. of Section i - Coverage
A - Bodily injury And Property Dam-
age Liability.

(2) Any other primary insurance available to
you covering liability for damages arising
out of the premises or operations for
which you have been added as an addi-
tional insured by attachment of an en-
dorsement

When this insurance is excess we will have
no duty under Coverages A or B to defend
the insured against any "suit" if any other in-
surer has a duty to defend the insured against
that "suit". if no other insurer defends we will
undertake to do so, but we will be entitled to
the insured's rights against all those other in-
surers.

When this insurance is excess over other in-
surance, we will pay only our share of the
amount of the loss if any, that exceeds the
sum of:

(1) The total amount that all such other in-
surance would pay for the loss in the ab-
sence of this insurance; and

(2) The total of all deductible and self-insured
amounts under ali that other insurance

We will share the remaining loss if any, with
any other insurance that is not described in
this Excess insurance provision and was not
bought specifically to apply in excess of the
Limits of insurance shown in the Declarations
of this Coverage Part.

Method Of Sharing

if all of the other insurance permits contribu-
tion by equal shares we will follow this
method also. Under this approach each in-
surer contributes equal amounts until it has
paid its applicable limit of insurance or none
of the loss remains whichever comes first

if any of the other insurance does not permit
contribution by equal shares we will contrib-

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ute by limits Under this method, each in-
surer's share is based on the ratio of its appli-
cable limit of insurance to the total applicable
limits of insurance of ali insurers

5. Premium Audit

a. We will compute all premiums for this Cover-
age Part in accordance with our rules and
rates

b. Premium shown in this Coverage Part as ad-
vance premium is a deposit premium oniy. At
the close of each audit period we will com-
pute the earned premium for that period and
send notice to the first Named lnsured. The
due date for audit and retrospective premi-
ums is the date shown as the due date on the
biil. if the sum of the advance and audit pre-
miums paid for the policy period is greater
than the earned premium, we will return the
excess to the Hrst Named lnsured.

c. The first Named insured must keep records of
the information we need for premium compu-
tation and send us copies at such times as
we may request

6. Representations

By accepting this policy, you agree:

a. The statements in the Declarations are accu-
rate and compiete;

b. Those statements are based upon represen-
tations you made to us; and

c. We have issued this policy in reliance upon
your representations

Separation Of insureds

Except with respect to the Limits of insurance,
and any rights or duties specifically assigned in
this Coverage Part to the first Named insured,
this insurance applies '

a. As if each Named insured were the only
Named insured; and

b. Separately to each insured against whom
claim is made or "suit" is brought

Transfer Of Rights Of Recovery Against Oth-
ers To Us

if the insured has rights to recover all or part of
any payment we have made under this Coverage
Part those rights are transferred to us. The in-
sured must do nothing after loss to impair them.
At our request the insured will bring "suit" or
transfer those rights to us and help us enforce
them.

When We Do Not Renew

if we decide not to renew this Coverage Part we
will mail or deliver to the first Named insured
shown in the Declarations written notice of the
nonrenewal not less than 30 days before the expi-
ration date `

if notice is mailed, proof of mailing will be sufh-
cient proof of notice

SECT|ON V - DEF|N|T|ONS

1.

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"Advertisement" means a not/ice that is broadcast
or published to the general public or specific mar-
ket segments about your goods products or ser-
vices for the purpose of attracting customers or
supporters For the purposes of this definition:

a. Notices that are published include material
placed on the internet or on similar electronic
means of communication and

b. Regarding web-sites only that part of a web-
site that is about your goods products or ser-
vices for the purposes of attracting customers
or supporters is considered an advertisement

"Auto" means a land motor vehicle, trailer or
semitrailer designed for travel on public roads in-
cluding any attached machinery or equipment
But "auto" does not include "mobiie equipment".

"Bodiiy injury" means bodily injury, sickness or
disease sustained by a person including death
resulting from any of these at any time.

"Coverage territory” means

a. The United States of America (including its
territories and possessions), Puerto Rico and
Canada;

b. international waters or airspace but only if
the injury or damage occurs in the course of
travel or transportation between any places
included in a. above; or

c. All other parts of the world if the injury or
damage arises out of:

(1) Goods or products made or sold by you in
the territory described in a. above;

(2) The activities of a person whose home is
in the territory described in a. above, but
is away for a short time on your business
or

(3) "Personal and advertising injury" offenses
that take place through the internet or
similar electronic means of communica-
tion

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provided the insured's responsibility to pay dam-
ages is determined in a "suit" on the merits in the
territory described in a. above or in a settlement
we agree to.

"Empioyee" includes a "leased worker". "Em-
pioyee" does not include a "temporary worker".

"Executive ofncer" means a person holding any of
the officer positions created by your charter, con-
stitution by-laws or any other similar governing
document

"Hostiie flre" means one which becomes uncon-
trollable or breaks out from where it was intended
to be.

"impaired property" means tangible property,
other than "your product" or "your work", that
cannot be used or is less useful because:

a. lt incorporates “your product" or “your work"
that is known or thought to be defectivel defi-
cient inadequate or dangerous or

b. You have failed to fulfill the terms of a con-
tract or agreement

if such property can be restored to use by:

a‘ The repalf- replacement adjustment or re-
moval Of “your product" or “your work"; or

b. Your fulfilling the terms of the contract or
agreement

"insured contract" means

a. A contract for a lease of premises However,
that portion of the contract for a lease of
premises that indemnifies any person or or-
ganization for damage by fire to premises
while rented to you or temporarily occupied
by you with permission of the owner is not an
"insured contract";

b. A sidetrack agreement

Any easement or license agreement except
in connection with construction or demolition
operations on or within 50 feet of a railroad;

d. An obligation as required by ordinance to in-
demnify a municipality, except in connection
with work for a municipality;

e. An elevator maintenance agreement

f. That part of any other contract or agreement
pertaining to your business (including an in-
demnincation of a municipality in connection
with work performed for a municipality) under
which you assume the tort liability of another
party to pay for "bodily injury" or "property

COMMERC|AL GENERAL LlAB|LlTY

damage" to a third person or organization
Tort liability means a liability that would be
imposed by law in the absence of any con-
tract or agreement

Paragraph f. does not include that part of any
contract or agreement

(1) That indemnifies a railroad for "bodily in-
jury" or "property damage" arising out of
construction or demolition operations
within 50 feet of any railroad property and
affecting any railroad bridge or trestle,
tracks road-beds tunnel, underpass or
crossing;

(2) That indemnifies an architect engineer or
surveyor for injury or damage arising out
of:

(a) Preparing, approving or failing to
prepare or approve maps shop
drawings opinions reports surveys
field orders change orders or draw-
ings and specifications or

(b) Giving directions or instructions or
failing to give them, if that is the pri-
mary cause of the injury or damage;
or

(3) Under which the insured, if an architect
engineer or surveyor, assumes liability for
an injury or damage arising out of the in-
sured's rendering or failure to render pro-
fessional services including those listed
in (2) above and supervisory, inspection,
architectural or engineering activities

10. "Leased worker" means a person leased to you

11.

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by a labor leasing firm under an agreement be-
tween you and the labor leasing firm, to perform
duties related to the conduct of your business
"Leased worker" does not include a "temporary
worker".

"Loading or unloading" means the handling of
property:

a. After it is moved from the place where it is
accepted for movement into or onto an air-
craft watercraft or "auto";

b. While it is in or on an aircraft watercraft or
"auto"; or

c. While it is being moved from an aircraft wa-
tercraft or "auto" to the place where it is finally
delivered;

but "ioading or unloading" does not include the
movement of property by means of a mechanical

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COMMERC|AL GENERAL LlABli_|TY

12.

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device other than a hand truck, that is not at-
tached to the aircraft watercraft or "auto".

"i\/lobiie equipment" means any of the following
types of land vehicles including any attached
machinery or equipment

a. Buildozers, farm machinery, forklifts and other
vehicles designed for use principally off public
roads

b. Vehic|es maintained for use solely on or next
to premises you own or rent

c. Vehic|es that travel on craw|er treads

d. Vehic|es whether self-propelled or not, main-
tained primarily to provide mobility to perma-
nently mounted:

(1) Power cranes shoveis, loaders diggers
or drills or

(2) Road construction or resurfacing equip-
ment such as graders scrapers or rollers;

e. Vehic|es not described in a.l b., c. or d.
above that are not self-propelled and are
maintained primarily to provide mobility to
permanently attached equipment of the fol-

lowing types
(1) Air compressors pumps and generators
including spraying welding building

cleaning geophysical exploration lighting
and well servicing equipment or

(2) Cherry pickers and similar devices used
to raise or lower workers

f. Vehic|es not described in a., b., c. or d.
above maintained primarily for purposes other
than the transportation of persons or cargo.

However, self-propelled vehicles with the foi-
iowing types of permanently attached equip-
ment are not "mobiie equipment" but will be
considered "autos":

(1) Equipment designed primarily for:
(a) Snow removai;

(b) Road maintenance, but not construc-
tion or resurfacing; or

(c) Street cleaning;

(2) Cherry pickers and similar devices
mounted on automobile or truck chassis
and used to raise or lower workers and

(3) Air compressors pumps and generators
including spraying welding building
cleaning geophysical exploration lighting
and well servicing equipment

13.

14.

15.

16.

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"Occurrence" means an accident including
continuous or repeated exposure to substantially
the same general hannfui conditions

"Personal and advertising injury" means injuryl
including consequential "bodily injury", arising out
of one or more of the following offenses

a. False arrest detention or imprisonment

b. Maiicious prosecution

c. The wrongful eviction from, wrongful entry
into, or invasion of the right of private occu-
pancy of a room, dwelling or premises that a
person occupies committed by or on behalf
of its owner, landlord or iessor;

d. Ora| or written publication in any manner, of
material that slanders or libels a person or or-
ganization or disparages a person's or or-
ganization's goods products or services

e. Oral or written publication in any manner, of
material that violates a person's right of pri-
vacy;

f. The use of another's advertising idea in your
"advertisement"; or

g. infringing upon another's copyright, trade
dress or slogan in your "advertisement".

"Pollutants" mean any solid, liquid, gaseous or
thermal irritant or contaminant, including smoke,
vapor, soot, fumes acids aikalis, chemicals and
waste Waste includes materials to be recycledl
reconditioned or reclaimed.

"Products-compieted operations hazard";

a. includes all "bodily injury" and "property dam-
age" occurring away from premises you own
or rent and arising out of "your product"_'o`r~
""your work" except

(1) Products that are still in your physical
possession or

(2) Work that has not yet been completed or
abandoned. However, "your work" will be
deemed completed at the earliest of the
following times

(a) When ali of the work called for in your
contract has been completed.

(b) When all of the work to be done at
the job site has been completed if
your contract calls for work at more
than one job site

(c) When that part of the work done at a
job site has been put to its intended

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17.

18.

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use by any person or organization
other than another contractor or sub-
contractor working on the same pro-
ject

Work that may need service mainte-
nance, correction repair or replacement
but which is othen/vise complete will be
treated as completed

b. Does not include "bodily injury" or "property
damage" arising out of:

(1) The transportation of property, unless the
injury or damage arises out of a condition
in or on a vehicle not owned or operated
by you, and that condition was created by
the "ioading or unloading" of that vehicle
by any insured;

(2) The existence of tools uninstaiied
equipment or abandoned or unused ma-
terials or

(3) Products or operations for which the clas-
sification listed in the Declarations or in a
policy schedule states that products-
completed operations are subject to the
General Aggregate Limit

"Property damage" means

a. Physicai injury to tangible property, including
ali resulting loss of use of that property. All
such loss of use shall be deemed to occur at
the time of the physical injury that caused it
or

b. Loss of use of tangible property that is not
physically injured. All such loss of use shall
be deemed to occur at the time of the "occur-
rence" that caused it.

l=or the purposes of this insurance, electronic
data is not tangible property.

As used in this definition electronic data means
information facts or programs stored as or on
created or used on, or transmitted to or from
computer software including systems and appli-
cations software hard or floppy disks CD-ROMS,
tapes drives cells data processing devices or
any other media which are used with electroni-
cally controlled equipment

"Suit" means a civil proceeding in which damages
because of "bodily injury", "property damage" or
"personal and advertising injury" to which this in-

surance applies are alleged. "Suit" includes

a. An arbitration proceeding in which such dam-
ages are claimed and to which the insured

19.

20.

21.

22.

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COMMERC|AL GENERAL LlAB|LlTY

must submit or does submit with our consent
or

b. Any other alternative dispute resolution pro-
ceeding in which such damages are claimed
and to which the insured submits with our
consent

"Temporary worker" means a person who is
furnished to you to substitute for a permanent
"employee" on leave or to meet seasonal or short-
term workload conditions

"Volunteer worker" means a person who is not
your "employee", and who donates his or her
work and acts at the direction of and within the
scope of duties determined by you, and is not
paid a fee salary or other compensation by you
or anyone else for their work performed for you.

"Your product";
a. Means

(1) Any goods or products other than real
property, manufactured, soldl handled,
distributed or disposed of by;

(a) You;
(b) Others trading under your name; or
(c) A person or organization whose busi-

ness or assets you have acquired;
and

(2) Containers (other than vehicles), materi-
als parts or equipment furnished in con-
nection with such goods or products

b. includes

(1) Warranties or representations made at
any ti_me with respect to the fitness qual-
ity, durability, performance or use 'of “your
product"; and

(2) The providing of or failure to provide
warnings or instructions

c. Does not include vending machines or other
property rented to or located for the use of
others but not soid.

"Your work":
a. Means:

(1) Work or operations performed by you or
on your beha|f; and

(2) Materiais parts or equipment furnished in
connection with such work or operations

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COMMERC|AL GENERAL LlAB|LlTY

b. includes ity, durabilityl performance or use of "your

(1) Warranties or representations made at W°rk"'and
anytime with respect to the fitness qual- (2) The providing of or failure to provide
warnings or instructions

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COMMERC|AL GENERAL LlAB|LlTY
POL|CY NUMBER: I - 660-3 905B356 -TCT-06 GENERAL PURPOSE ENDORSEMENT

THE ADDITIONAL INSURED MORTGAGEE/ ASSIGNEE/SUCCESSOR/RECEIVER-CGD325 NAME AND
ADDRESS OF PERSON OR ORGANIZATION IS AMENDED TO READ:

MIDLAND LOAN SERVICES, INC AS MASTER SERVICER FOR WELLS FARGO BANK, NA
TRUSTEE FOR THE REGISTERED HOLDERS OF BANC OF AMERICA COMMERCIAL
MORTGAGE INC, PASS THROUGH CERTIFICATE SERIES 2000-1

LOAN #003077104

C/O BANK OF AMERICA, NA SUB SERVICER BACM SERIES 2000-1

NC1-O26-06-01

900 WEST TRADE STREET, SUITE 650

CHARLOTTE, NC 28255

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

AMENDMENT OF COVERAGE - POLLUT|ON

This endorsement modifies insurance provided under the foilowing:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

PROV|S|ONS move containl treat detoxify or neutral-

Paragraph f.(2) Po|iution, Part 2. Exclusions of lze' °r ln any Way respond l°' °r assess

sEcTioN i - covERAGEs, covERAGE A BooiLY the effects °f' “P°"ula"ts"i °l
iNJURY AND PROPERTY DAMAGE LlAB|LlTY is (b) Claim or “suit" by or on behalf of a gov-
deleted and replaced by the foilowing: ernmental authority because of testing

for, monitoring cleaning up, removing
containing treating detoxifying or neu-
(a) Request, demand, order or statutory or tra|izmg, ar in any Way responding toy ar

regulatory requirement that any insured assessing the effects Of ~po||utams"_
or others test for, monitor, clean up, re- ,

(2) Any ioss, cost or expense arising out of any:

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COMMERC|AL GENERAL LlAB|LlTY
POL|CY NUMBER: I-660-39053356-TCT-06 lSSUE DATE: 10-18-06

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

ADD|T|ONAL lNSURED -
MCRTGAGEE, ASS|GNEE, SUCCESSOR OR RECE|VER

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

SCHEDULE

NAME OF PERSON OR ORGAN|ZAT|ON:
BANK OF AMERICA

DES|GNATION OF PREM|SES:

(lf no~e_ntry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement). ' 1 . " `

1. WHO |S AN lNSURED (Section ll) is amended to include as an insured the person(s) or organization(s)
shown in the Schedule but only with respect to their liability as mortgagee, assignee, successor or receiver
and arising out of the ownership, maintenance, or use of the premises by you and shown in the Schedule.

2. This insurance does not apply to structural alterationsl new construction and demolition operations performed
by or for that person or organization

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

CAP ON LOSSES FROM CERT|F|ED ACTS OF TERROR|SM

This endorsement modihes insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

L|QUOR LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART

POLLUT|ON LlAB|LlTY COVERAGE PART

PRODUCTS/CON|PLETED OPERAT|ONS LlAB|LlTY COVERAGE PART
RA|LROAD PROTECT|VE LlAB|LlTY COVERAGE PART

UNDERGROUND STORAGE TANK POL|CY

With respect to any one or more "certitied acts of
terrorism", we will not pay any amounts for which we
are not responsible under the terms of the federal
Terrorism Risk insurance Act of 2002 (including
subsequent acts of Congress pursuant to the Act) due
to the application of any clause which results in a cap
on our liability for payments for terrorism losses.

"Certified act of terrorism" means an act that is certi-
Hed by the Secretary of the Treasury, in concurrence
with the Secretary of State and the Attorney General
of the United States, to be an act of terrorism pursu-
ant to the federal Terrorism Risk insurance Act of
2002. The federal Terrorism Risk insurance Act of

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2002 sets forth the following criteria for a "certified act
of terrorism":

1. The act resulted in aggregate losses in excess of
$5 miliion; and

2. The act is a violent act or an act that is dangerous
to human iife, property or infrastructure and is
committed by an individual or individuals acting
on behalf of any foreign person or foreign interest,
as part of an effort to coerce the civilian popula-
tion of the United States or to influence the policy
or affect the conduct of the United States Gov-
ernment by coercion.

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COMMERC|AL GENERAL LlAB|LlTY

THls ENDORSEMENT cHANGEs THE PoLicY. PLEASE REAo lT cAREFuLLY.
OTHER lNSURANCE - ADD|T|ONAL lNSUREDS

This endorsement modihes insurance provided under the foilowing:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

PROV|S|ONS

COMMERC|AL GENERAL LlAB|LlTY COND|T|ONS
(Section |V), Paragraph 4. (Other |nsurance), is
amended as follows:

1. The following is added to Paragraph a. Primary

insurance; 2.

However, if you specifically agree in a written con-
tract or written agreement that the insurance pro-

vided to an additional insured under this 3.

Coverage Part must apply on a primary basis, or
a primary and non-contributory basis, this insur-
ance is primary to other insurance that is avail-
able to such additional insured which covers such
additional insured as a named insured, and we
will not share with that other insurance, provided
that:

a. The "bodily injury" or "property damage" for
which coverage is sought occurs; and

b. The "personal injury" or “advertising injury" for
which coverage is sought arises out of an of-
fense committed

subsequent to the signing and execution of that
contract or agreement by you.

The first Subparagraph (2) of Paragraph b. Ex-
cess insurance regarding any other primary in-
surance available to you is deleted.

The following is added to Paragraph b. Excess
insurance, as an additional subparagraph under
Subparagraph (1):

That is available to the insured when the insured
is added as an additional insured under any other
policy, including any umbrella or excess policy.

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POL|CY NUMBER: I-660-39058356-TCT-06

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

HlRED AND NONOWNED AUTO EXCESS LlAB|LlTY
ENDORSEMENT

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE FORM

SCHEDULE
COVERAGE
Hired and Nonowned Auto Liability

COMMERC|AL GENERAL LlAB|LlTY
lSSUE DATE: 10-18-06

ADD|T|ONAL PREMiUM
$ 30

(if no entry appears above, information required to complete this endorsement will be shown in the Declarations
as applicable to this endorsement).

PROV|S|ONS
A. COVERAGE

C.

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if a premium charge is shown in the Schedule,
above the insurance provided under Section l -
Coverage A - Bodily injury And Property
Damage Liability applies to "bodily injury" and
"property damage" arising out of the maintenance
or use of a "hired auto" or "nonowned auto".

EXCLUS|ONS

With respect to the insurance provided by this
endorsement

1. The exclusions, under Section l - Coverage
A - Bodily injury And Property Damage
Liability, other than exclusions a., b., d., e., f.
and i. and the Nuc|ear Energy Liability Exclu-
sion (Broad Form) are deleted and replaced
by the following:

a. "Bodiiy injury" to any fellow "employee" of
the "insured" arising out of and in the
course of the fellow "employee's" employ-
ment,

b. "Property damage" to:

(1) Property owned or being transported
by, or rented or loaned to the insured;
or

(2) Property in the care, custody or con-
trol of the insured.

WHO |S AN lNSURED

Section ll - Who is An lnsured is replaced by
the foilowing:

Each of the following is an insured under this
insurance to the extent set forth below:

¥ou;

Anyone else including any partner or "execu-
tive officer" of yours while using With your
permission a "hired auto" or a "nonowned
auto" except:

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The owner or lessee (of whom you are a
sublessee) of a "hired auto" or the owner
or lessee of a "nonowned auto" or any
agent or "employee" of any such owner or
lessee;

Your "employee" if the covered "auto" is
owned by that "employee" or a member
of his or her household;

Your "employee" if the covered "auto" is
leased, hired or rented by him or her or a
member of his or her household under a
lease or rental agreement for a period of
180 days or more;

Any partner or "executive officer" with re-
spect to any "auto" owned by such part-
ner or officer or a member of his or her
household;

Any partner or "executive officer" with re-
spect to any "auto" leased or rented to
such partner or officer or a member of his
or her household under a lease or rental
agreement for a period of 180 days or
more;

Any person while employed in or other-
wise engaged in duties in connection with
an "auto business", other than an "auto
business" you operate;

Anyone ‘ other than your "employees",
partners, a lessee or borrower or any of

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COMMERC|AL GENERAL LlAB|LlTY

their "employees", while moving property
to or from a "hired auto" or a "nonowned
auto"; or

3. Any other person or organization, but only
with respect to their liability because of acts
or omissions of an insured under 1. or 2.
above.

D. AMENDED DEF|N|T|ONS

The Definition of "insured contract" in Section V-
Definitions is amended by the addition of the foi-
lowing exceptions to paragraph f.:

Paragraph f. does not include that part of any
contract or agreement

(4) That pertains to the loan, lease or rental of an
"auto" to you or any of your "employees", if
the "auto" is loaned, leased or rented with a
driver; or

(5) That holds a person or organization engaged
in the business of transporting property by
"auto" for hire harmless for your use of a cov-
ered "auto" over a route or territory that per-
son or organization is authorized to serve by
public authority.

. ADD|T|ONAL DEF|N|T|ONS

Section V - Definitions is amended by the
addition of the following definitions:

1. "Auto Business" means the business or oc-
cupation of selling repairing servicing stor-
ing or parking "autos."

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2. "Hired auto" means any "auto" you lease,
hire, rent or borrow. This does not include:

a. Any "auto" you lease, hire or rent under a
lease or rental agreement'for a period of
180 days or more, or

b. Any "auto" you lease, hire, rent or borrow
from any of your "employees", partners,
stockholdersl or members of their house-
holds.

3. Nonowned auto" means any "autos" you do
not own, lease, hire, rentor borrow that are
being used in the course and scope of your
business at the time of an "occurrence". This
includes "autos" owned by your "employees"
or partners or members of their households
but only while being used in the course and
scope of your business at the time of an "oc-
currence".

if you are a sole proprietor, "nonowned auto"
means any "autos" you do not own, lease,
hire, rent or borrow that are being used in the
course and scope of your business or per-
sonal affairs at the time of an "occurrence".

F. COND|T|ONS

The insurance provided by this endorsement is
excess over any of the other insurancel whether
primary, excess, contingent or on any other basis,
that applies to "bodily injury" or "property dam-
age" arising out of the maintenance or use of a
"hired auto" or "nonowned auto."

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COMMERC|AL GENERAL LiAB|L|TV

TH|S ENDORSEMENT CHANGES THE-POL|CY. PLEASE READ |T CAREFULLY.

AMENDMENT - NON CUMULATION OF EACH
OCCURRENCE LlMlT OF LlAB|LlTY and

NON CUMULAT|ON OF PERSONAL and ADVERT|S|NG

lNJURY LlMlT

This endorsement modities insurance provided under the following:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

Paragraph 5 of SECTiON ill - LlM|TS OF lNSUR-
ANCE, is amended to include the following

Non cumulation of Each Occurrence Limit - if one
"occurrence" causes "bodily injury" and/or "prop-
erty damage" during the policy period and during
the policy period of one or more prior and/or future
policies that include a commercial general liability
coverage part for the insured issued by us or any
affiliated insurance company, the amount we will
pay is limited. This policy’s Each Occurrence Limit
will be reduced by the amount of each payment
made by us and any affiliated insurance company
under the other policies because of such "occur-
rence".

2.

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Paragraph 4 of SECTiON ill - LlM|TS OF lNSUR-
ANCE, is amended to include the following:

Non cumulation of Personal and Advertising Limit
- if "personal injury" and/or “advertising injury" is
sustained by any one person or organization dur-
ing the policy period and during the policy period
of one or more prior and/or future policies that
include a commercial general liability coverage
part for the insured issued by us or any affiliated
insurance companyl the amount we will pay is
limited. This policy’s Personal injury and Advertis-
ing injury Limit will be reduced by the amount of
each payment made by us and any afhliated in-
surance company under the other policies be-
cause of such "personal injury" and/or “advertising

injury".

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

WEB XTEND LlAB|LlTY

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

PROV|S|ONS

Paragraph o. Personal And Advertising injuryl Part
2. Exclusions of SECTiON i - COVERAGES, COV-
ERAGE A BOD|LY iNJURY AND PROPERTY
DAMAGE LlAB|LlTY is deleted and replaced by the
following:

o. Personal injury, Advertising injury and Web
Site injury

"Bodiiy injury" arising out of "personal injury", "ad-
vertising injury" or "web site injury".
COVERAGE B. PERSONAL AND ADVERT|S|NG

iNJURY LlAB|LlTY (SECTION l - COVERAGES) is
deleted in its entirety and replaced by the foilowing:

COVERAGE B. PERSCNAL |NJURY, ADVERT|S-
|NG |NJURY AND WEB SlTE lNJURY LlAB|LlTY

1. insuring Agreement.

a. We will pay those sums that the insured be-
comes legally obligated to pay as damages
because of "personal injury", “advertising in-
jury" or "Web site injury" to which this insur-
ance applies. We will have the right and duty
to defend the insured against any "suit" seek-
ing those damages. However, we will have no
duty to defend the insured against any "suit"
seeking damages for "personal injury", "ad-
vertising injury", or "web site injury" to which
this insurance does not apply. We may at our
discretion investigate any "occurrence" or of-
fense and settle any claim or "suit" that may
result. But:

(1) The amount we will pay for damages is
limited as described in Section |l| - Limits
Of insurance; and

(2) Our right and duty to defend end when
we have used up the applicable limit of
insurance in the payment of judgments or
settlements under Coverage A or B or
medical expenses under Coverage C.

No other obligation or liability to pay sums or per-
form acts or services is covered unless explicitly

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provided for under Suppiementary Payments -
Coverages A and B.

b. This insurance applies to:

(1) "Personal injury" caused by an offense
arising out of your business, excluding
advertising publishing broadcasting or
telecasting done by or for you;

(2) "Advertising injury" caused by an offense
committed in the course of advertising
your goods, products or services; or

(3) "Web site injury" caused by an offense
committed in the course of the visual or
audio presentation of material on "your
web site" or in the numerical expression
of computer code used to enable “your
web site";

but only if the offense was committed in the
"coverage territory” during the policy period,

With respect to subparagraph b. (1) above,
bulletins, financial or annual reports, or news-
letters that are not published to the general
public or specific market segments about your
goods, products or services for the purpose of
attracting customers or supporters will not be
considered publishing
2. Exclusions.
‘ This insurance does not apply to:

a. Knowing Vio|ation Of Rights Of Another
"Personal injury", “advertising injury" or "web
site injury" caused by or at the direction of the
insured with the knowledge that the act would
violate the rights of another and would inflict
"personal injury", “advertising injury" or "web
site injury".

b. Materiai Pub|ished With Knowiedge Of
Faisity
"Personal injury", "advertising injury" or "web
site injury" arising out of oral, written or elec-
tronic publication of material, if done by or at
the direction of the insured with knowledge of
its falsity.

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COMMERC|AL GENERAL LlAB|LlTY

Materiai Pub|ished Prior To Policy Period

"Personal injury", “advertising injury" or "web
site injury" arising out of oral, written or elec-
tronic publication of material whose first pub-
lication took place before the beginning of the
policy period.

Crimina| Acts

n ll

"Personal injury , advertising injury" or "web
site injury" arising out of a criminal act com-
mitted by or with the consent of the insured,

Contractuai Liability

n ll

"Personal injury , advertising injury" or "Web
site injury" for which the insured has assumed
liability in a contract or agreement This ex-
clusion does not apply to:

(1) "Personal injury" liability assumed in a
contract or agreement that is an "insured
contract", provided the "personal injury"
arises out of an offense committed sub-
sequent to the execution of the contract
or agreement Sole|y for the purposes of
liability assumed in an "insured contract",
reasonable attorney fees and necessary
litigation expenses incurred by or for a
party other than an insured are deemed
to be damages because of "personal in-
jury" provided:

(a) Liability to such party for, or for the
cost of, that party's defense has also
been assumed in the same "insured
contract"; and

(b) Such attorney fees and litigation ex-
penses are for defense of that party
against a civil or alternative dispute
resolution proceeding in which dam-
ages to which this insurance applies
are alleged; or

(2) "Personal injury", “advertising injury" or
"web site injury" that the insured would

have in the absence of the contract or
agreement.

Breach Of Contract
"Advertising injury" or "web site injury" arising
out of a breach of contract

Quality Or Performance Of Goods - Faii-
ure To Conform To Statements

"Advertising injury" or "web site injury" arising
out of the failure of goods, products or ser-
vices to conform with any statement of quality

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or performance made in the course of adver-
tising your goods, products or services.

Wrong Description Of Prices

"Advertising injury" or "web site injury" arising
out of the wrong description of the price of
goods, products or services.

insureds in Media And internet Type Busi-
nesses

ll ll

"Personal injury , advertising injury" or "web
site injury" committed by an insured whose
business is:

(1) Advertising broadcasting, publishing or
telecasting;

(2) Designing or determining content of web-
sites for others; or

(3) An internet search, access, content or
service provider.

However, this exclusion does not apply to
Paragraphs a., b. and c. of the "personal in-
jury" definition under SECTiON V - DEF|N|-
T|ONS of this endorsement.

For the purposes of this exclusion bulletins,
financial or annual reports, or newsletters that
are not published to the general public or
speciHc market segments about your goods,
products or services for the purpose of at-
tracting customers or supporters will not be
considered publishing

Electronic Chatrooms Or Bul|etin Boards

"Personal injury", “advertising injury" or "web
site injury" arising out of an electronic cha-
troom or bulletin board the insured hosts,
owns, or over which the insured exercises
control.

Unauthorized Use Of Another's Name Or
Product

"Personal injury", "advertising injury" or "web
site injury" arising out of the unauthorized use
of another's name or product in your e-mail
address, domain name or metatag, or any
other similar activities that mislead another's
potential customers.

Po|lution
"Personal injury"l "advertising injury" or "web
site injury" arising out of the actual, alleged or
threatened discharge, dispersal, seepage,
migration, release or escape of "po||utants" at
any time.

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m. Pol|ution-Related
Any loss, cost or expense arising out of any:

(1) Request, demand, order or statutory or
regulatory requirement that any insured
or others test for, monitor, clean up, re-
move, contain, treat detoxify or neutral-
ize, or in any way respond to, or assess
the effects of, "pollutants"; or

(2) Claim or "suit" by or on behalf of a gov-
ernmental authority because of testing
for, monitoring cleaning up, removing
containing treating detoxifying or neu-
tralizing or in any way responding to, or
assessing the effects of, "po||utants".

n. Dishonest Fraudulent Or Maiicious Acts

"Web site injury" arising out of dishonest
fraudulent criminal or malicious actsl errors
or omissions committed by any insuredl or by
anyone for whom the insured is legally re-
sponsiblel whether acting alone or with oth-
ers.

o. Web Site intellectual Property

"Web site injury" committed by any insured
whose business is providing access to intel-
lectual property of others via "your web site".

p. Emp|oyment-Related Practices
"Web site injury" to:
(1) A person arising out of any:
(a) Refusa| to employ that person;

(b) Termination of that person's employ-
ment; or

(c) Emp|oyment-related practicesl poli-
cies, acts or omissions, such as co-
ercion demotion evaluation reas-
signment discipline, defamation
harassment humiliation or discrimi-
nation directed at that person; or

(2) The spouse, childl parent brother or sis-
ter of that person as a consequence of
"bodily injury" to that person at whom any
of the employment-related practices de-
scribed in paragraphs p.(1)(a)(b) or (c)
above is directed.

This exclusion applies:

(i) Whether the insured may be held liable
as an employer or in any other capacity;
and

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COMMERC|AL GENERAL LlAB|LlTY

(ii) To any obligation to share damages with
or repay someone else who must pay
damages because of the injury.

SUPPLEMENTARY PAYMENTS - COVERAGES A
AND B (Section | - Coverages) is amended as foi-
|ows:

1. Paragraph 2.d. is deleted and replaced by the
following:

d. The allegations in the "suit" and the in-
formation we know about the "occur-
rence" or offense are such that no conflict
appears to exist between the interests of
the insured and the interests of the in-
demnitee;

2. The third sentence of Paragraph 2. is deleted and
replaced by the following:

Notwithstanding the provisions of Paragraph
2.b.(2) of Section l - Coverage A - Bodily injury
And Property Damage Liability and Paragraph
2.e.(1) of Section i - Coverage B - Personal ln-
jury, Advertising injury And Web Site injury Liabil-
ity, such payments will not be deemed to be
damages for "bodily injury" and "property dam-
age", or damages for "personal injury", and will
not reduce the limits of insurance,

SECTiON ll - WHO lS AN INSURED

The introductory sentence of paragraph 2. a. (1) Sec-
tion il - Who is An insured is deleted and replaced by
the foilowing:

2. a. (1) "Bodiiy injury, personal injury" or "web

site injury":

Section il - Who is An insured, paragraph 4. c., is

deleted and replaced by the following:

4. c. Coverage B does not apply to "personal in-
jury", “advertising injury" or "web site injury" aris-
ing out of an offense committed before you ac-
quired or formed the organization

SECTiON ill - LlM|TS OF lNSURANCE

SECTiON ill - Limits Of insurance, paragraph 4, is
deleted and replaced by the following:

4. Subject to 2. above, the Personal, Advertising
and Web Site injury Limit is the most we will pay
under Coverage B for the sum of all damages be-
cause of all "personal injury"l “advertising injury"
and all "web site injury" sustained by any one

person or organization

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COMMERC|AL GENERAL LlAB|LlTY

SECT|ON V - DEF|N|T|ONS
ADVERT|SEMENT

The dennition of "Advertisement" (SECT|ON V -
DEF|N|T|ONS) is deleted in its entirety.

COVERAGE TERRlTORY

The definition of "Coverage Territory" (SECT|ON V
- DEF|N|T|ONS) is deleted in its entirety and re-
placed by the following:

a. The United States of America (including its territo-
ries and possessions), Puerto Rico and Canada;

b. international waters or airspace, but only if the
injury or damage occurs iri the course of travel or
transportation between any places included in a.
above; or

c. All parts of the world if the injury or damage
arises out of:

(1) Goods or products made or sold by you in the
territory described in a. above;

(2) The activities of a person whose home is in
the territory described in a. above, but who is
away for a short time on your business; or

(3) "Personal injury", “advertising injury", and
"web site injury" offenses that take place
through the internet or similar electronic
means of communication and

provided the insured's responsibility to pay dam-
ages is determined in a "suit" on the merits, in the
territory described in a. above or in a settlement
we agree to.

lNSURED CONTRACT

The first paragraph of part f. of the definition of "in-
sured Contract" (SECTiON V - DEF|N|T|ONS) is
deleted and replaced by the following:

f. That part of any other contract or agreement per-
taining to your business (including an indemnifica-
tion of a municipality in connection with work per-
formed for a municipality) under which you as-
sume the tort liability of another party to pay for
"bodily injury", "property damage" or "personal in-
jury" to a third party or organization Tort liability
means a liability that would be imposed by law in
the absence of any contract or agreement

PERSONAL AND ADVERT|S|NG |NJURY

The definition of "Personal and advertising injury"
(SECT|ON V - DEF|N|T|ONS) is deleted in its entirety
and replaced by the following definitions of "advertis-
ing injury" and "personai injury":

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"Advertising injury" means injury, arising out of one or
more of the following offenses:

a. Orai, written or electronic publication of material
that slanders or libels a person or organization or
disparages a person's or organization's goods,
products or services, provided that claim is made
or "suit" is brought by a person or organization
that claims to have been slandered or libeled, or
whose goods, products or services have allegedly
been disparaged;

b. Orai, written or electronic publication of material
that appropriates a person's |ikeness, unreasona-
bly places a person in a false light or gives unrea-
sonable publicity to a person's private life; or

c. infringement of copyright, title or slogan, provided
that claim is made or "suit" is brought by a person
or organization claiming ownership of such copy-
right, title or slogan

"Personal injury" means injury, other than "bodily in-
jury", arising out of one or more of the following of-
fenses:

a. False arrest detention or imprisonment
b. Maiicious prosecution

c. The wrongful eviction from, wrongful entry into, or
invasion of the right of private occupancy of a
room, dwelling or premises that a person occu-
pies by or on behalf of its owner, landlord or les-
sor, provided that the wrongful eviction wrongful
entry or invasion of the right of private occupancy
is performed by or on behalf of the owner, land-
lord or lessor of that rooml dwelling or premises;

d. Orai, written or electronic publication of material
that slanders or libels a person or organization or
disparages a person's or organization's goods,
products or services, provided that claim is made
or "suit" is brought by a person or organization
that claims to have been slandered or libeled, or
whose goods, products or services have allegedly
been disparaged; or

e. Orai, written or electronic publication of material
that appropriates a person's likenessl unreasona-
bly places a person in a false light or gives unrea-
sonable publicity to a person's private life.

SU|T

The definition of "Suit" (SECT|ON V - DEF|N|-
T|ONS) is deleted in its entirety and replaced by the
following:

"Suit" means a civil proceeding in which damages
because of "bodily injury", "property damage", "per-
sonal injury"l “advertising injury" or "web site injury" to

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which this insurance applies are aileged. "Suit" in-
cludes:

An arbitration proceeding in which such damages
are claimed and to which you must submit or do
submit with our consent or

Any other alternative dispute resolution proceed-
ing in which such damages are claimed and to
which you submit with our consent

The following definitions are added to SECTiON V -
DEF|N|T|ONS

WEB SlTE iNJURY

"Web site injury" means injury, other than "personal
injury" or “advertising injury", arising out of one or
more of the following offenses:

a.

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Orai, written or electronic publication of material
that slanders or libels a person or organization or
disparages a person's or organization's goods,
products or services, provided that claim is made
or "suit" is brought by a person or organization
that claims to have been slandered or libeled, or

COMMERC|AL GENERAL LlAB|LlTY

whose goods, products or services have allegedly
been disparaged;

b. Orai, written or electronic publication of material
that appropriates a person's likeness, unreasona-
bly places a person in a false light or gives unrea-

' sonable publicity to a person's private life;

c. Orai, written or electronic publication of material
that violates a person's right of publicity, provided
that claim is made or "suit" is brought by the per-
son claiming rights of publicity; or

d. infringement of copyright, title or slogan, provided
that claim is made or "suit" is brought by a person
or organization claiming ownership of such copy-
right, title or slogan,

YOUR WEB SlTE

"Your web site" means ali computer files and data
which may be accessed via the internet using a Uni~
versal Resource Locator that includes any domain
name owned by or assigned to you.

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COMMERC|AL GENERAL LlAB|LlTY
POL|CY NUMBER: I-660-3905B356-TCT-06 lSSUE DATE: 10-18-06

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

ADD|T|ONAL lNSURED-DES|GNATED PERSON
OR CRGANlZATlON

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

SCHEDULE
Name of person or organization:

CITY AND COUNTY OF SAN FRANCISCO
SAN FRANCISCO PUBLIC LIBRARY

100 LARKIN STREET

SAN FRANCISCO CA 94102

WHO lS AN lNSURED (Section li) is amended to include as an insured the person or organization shown in the
Schedule as an insured but only with respect to liability arising out of your acts or omissions,

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

FUNG| OR BACTER|A EXCLUS|ON

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

A. The following exclusion is added to Paragraph 2..
Exclusions of Section l - Coverage A - Bodily
injury And Property Damage:

2. Exclusions
This insurance does not apply to:
Fungi or Bacteria

"Bodiiy injury" or "property damage"
which would not have occurred, in whole
or in part but for the actual, alleged or
threatened inhalation of, ingestion of,
contact with, exposure to, existence of, or
presence of, any "fungi" or bacteria on or
within a building or structure, including its
contents, regardless of whether any other
cause, event material or product contrib-
uted concurrently or in any sequence to
such injury or damage.

Any loss, cost or expenses arising out of
the abating testing for, monitoring
cleaning up, removing containing treat-
ing detoxifying neutralizing, remediating
or disposing of, or in any way responding
to, or assessing the effects of, "fungi" or
bacteria, by any insured or by any other
person or»entity.

This exclusion does not apply to any "fungi"
or bacteria that are, are on o`r are contained
in a good or product intended for consump-
tion.

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B. The following exclusion is added to Paragraph 2.,
Exclusions of Section l - Coverage B - Per-
sonal And Advertising injury Liability:

2. Exclusions

This insurance does not apply to:

Fungi or Bacteria

"Personal injury" or “advertising injury"
which would not have taken place, in
whole or in part but for the actuall al-
leged or threatened inhalation of, inges-
tion of, contact with, exposure to, exis-
tence of, or presence of any "fungi" or
bacteria on or within a building or struc-
ture, including its contents, regardless of
whether any other cause, event material
or product contributed concurrently or in
any sequence to such injury,

Any loss, cost or expenses arising out of
the abating testing for, monitoring
cleaning up, removing containing treat-
ing detoxifying, neutralizing remediating
or disposing of, or in any way responding
to, or assessing the effects of, "fungi" or
bacteria, by any insured or by any other
person or entity.

C. The following definition is added to the Defini-
tions Section:

"Fungi" means any type or form of fungus, in-
cluding mold or mildew and any mycotoxins,
spores, scents or byproducts produced or re-
leased by fungi.

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

AMENDMENT OF COVERAGE - PROPERTY DAMAGE

This endorsement modines insurance provided under the following:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART
PROV|S|ONS

The definition of "property damage" in SECTiON V -
DEF|N|T|ONS is deleted in its entirety and replaced
by the foilowing:

"Property damage" means:

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Physicai injury to tangible property, including all
resulting loss of use of that property. All such loss
of use shall be deemed to occur at the time of the
physical injury that caused it; or

Loss of use of tangible property that is not physi-
cally injured. All such loss of use shall be deemed

to occur at the time of the "occurrence" that
caused it.

"Property damage" does not include loss of or dam-
age to "electronic media and records".

As used in this definition "electronic media and
records" means:

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Electronic data processing recording or storage
media such as films, tapes, discs, drums or cells;

Data stored on such media; or

Programming records for electronic data process-
ing or electronically controlled equipment

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

EMPLOYMENT-RELATED PRACT|CES EXCLUS|ON

This endorsement modifies insurance provided under the following:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

A. The following exclusion is added to Paragraph 2.,

Exclusions of Section l - Coverage A - Bodily
injury And Property Damage Liability:

This insurance does not apply to:
"Bodiiy injury" to:
(1) A person arising out of any:

(a) Refusal to employ that person;

(b) Termination of that person's employment
or

(c) Emp|oyment-related practices, poiicies,
acts or omissions, such as coercion de-
motion evaluation reassignment disci-
pline, defamation harassment humilia-
tion or discrimination directed at that
person; or

(2) The spouse, child, parent brother or sister of
that person as a consequence of "bodily in-
jury" to that person at whom any of the em-
ployment-related practices described in Para-
graphs (a), (b), or (c) above is directed

This exclusion applies:

(1) Whether the insured may be liable as an em-
ployer or in any other capacity; and

(2) To any obligation to share damages with or
repay someone else who must pay damages
because of the injury.

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B. The following exclusion is added to Paragraph 2.,

Exclusions of Section l - Coverage B - Per-
sonal And Advertising injury Liability;

This insurance does not apply to:
"Personal injury" to:
(1) A person arising out of any:

(a) Refusal to employ that person;

(b) Termination of that person's employment
or

(c) Emp|oyment-related practices, policies,
acts or omissions, such as coercion de-
motion evaluation reassignment disci-
pline, defamation harassment humilia-
tion or discrimination directed at that
person; or

(2) The spouse, child, parent brother or sister of
that person as a consequence of "personal
injury" to that person at whom any of the em-
ployment-related practices described in Para-
graphs (a), (b), or (c) above is directed,

This exclusion applies:

(1) Whether the insured may be liable as an em-
ployer or in any other capacity; and

(2) To any obligation to share damages with or
repay someone else who must pay damages
because of the injury,

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

EXCLUS|ON - UNSOL|C|TED COMMUN|CAT|ONS

This endorsement modihes insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlT¥ COVERAGE PART

This insurance does not apply to "bodily injury",
"property damage"l "personal injury", “advertising
injury" or "website injury" arising out of unsolicited
communications by or on behalf of any insured.
Unsolicited communications means any form of
communication including but not limited to facsimile,
electronic mail, posted mail or telephone, in which the

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recipient has not specifically requested the communi-
cation Unsolicited communications also include but
are not limited to communications which are made or
allegedly made in violation of the Telephone Con-
sumer Protection Act and any amendments, and/or
local or state statutes that bar, prohibit or penalize
such communications

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

EXCLUS|ON_D|SCR|M|NAT|ON

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

PROV|S|ONS

1.

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COVERAGE A - BOD|LY |NJURY AND PROP-
ERTY DAMAGE LlAB|LlTY - is amended by ad-
ding the following additional exciusion:

(This insurance does not apply to:)

“Bodily injury" resulting from or as a consequence
of discrimination whether intentional or uninten-
tional, based upon a person's sex, sexual prefer-
ence, marital status, race, creed, religion na-
tional origin age, physical capabilities, character-
istics or condition or mental capabilities or con-
dition.

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2. COVERAGE B - PERSONAL AND ADVERT|S-

|NG iNJURY LlAB|LlTY - is amended by adding
the following additional exclusion:

(This insurance does not apply to:)

“Personal injury” resulting from or as a conse-
quence of discrimination whether intentional or
unintentional, based upon a person's sex, sexual
preference, marital status, race, creed, religion
national origin age, physical capabilities, charac-
teristics or condition or mental capabilities or
condition

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COMMERC|AL GENERAL LlAB|LlTY

TlH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

EXCLUS|ON - WAR

This endorsement modifies insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

A. Exclusion i. under Paragraph 2., Exclusions of

- Section l - Coverage A - Bodily injury And

Property Damage Liability is replaced by the
following:

2. Exclusions:
This insurance does not apply to:
i. War

"Bodiiy injury" or "property damage" aris-
ing directly or indirectly, out of:

(1) War, including undeclared or civil
war; or

(2) Warlike action by a military forcel in-
cluding action in hindering or de-
fending against an actual or expected
attack, by any government sovereign
or other authority using military per-
sonnel or other agents; or

(3) insurrection rebellion revolution
usurped power, or action taken by
governmental authority in hindering
or defending against any of these

regardless of any other cause or event
that contributes concurrently or in any se-
quence to the injury or damage.

B. The following exclusion is added to Paragraph 2.,
Exclusions of Section i - Coverage B - Per-
sonal And Advertising injury Liability:

2. Exclusions:
This insurance does not apply to:
War

"Personal injury" or “advertising injury" aris-
ing directly or indirectly, out of:

(1) War, including undeclared or civil war; or

(2) Warlike action by a military force. includ-
ing action in hindering or defending
against an actual or expected attack, by
any government sovereign or other
authority using military personnel or other
agents; or

(3) insurrection rebellion revolution
usurped power, or action taken by gov-
ernmental authority in hindering or de-
fending against any of these

regardless of any other cause or event that
contributes concurrently or in any sequence
to the injury.

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

EXCLUS|ON -ASBESTOS

This endorsement modifies insurance provided under the following:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART
PRODUCTS/CON|PLETED OPERAT|ONS LlAB|LlTY COVERAGE PART
RA|LROAD PROTECT|VE LlAB|LlTY COVERAGE PART

CATASTROPHE Ul\/iBRELLA POL|CY

This insurance does not apply to "bodily injury," a. Any supervision instructions, recommendationsl
"property damage," "personal injury" or “advertising warnings or advice given or which should have
injury" arising out of the actual or alleged presence been given in connection with the above; and

or actual, alleged or threatened dispersal of asbes- b_ Any Ob|igation to share damages With or repay

tos, asbestos fibers or products containing asbestos,
provided that the injury or damage is caused or con-
tributed to by the hazardous properties of asbestos.
This includes:

someone else who must pay damages because
of such injury or damage.

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

LlM|TAT|ON WHEN TWO OR MORE POL|C|ES APPLY

This endorsement modifies insurance provided under the foilowing:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

EMPLOVEE BENEF|TS LlAB|LlTY COVERAGE PART

LiQUOR LlAB|LlTY COVERAGE PART

PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE PART

Provisions

1. injury, damage or loss might be covered by this policy and also by other policies issued to you by us or any
Travelers affiliate When these other policies contain a provision similar to this one, the amount we will pay is
limited. The maximum that we will pay under all such policies combined is the highest limit that applies in
any one of these policies.

2. This does not apply to any personal liability policy or to any Umbreiia, Excess or Protective Liability Policy.

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COMMERC|AL GENERAL LlAB|LlTY

TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

CAL|FORN|A CHANGES

This endorsement modihes insurance provided under the foilowing:

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

ELECTRON|C DATA LlAB|LlTY COVERAGE PART

LiQUOR LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART
POLLUT|ON LlAB|L|T¥ COVERAGE PART

PRODUCTW|THDRAWAL COVERAGE PART

PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE PART
UNDERGROUND STORAGE TANK POL|CY

The term "spouse" is replaced by the following:
Spouse or registered domestic partner under California law.

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lNTERL|NE
ENDORSEMENTS

 

 

 

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lNTERL|NE
; ENDORSEMENTS

 

 

 

 

 

 

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ iT CAREFULLY.

FEDERAL TERROR|SM R|SK lNSURANCE ACT
DlSCLOSURE

This endorsement applies to the insurance provided under the following:
COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

L|QUOR LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART
SPEC|AL PROTECT|VE AND H|GHWAY LlAB|LlTY POL|CY - NEW YORK DEPARTMENT OF

TRANSPORTAT|ON

PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE PART
RA|LROAD PROTECT|VE LlAB|LlTY COVERAGE PART

POLLUT|ON LlAB|LlTY COVERAGE PART

LiMiTED ABOVE GROUND POLLUT|ON LlAB|LlTY COVERAGE PART

ENV|RONMENTAL HAZARD POL|CY

EMPLOYEE BENEF|TS LlAB|LlTY COVERAGE PART
ELECTRON|C MANUFACTURERS AND COMPUTER SERV|CES ERRORS AND OM|SS|ONS

LlAB|LlTY COVERAGE FORM

SELF-|NSURED EXCESS COMMERC|AL GENERAL LlAB|LlTY COVERAGE FORM
SELF-iNSURED EXCESS L|QUOR LlAB|LlTY COVERAGE FORM

SELF-|NSURED EXCESS EMPLOYEE BENEF|TS L|ABiLiTY COVERAGE FORM

SELF-|NSURED EXCESS PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE FORM
COMMERC|AL EXCESS LlAB|LlTY (UMBRELLA) lNSURANCE

EXCESS (FOLLOW|NG FOR|V|) LlAB|LlTY lNSURANCE

PROV|S|ONS

On November 26, 2002, the President of the United
States signed into law the Terrorism Risk insurance
Act of 2002 (the "Act"). The Act establishes a pro-
gram under which. the Federai Government will
partially reimburse "/nsured Losses" caused by
certain "Acts of Terrorism" (each as defined in the
Act).

The Federai Government’s share of compensation for
lnsured Losses in each year up to and including
. calendar year 2006 is 90% of the amount of insured
Losses in excess of each lnsurer’s statutorily estab-
lished deductible for that year, subject to the "Pro-
gram Trigger" (as defined in the Act). For calendar
year 2007 the Federai Government's share is 85% of
the amount of insured Losses in excess of each

lnsurer’s deductiblel subject to the Program Trigger.
in no event howeverl will the Federai Government or
any insurer be required to pay any portion of the
amount of aggregate lnsured Losses occurring in any
one year that exceeds $100,000,000,()00, provided
that such /nsurer has met its deductible.

The charge for lnsured Losses for each Coverage
Part to which this endorsement applies lis included in
the total premium for each Coverage Part indicated in
the premium schedule. The charge for each coverage
is indicated below and/or on the premium schedule,
and does not include any charges for the portion of
losses covered by the federal government under the
Act.

' 1_°@ of each applicable Commerciai Liability Coverage premium.

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

CAP ON LOSSES FROM CERT|F|ED ACTS OF
TERRCR|SM

This endorsement modifies insurance provided under the following:

BO|LER AND MACHINERY COVERAGE PART
COMMERC|AL |NLAND MAR|NE COVERAGE PART
COMMERC|AL PROPERTY COVERAGE PART
DELUXE PROPERTY COVERAGE PART

A. Cap On Certified Terrorism Losses conduct of the United States Government by

"Certified act of terrorism" means an act that is
certified by the Secretary of the Treasury, in con-
currence with the Secretary of State and the At-
torney General of the United States, to be an act
of terrorism pursuant to the federal Terrorism
Risk insurance Act of 2002. The criteria con-
tained in that Act for a "certified act of terrorism"
include the following:

coercion

With respect to any one or more "certified acts of
terrorism" under the federal Terrorism Risk lnsur-
ance Act of 2002, we will not pay any amounts for
which we are not responsible under the terms of
that Act (including subsequent action of Congress
pursuant to the Act) due to the application of any
clause which results in a cap on our liability for

1. The act resulted in aggregate losses in ex- payments forte"°rism losses‘

cess of $5 million; and B. Application Of Exclusions

The terms and limitations of any terrorism
exclusion or the inapplicability or omission of a
terrorism exclusion do not serve to create cover-
age for any loss which would othenivise be ex-
cluded under this Coverage Part or Policy, such
as losses excluded by the Nuc|ear Hazard Exclu-
sion or the War And Miiitary Action Exclusion

2. The act is a violent act or an act that is dan-
gerous to human life, property or infrastruc-
ture and is committed by an individual or in-
dividuals acting on behalf of any foreign per-
son or foreign interest, as part of an effort to
coerce the civilian population of the United
States or to influence the policy or affect the

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

NUCLEAR ENERGY LlAB|LlTY EXCLUS|ON
ENDORSEMENT

(Broad Form)

This endorsement modifies insurance provided under the following:

COMMERC|AL AUTOMOB|LE COVERAGE PART

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART

FARM COVERAGE PART
LiQUOR LlAB|LlTY COVERAGE PART

OWNERS AND CONTRACTORS PROTECT|VE LlAB|LlTY COVERAGE PART

POLLUT|ON LlAB|LlTY COVERAGE PART

PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE PART

PROFESS|ONAL LlAB|LlTY COVERAGE PART

RA|LROAD PROTECT|VE LlAB|LlTY COVERAGE PART

UNDERGROUND STORAGE TANK POL|CY

1. The insurance does not apply:

A. Under any Liability Coverage, to "bodily in-
jury" or "property damage";

(1) With respect to which an "insured" under
the policy is also an insured under a nu-
clear energy liability policy issued by Nu-
c|ear Energy Liability insurance Associa-
tion i\/lutual Atomic Energy Liability Un-
derwriters, Nuc|ear insurance Association
of Canada or any of their successors, or
would be an insured under any such pol-
icy but for its termination upon exhaus-
tion of its limit of liability; or

(2) Resulting from the "hazardous properties"
of "nuclear material" and with respect to
which (a) any person or organization is
required to maintain financial protection
pursuant to the Atomic Energy Act of
1954, or any law amendatory thereof, or
(b) the "insured" is, or had this policy not
been issued would be, entitled to indem-
nity from the United States of America, or
any agency thereof, under any agree-
ment entered into by the United States of
America, or any agency thereof, with any
person or organization

B. Under any Medical Payments coverage, to
expenses incurred with respect to "bodily in-
jury" resulting from the "hazardous proper~
ties" of "nuclear material" and arising out of
the operation of a "nuclear facility" by any
person or organization

C. Under any Liability Coverage, to "bodily in-
jury" or "property damage" resulting from
"hazardous properties" of "nuclear material",
if:

(1) The "nuclear material" (a) is at any "nu-
clear faciiity" owned by, or operated by or
on behalf of, an "insured" or (b) has been
discharged or dispersed therefrom;

(2) The "nuclear material" is contained in
"spent fuel" or "waste" at any time pos-
sessed, handled, used, processed,
stored, transported or disposed of, by or
on behalf of an "insured"; or

(3) The "bodily injury" or "property damage"
arises out of the furnishing by an "in-
sured" of services, materials, parts or
equipment in connection with the plan-
ning constructionl maintenance, opera-
tion or use of any "nuclear facility", but if
such facility is located within the United
States of America, its territories or pos-
sessions or Canada. this exclusion (3)
applies only to "property damage" to such
"nuclear facility" and any property
thereat

As used in this endorsement

"Hazardous properties" includes radioactive, toxic
or explosive properties

"Nuclear material" means "source material",
"Special nuclear material" or "by-product mate-
rial".

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"Source material", "special nuclear material", and
"by-product material" have the meanings given
them in the Atomic Energy Act of 1954 or in any
law amendatory thereof.

"Spent fuel" means any fuel element or fuel
component solid or liquidl which has been used
or exposed to radiation in a "nuclear reactor".

"Waste" means any waste material (a) containing
"by-product material" other than the tailings or
wastes produced by the extraction or concentra-
tion of uranium or thorium from any ore proc-
essed primarily for its "source material" content
and (b) resulting from the operation by any per-
son or organization of any "nuclear facility" in-
cluded under the first two paragraphs of the den-
nition of "nuclear facility".

"Nuclear facility" means:
(a) Any "nuclear reactor";

(b) Any equipment or device designed or used
for (1) separating the isotopes of uranium or
plutonium, (2) processing or utilizing "spent
fuel", or (3) handling processing or packag-
ing "waste";

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(c) Any equipment or device used for the proc-
essing fabricating or alloying of "special nu-
clear materiai" if at any time the total amount
of such material in the custody of the "in-

sured" at the premises where such equipment

or device is located consists of or contains
more than 25 grams of plutonium or uranium

233 or any combination thereof. or more than

250 grams of uranium 235;

(d) Any structure, basin excavation premises or
place prepared or used for the storage or dis-
posal of "waste";

and includes the site on which any of the forego-
ing is located, all operations conducted on such
site and all premises used for such operations.

"Nuclear reactor" means any apparatus designed
or used to sustain nuclear fission in a self-
supporting chain reaction or to contain a critical
mass of fissionable material,

"Property damage" includes all forms of radioac-
tive contamination of property.

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ |T CAREFULLY.

CAL|FORN|A CHANGES - ACTUAL CASH VALUE

This endorsement modifies insurance provided under the following:
CAP|TAL ASSETS PROGRAM (OUTPUT POL|CY) COVERAGE PART

COMMERC|AL |NLAND MARiNE COVERAGE PART

COMMERC|AL PROPERTY COVERAGE PART
FARM COVERAGE PART
STANDARD PROPERTY POL|CY

With respect to an "open policy", the following are
added to any provision which uses the term actual
cash value:

A. in the event of a total loss to a building or
structure, actual cash value is calculated as the
lesser of the following:

1. The Limit of insurance applicable to that
building or structure; or

2. The fair market value of the building or struc-
turel

B. in the event of a partial loss to a building or
structure, actual cash value is calculated as the
lesser of the following:

1. The amount it would cost to repair, rebuild or
replace the property less a fair and reason-
able deduction for physical depreciation of
the components of the building or structure
that are normally subject to repair or re-
placement during its useful life. Physicai de-
preciation is based upon the condition of the
property at the time of the loss; or

C.

2. The Limit of insurance applicable to the prop-
erty.

in the event of a partial or total loss to Covered
Property other than a building or structure, actual
cash value is calculated as the lesser of the fol-
iowing:

1. The amount it would cost to repair or replace
the property less a fair and reasonable de-
duction for physical depreciation based on
the condition of the properly at the time of
loss; or

2. The Limit of insurance applicable to the prop-
erty.

An "open policy" is a policy under Which the value
of Covered Property is not fixed at policy incep-
tion but is determined at the time of loss in ac-
cordance with policy provisions on valuation The
term "open policy" does not apply to Covered
Property that is subject to an Agreed Value
clause or similar clause that establishes an
agreed value prior to loss, unless such clause has
expired.

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

CAL|FORN|A CHANGES

This endorsement modifies insurance provided under the following:

BO|LER AND i\/iACH|NERY COVERAGE PART

COMMERC|AL |NLAND MAR|NE COVERAGE PART

COMMERC|AL PROPERTY COVERAGE PART

FARM COVERAGE PART - FARM PROPERTY - OTHER FARM PROV|S|ONS FORM - ADD|T|ONAL

|L 01 04 02 04

COVERAGES, COND|T|ONS, DEF|N|T|ONS

FARM COVERAGE PART - L|VESTOCK COVERAGE FORM
FARM COVERAGE PART - i\/|OB|LE AGR|CULTURAL |ViACH|NERY AND EQU|PMENT COVERAGE

FORM
STANDARD PROPERTY POL|CY

A. When this endorsement is attached to the

Standard Property Policy CP 00 99 the term Cov-
erage Part in this endorsement is replaced by the
term Policy.

. The Concea|ment, Misrepresentation Or Fraud
Condition is replaced by the following with re-
spect to loss ("ioss") or damage caused by fire:

We do not provide coverage to the insured
("insured") who, whether before or after a loss
("loss"), has committed fraud or intentionally con-
cealed or misrepresented any material fact or
circumstance concerning:

1. This Coverage Part;
2. The Covered Property;

3. That insured's ("insured's") interest in the
Covered Property; or

4. A claim under this Coverage Part or Cover-
age Form.

. The Concea|ment, Misrepresentation Or Fraud
Condition is replaced by the following with re-
spect to loss ("ioss") or damage caused by a
Covered Cause of Loss other than fire:

This Coverage Part is void if any insured ("in-
sured"), whether before or after a loss ("loss"),
has committed fraud or intentionally concealed or
misrepresented any material fact or circumstance
concerning

1. This Coverage Part;
2. The Covered Property;

3. An insured's ("insured's") interest in the Cov-
ered Property; or

4. A claim under this Coverage Part or Cover-
age Form.

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D. Except as provided in E., the Appraisal Condi-

tion is replaced by the following:

if we and you disagree on the value of the
property or the amount of loss ("loss"), either may
make written request for an appraisal of the loss
("loss"). if the request is accepted, each party will
select a competent and impartial appraiser. Each
party shall notify the other of the appraiser se-
lected within 20 days of the request The two ap-
praisers will select an umpire. if they cannot
agree within 15 days, either may request that se-
lection be made by a judge of a court having ju-
risdiction The appraisers will state separately the
value of the property and amount of loss ("loss").
if they fail to agree, they will submit their differ-
ences to the umpire. A decision agreed to by any
two will be binding Each party will:

1. Pay its chosen appraiser; and

2. Bear the other expenses of the appraisal and
umpire equaliy. -

if there is an appraisal, we will still retain our right
to deny the claim.‘

E. The Appraisal Condition in:

1. Business income (And Extra Expense) Cov-
erage Form CP 00 30; and

2. Business income (Without Extra Expense)
Coverage Form CP 00 32;

is replaced by the following:

if we and you disagree on the amount of Net
income and operating expense or the amount
of loss, either may make written request for
an appraisal of the loss. if the request is ac-
cepted, each party will select a competent
and impartial appraiser. Each party shall no-

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tify the other of the appraiser selected within
20 days of the request The two appraisers
will select an umpire. if they cannot agree
within 15 days, either may request that selec-
tion be made by a judge of a court having ju-
risdiction. The appraisers will state separately
the amount of Net income and operating ex-
pense or amount of loss. if they fail to agreel
they will submit their differences to the um-

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pire. A decision agreed to by any two will be
binding Each party will:

a. Pay its chosen appraiser; and

b. Bear the other expenses of the appraisal
and umpire equaiiy.

if there is an appraisal, we will still retain our
right to deny the claim.

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

CAL|FORN|A CHANGES - CANCELLAT|ON
AND NONRENEWAL

This endorsement modines insurance provided under the following:

BO|LER AND MACH|NERY COVERAGE PART

CAP|TAL ASSETS PROGRAM (OUTPUT POL|CY) COVERAGE PART
COMMERC|AL AUTOMOB|LE COVERAGE PART

COMMERC|AL GENERAL LlAB|LlTY COVERAGE PART
COMMERC|AL |NLAND MAR|NE COVERAGE PART

COMMERC|AL PROPERTY COVERAGE PART

CR|ME AND FiDEL|TY COVERAGE PART

EMPLOYMENT-RELATED PRACT|CES LlAB|LlTY COVERAGE PART
FARM COVERAGE PART

LiQUOR LlAB|LlTY COVERAGE PART

POLLUT|ON LlAB|LlTY COVERAGE PART
PRODUCTS/COMPLETED OPERAT|ONS LlAB|LlTY COVERAGE PART
PROFESS|ONAL LlAB|LlTY COVERAGE PART

A. Paragraphs 2. and 3. of the Canceilation we issued, we may cancel this policy only
Common Policy Condition are replaced by the upon the occurrence, after the effective
following: date of the policy, of one or more of the

2. All Policies in Effect For 60 Days Or Less following

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if this policy has been in effect for 60 days or
less, and is not a renewal of a policy we have
previously issuedl we may cancel this policy
by mailing or delivering to the first Named ln-
sured at the mailing address shown in the
policy and to the producer of record, advance
written notice of cancellation stating the rea-
son for cancellation at least:

a. 10 days before the effective date of can-
cellation if we cancel for:
(1) Nonpayment of premium; or
(2) Discovery of fraud by:
(a) Any insured or his or her repre-

sentative in obtaining this insur-
ance; or

(b) You or your representative in
pursuing a claim under this pol-
icy.

b. 30 days before the effective date of can-

cellation if we cancel for any other rea-
son

All Policies |n Effect For More Than 60
Days

a. if this policy has been in effect for more
than 60 days, or is a renewal of a policy

(1) Nonpayment of premium, including
payment due on a prior policy we is-
sued and due during the current poi-
icy term covering the same risks.

(2) Discovery of fraud or material mis-
representation by:

(a) Any insured or his or her repre-
sentative in obtaining this insur-
ance; or

(b) You or your representative in
pursuing a claim under this pol-
icy.

(3) A judgment by a court or'an adminis-
trative tribunal that you have violated

a California or Federai law, having as

one of its necessary elements an act

which materially increases any of the
risks insured against

(4) Discovery of willful or grossly negli-
gent acts or omissions, or of any vio-
lations of state laws or regulations es-
tablishing safety standards, by you or
your representativel which materially
increase any of the risks insured
against

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(5) Failure by you or your representative
to implement reasonable loss control
requirements, agreed to by you as a
condition of policy issuance, or which
were conditions precedent to our use
of a particular rate or rating plan, if
that failure materially increases any
of the risks insured against

(6) A determination by the Commis-
sioner of insurance that the:

(a) Loss of, or changes in our rein-
surance covering all or part of
the risk would threaten our finan-
cial integrity or solvency; or

(b) Continuation of the policy cover-
age would:

(i) Place us in violation of Cali-
fornia law or the laws of the
state where we are domi-
ciled; or

(ii) Threaten our solvency.

(7) A change by you or your representa-
tive in the activities or property of the
commercial or industrial enterprise,
which results in a materially added,
increased or changed risk, unless the
added, increased or changed risk is
included in the policy.

b. We will mail or deliver advance written
notice of cancellation stating the reason
for cancellation to the Hrst Named in-
sured, at the mailing address shown in
the policyl and to the producer of record,
at least

(1) 10 days before the effective date of
cancellation if we cancel for non-
payment of premium or discovery of
fraud; or

(2) 30 days before the effective date of
cancellation if we cancel for any
other reason listed in Paragraph 3.a.

B. The following provision is added to the Canceiia-
tion Common Policy Condition:

7. Residential Property

This provision applies to coverage on real
property which is used predominantly for
residential purposes and consisting of not
more than four dwelling units, and to cover-
age on tenants' household personal property
in a residential unit if such coverage is writ-
ten under one of the following:

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Commerciai Property Coverage Part

Farm Coverage Part - Farm Property - Farm
Dwellings, Appurtenant Structures And
Household Personal Property Coverage Form

a. if such coverage has been in effect for 60
days or less, and is not a renewal of cov-
erage we previously issued, we may can-
cel this coverage for any reason except
as provided in b. and c. below.

b. We may not cancel this policy solely be-
cause the first Named insured has:

(1) Accepted an offer of earthquake cov-
erage; or

(2) Cancelled or did not renew a policy
issued by the California Earthquake
Authority (CEA) that included an
earthquake policy premium sur-
charge.

Howeverl we shall cancel this policy if the
first Named insured has accepted a new
or renewal policy issued by the CEA that
includes an earthquake policy premium
surcharge but fails to pay the earthquake
policy premium surcharge authorized by
the CEA.

c. We may not cancel such coverage solely
because corrosive soil conditions exist on
the premises. This Restriction (c.) applies
only if coverage is subject to one of the
following which exclude loss or damage
caused by or resulting from corrosive soil
conditions:

(1) Capital Assets Program Coverage
Form (Output Policy);

(2) Commerciai Property Coverage Part
- Causes Of Loss - Special Form; or

(3) Farm Coverage Part - Causes Of
Loss Form - Farm Property, Para-
graph D. Covered Causes Of Loss -
Special.

C. The following is added and supersedes any
provisions to the contrary:

NONRENEWAL

1.

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Subject to the provisions of Paragraphs C.2.
and C.3. below, if we elect not to renew this
policy, we will mail or deliver written notice
stating the reason for nonrenewal to the first
Named insured shown in the Declarations
and to the producer of record, at least 60
days, but not more than 120 days, before the
expiration or anniversary date.

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lL 02 701104

We will mail or deliver our notice to the nrst
Named insured, and to the producer of re-
cord, at the mailing address shown in the pol-

icy.
Residential Property

This provision applies to coverage on real
property used predominantly for residential
purposes and consisting of not more than
four dwelling units, and to coverage on ten-
ants' household property contained in a resi-
dential unit if such coverage is written under
one of the following:

Capital Assets Program (Output Policy) Cov-
erage Part

Commerciai Property Coverage Part

Farm Coverage Part - Farm Property - Farm
Dwellings, Appurtenant Structures And
Household Personal Property Coverage Form

a. We may elect not to renew such cover-
age for any reason except as provided in
b., c. and d. below:

b. We will not refuse to renew such cover-
age solely because the first Named in-
sured has accepted an offer of earth-
quake coverage.

However, the following applies only to in-
surers who are associate participating in-
surers as established by Cai. lns. Code
Section 10089.16. We may elect not to
renew such coverage after the first
Named insured has accepted an offer of
earthquake coverage, if one or more of
the following reasons applies:

(1) The nonrenewal is based on sound
undenivriting principles that relate to
the coverages provided by this policy
and that are consistent with the ap-
proved rating plan and related docu-
ments Hled with the Department of
insurance as required by existing law;

(2) The Commissioner of insurance finds
that the exposure to potential losses
will threaten our solvency or place us
in a hazardous condition A hazard-
ous condition includes, but is not lim-
ited tol a condition in which we make
claims payments for losses resulting
from an earthquake that occurred
within the preceding two years and
that required a reduction in policy-
holder surplus of at least 25% for
payment of those claims; or

(3) We have:

(a) Lost or experienced a substantial
reduction in the availability or
scope of reinsurance coverage;
or

(b) Experienced a substantial in-
crease in the premium charged
for reinsurance coverage of our
residential property insurance
policies; and

the Commissioner has approved a
plan for the nonrenewals that is fair
and equitablel and that is responsive
to the changes in our reinsurance po-
sition.

c. We will not refuse to renew such cover-
age solely because the first Named ln-
sured has cancelled or did not renew a
policy, issued by the California Earth-
quake Authority that included an earth-
quake policy premium surcharge

d. We will not refuse to renew such cover-
age solely because corrosive soil condi-
tions exist on the premises. This Restric-
tion (d.) applies only if coverage is sub-
ject to one of the following which ex-
clude loss or damage caused by or re-
sulting from corrosive soil conditions:

(1) Capital Assets Program Coverage
Form (Output Policy);

(2) Commerciai Property Coverage Part
- Causes Of Loss - Special Form; or

(3) Farm Coverage Part - Causes Of
Loss Form - Farm Property, Para-
graph D. Covered Causes Of Loss -
Special.

3. We are not required to send notice of nonre-

newal in the following situations:

a. if the transfer or renewal of a policy, with-
out any changes in terms, conditionsl or
rates, is between us and a member of our
insurance group.

b. if the policy has been extended for 90
days or less, provided that notice has
been given in accordance with Paragraph
C.1.

c. if you have obtained replacement cover-
age, or if the first Named insured has
agreed, in writing within 60 days of the
termination of the policyl to obtain that
coverage.

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d.

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if the policy is for a period of no more
than 60 days and you are notified at the
time of issuance that it will not be re-
newed.

if the first Named insured requests a
change in the terms or conditions or risks
covered by the policy within 60 days of
the end of the policy period.

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if we have made a written offer to the
first Named insuredl in accordance with
the timeframes shown in Paragraph C.1.,
to renew the policy under changed terms
or conditions or at an increased premium
rate, when the increase exceeds 25%.

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TH|S ENDORSEMENT CHANGES THE POL|CY. PLEASE READ lT CAREFULLY.

EXCLUS|ON OF CERTA|N COMPUTER-RELATED LOSSES
DUE TO DATES OR T|MES

This endorsement modifies insurance provided under the following

BO|LER AND MACH|NERY COVERAGE PART
COMMERC|AL CR|i\/|E COVERAGE PART
COMMERC|AL |NLAND MAR|NE COVERAGE PART
COMMERC|AL PROPERTY COVERAGE PART
DELUXE PROPERTY COVERAGE PART

A. We will not pay for loss (“loss”) or damage
caused directly or indirectly by any of the follow-
ing Such loss (“loss") or damage is excluded
regardless of any other cause or event that
contributes concurrently or in any sequence to
the loss (“loss") or damage.

1. The failure, malfunction or inadequacy of:

a. Any of the following whether belonging
to any insured or to others;

(1) Computer hardware, including mi-
croprocessors;

(2) Computer application software;

(3) Computer operating systems and
related software;

(4) Computer networks;

(5) Microprocessors (computer chips)
not part of any computer system; or

(6) Any other computerized or elec-
tronic equipment or components; or

b. Any other productsl and any services,
data or functions that directly or indi-
rectly use or rely upon in any manner,
any of the items listed in Paragraph
A.1.a. of this endorsement

due to the inability to correctly recognize,
processl distinguish, interpret or accept one or
more dates or times. An example is the inability
of computer software to recognize the year
2000.

2. Any advice, consultation design evalua-
tion inspection, installation maintenance,
repair, replacement or supervision provided
or done by you or for you to determine,
rectify or test for, any potential or actual

problems described in Paragraph A.1. of
this endorsement.

if an excluded Cause of Loss as described in
Paragraph A. of this endorsement results:

1. in a Covered Cause of Loss under the
Boiler and Machinery Coverage Part the
Commerciai Crime Coverage Part or the
Commerciai inland l\/larine Coverage Part;
or

2. Under the Commerciai Property Coverage
Part:

a. in a "Specified Cause of Loss", in eleva-
tor collision resulting from mechanical
breakdown or from theft (if insured) un-
der the Causes of Loss - Special Form;
or

b. in a Covered Cause of Loss under the
Causes of Loss - Basic Form or the
Causes of Loss - Broad Form; or

3. ln a "Specified Cause of Loss", in elevator
collision resulting from mechanical break-
down or from theft under the Deluxe Prop-
erty Coverage Part;

we will pay only for the loss (“loss”) or damage
caused by such "Specified Cause of Loss", ele-
vator collision theft or a Covered Cause of
Loss.

We will not pay for repair, replacement or
modification of any items in Paragraphs A.1.a.
and A.1.b. of this endorsement to correct any
deficiencies or change any features.

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§ TRAin.ERs
150 BALDWIN STREET SUITE A
ELMIRA NY 14901 LENDER'S CERT|F|CATE OF
iNSURANCE- FORM A
issue Date: 10-18-06
1. CERT|F|CATE HOLDER: Policy Number: I-660-3905B356-TCT-06

MIDLAND LOAN SERVICES, INC.
AND AS PER CP T8 00
NCCI-026-06-01

900 WEST TRADE STREET, STE 650
CHARLOTTE NC 28255

2. NAMED|NSURED: COLLEGESOURCE, INC
HARRY G. COOPER. TRUSTEE OF
8090 ENGINEER ROAD

SAN DIEGO CA 92111

3. CERT|F|CATlON - We certify that we have issued the policy to the Named insured for the policy period as
identified in this Certificate. Notwithstanding any requirements, terms or conditions of any contract or other
document with respect to which this Certificate may be issued, the insurance is that which we customarily
provide for the coverage indicated in item 6. below. This Certificate is issued as a matter of information only
and does not amend, extend or alter the coverage afforded by the policy.

4. POL|CY PER|OD: 11-25-06 to 11-25-07
5_ |NSUR|NG COMpANY; THE TRAVELERS INDEMNITY COMPANY OF CONNECTICUT

6. lNSURANCE

Buiidings or Personal Property - The policy names the Certificate Ho|der as a Loss Payee, according to its
Loss Payable Provisions (copy attached), for the property described below:

Loc. Bldg.
No. No. Description of Property Limit of insurance Ded.
1 1 BUSINESS PERSONAL PROPERTY $ 921, 985 $ 1, 000
Coverage - Covered Causes of Loss: Basic Form Broad Form X Special Form

Deiuxe Property Form

7. SPEC|AL PROV|S|ONS (if any)3

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8. NOTiCE OF CANCELLAT|ON - if we elect to cancel the policy or the Coverage Part which applies to the
property described in item 6. of this Certificate, we will mail to the Certificate Ho|der written notice at least
10 days before the date our cancellation takes effect if more than 10 days notice to the Certificate Ho|der is

provided in this Certificate or is required by iaw, we will mail written notice according to such provision or
requirement

9. DEF|N|T|ONS - As defined in the policy, the words "we," "us" and "our" refer to the Company providing this
insurance. The words "you" and "your" refer to the Named insured shown in the Declarations of the policy.

BY: w £. h/»¢D'r~

Signature of Authorized Representative

lL T010 04 94 Page 2 of 2

 

 

 

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TRAVELERS
guime sTREET sums A LENDER'S CERT|F|CATE oF
ELMIRA mr 14901 lNSURANCE-FORM B
issue Date: 10-13'05
1. CERT|F|CATE HOLDER: Policy Number:1-550_390513355_'1'¢'1'-06

MIDLAND LOAN SERVICES, INC
AND AS PER CP TB 00
NCCI-026-06-01

900 WEST TRADE STREET, STE 650
CHARLOTTE NC 28255

2. NAMED|NSURED: COLLEGESOURCE, INC
HARRY G. COOPER. TRUSTEE OF
8090 ENGINEER ROAD

sAN DIEGo CA 92111

3. CERT|F|CAT|ON - We certify that we have issued the policy to the Named insured for the policy period as
identified in this Certificate. Notwithstanding any requirements, terms or conditions of any contract or other
document with respect to which this Certificate may be issued, the insurance is that which we customarily
provide for the coverage indicated in item 6. below. This Certificate is issued as a matter of information only
and does not amendl extend or alter the coverage afforded by the policy.

4. POL|CY PER|OD: From 11-25-06 to 11-25-07
5. lNSURlNG COMPANY: THE TR.AVELERS INDEMNITY COMPAN'Y OF CONNECTICUT

6. lNSURANCE

Buildings or Buiidings Under Construction-The policy names the Certificate Ho|der as a Mortgagee,
according to the Mortgage Ho|der Conditions on page 2, for the buildings described beiow:

Loc. Bldg. Limit of Coins
No. No. Address insurance %
1 1 8090 ENG:NEER Rom) $ 633,195 100
SAN DIEGO CA 92111
Coverage - Covered Causes of Loss: Basic Form Broad Form X Special Form

Deluxe Property Form

7. SPEC|AL PROV|S|ONS (if any)

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8. DEF|N|T|ONS - As defined in the policy, the words ’we,’ ’us’ and ’our' refer to the Company providing this

insurance. The words ’you’ and ’your’ refer to the Named insured shown in the Declarations of the policy.

BY: we g M¢¢B’r\

Signature of Authorized Representative

 

MORTGAGE HOLDER COND|T|ONS- BUlLDiNGS ONLY

The term, mortgage holder, includes trustee.

. We will pay for covered loss of or damage to
buildings or structures to each mortgage holder
shown in the Declarations in their order of
precedence, as their interests may appear.

The mortgage holder has the right to receive loss
payment even if the mortgage holder has started
foreclosure or similar action on the building or
structure.

if we deny your claim because of your acts or
because you have failed to comply with the
terms of this Coverage Part the mortgage holder
Will still have the right to receive loss payment if
the mortgage holder:

(1) Pays any premium due under this Coverage
Part at our request if you have failed to do
so;

(2) Submits a signed, sworn statement of loss
within 60 days after receiving notice from us
of your failure to do so; and

(3) Has notified us of any change in ownership,
occupancy or substantial change in risk
known to the mortgage holder.

All of the terms of this Coverage Part will then
apply directly to the mortgage holder.

|LT01103 96

e.

if we pay the mortgage holder for any loss or
damage and deny payment to you because of
your acts or because you have failed to comply
with the terms of this Coverage Part;

(1) The mortgage hoider's right under the
mortgage will be transferred to us to the ex-
tent of the amount we pay; and

(2) The mortgage hoider's right to recover the
full amount of the mortgage hoider's claim
will not be impaired.

At our option, we may pay to the mortgage
holder the whole principal on the mortgage plus
any accrued interest in this event your
mortgage and note will be transferred to us and
you will pay your remaining mortgage debt to us.

if we cancel this policy, we will give written notice
to the mortgage holder at least

(1) 10 days before the effective date of cancella-
tion if we cancel for your nonpayment of
premium; or

(2) 30 days before the effective date of cancella-
tion if we cancel for any other reason

if we elect not to renew this policy, We will give
written notice to the mortgage holder at least 10
days before the expiration date of this policy.

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POLlCYHOLDER NOTiCES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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POL|CYHOLDER NOTiCES

 

 

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lMPORTANT NOTiCE REGARD|NG |NDEPENDENT AGENT
AND BROKER COMPENSAT|ON

For information about how St. Paul Travelers compensates independent agents and brokers, please visit
www.StPaulTravelers.com, or you may request a written copy from l\/larketing at One Tower Square, 2GSA,
Hartford, Connecticut 06183.

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lMPORTANT NOTiCE TO POL|CYHOLDERS

COMMERC|AL PROPERTY COVERAGE PART
FUNGUS, ROT, BACTER|A AND OTHER CAUSES OF LOSS CHANGES

NO COVERAGE lS PROV|DED BY TH|S SUMMARY NOR CAN |T BE CONSTRUED TO REPLACE ANY
PROV|S|ONS iN YOUR POL|CY. YOU SHOULD READ YOUR POL|CY CAREFULLY TO DETERM|NE YOUR
R|GHTS, DUT|ES AND WHAT |S AND lS NOT COVERED. |F THERE lS ANY CONFL|CT BEWTEEN THE
POL|CY AND TH|S SUMMARY, THE PROV|S|ONS OF THE POL|CY SHALL PREVA|L.

PLEASE READ TH|S NOTiCE CAREFULLY.
CP T3 68 01 03 - Fungus, Rot, Bacteria and Other Causes of Loss Changes
When this endorsement is attached to your policy:

’ Loss caused by "fungus" (which is newly defined and encompasses mold)l wet and dry rot and bacteria is
excluded unless the "fungus", wet rot dry rot and bacteria results from fire, lightning or another specified
cause of loss. When the "fungus", wet rot dry rot and bacteria results from a specified cause of loss, other
than Hre or lightning

' Direct damage loss is subject to a $15,000 annual aggregate limit unless another limit is indicated in the
Schedule of the endorsement for Limited "Fungus", Wet Rot, Dry Rot and Bacteria - Direct Damage cov-
erage.

° Loss of Business income and/or Extra Expense (when such coverage is included in your policy) caused
by a business interruption attributable to the "fungus", wet rot dry rot and bacteria is covered subject to a
30 day period of restoration The 30 days do not have to be consecutive days, if the "fungus", wet rot dry
rotor bacteria prolongs a business interruption that is attributable to other damage, the loss/expense sus-
tained during the delay is covered for up to 30 days (regardless of when the delay occurs during the pe-
riod of restoration and not necessarily consecutive days), if another number of days is indicated in the
Schedule of the endorsement for Limited "Fungus", Wet Rot, Dry Rot and Bacteria - Business ln-
come/Extra Expense, the above references to "30 days" are replaced by the number of days indicated in
the Schedule.

' Any Ordinance or Law coverage or Ordinance or Law - increased Period of Restoration coverage included in
the policy is amended to specifically exclude loss due to enforcement any ordinance or law which requires the
demolition repair, replacement reconstruction remodeling or remediation of property due to the presence,
growth, proliferation spread or any activity of "fungus", wet rot dry rotor bacteria, or requires you or others to
test for, monitor, clean up, remove, contain, treat detoxify or neutralize, or in any way respond to, or assess
the effects of "fungus", wet rot, dry rotor bacteria,

if you have any questions about your insurance program, please contact your Agent.

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COMMERC|AL PROPERTY lNSURANCE
REV|S|ONS TO THE COMMERC|AL PROPERTY COVERAGE PART

lMPORTANT NOTiCE TO POL|CYHOLDERS

This is a summary of the major changes in your Commerciai Property Coverage Part. lt contains a brief synopsis
of the significant broadenings and restrictions that were made in each of the Coverage Forms, Causes of Loss
Forms and Coverage Endorsements shown below, lt does n_ot attempt to include every clarification or editorial
change made in these forms and endorsements The summary is organized by individual Coverage Forms,
Causes of Loss Forms and Coverage Endorsements, however, not all Coverage Forms, Causes of Loss
Forms, or Coverage Endorsements are included in a particular policy.

NO COVERAGE lS PROV|DED BY TH|S SUMMARY, NOR CAN |T BE CONSTRUED TO
REPLACE ANY PROV|S|ON OF YOUR POL|CY. YOU SHOULD READ YOUR ENT|RE POL-
|CY CAREFULLY AND REV|EW YOUR DECLARAT|ONS PAGE FOR COMPLETE |NFOR-
MAT|ON ON THE COVERAGES YOU ARE PROV|DED AND TO DETERM|NE YOUR
R|GHTS AND DUT|ES. PLEASE CONTACT YOUR AGENT WlTH ANY QUEST|ONS, OR iF
YOU DES|RE ANY CHANGES lN YOUR POL|CY. lF THERE lS ANY CONFL|CT BETWEEN
THE POL|CY AND TH|S SUMMARY, lE PROV|S|ONS OF TH§POL|CY SHAL_|__ PREVA|L.

PROPERTY DAMAGE COVERAGE FORMS

BROADENED FEATURES OF BUlLD|NG AND PERSONAL PROPERTY COVERAGE FORM (CP T1 00 01 03)l
CONDOM|N|UM ASSOC|AT|ON COVERAGE FORM jCP T1 01 01 03i AND CONDOM|N|UM COMMERC|AL
UNiT-OWNERS COVERAGE FORM (CP T1 02 01 03i

1. Your Business Personal Property and Personal Property of Others is now covered if located in the open
within 1,000 feet of the described premises. Previously, this property had been covered if located within 500
feet

2. Your Business Personal Property now includes leased personal property if you have a contractual responsibil-
ity to insure it.

3. All watercraft owned by you while out of the water at a described premises are now covered.

4. The additional amount of Debris Removai coverage which applies when the sum of direct physical loss and
debris removal expense exceeds the Limit of insurance or when the debris removal expense exceeds the
amount payable under the 25% limitation in the Debris Removai Additional Coverage has been amended to
$25,000 at each premises Also, a Limit of insurance equal to at least 80% of the total value of the Covered
Property is no longer required for this additional amount to apply.

5. The Pollutant Clean-Up and Removai Additional Coverage has been increased from $10,000 to $25,000.

6. The Presen/ation of Property Additional Coverage has been expanded to include the necessary and reason-
able expenses incurred to remove Covered Property from the described premises, temporarily store it at an-
other location and move it back to the described premises to preserve it from loss or damage.

7. The Fire Department Service Charge Additional Coverage has been increased from $1,000 to $5,000 in any
one occurrence

8. The Reward Coverage Additional Coverage has been increased from $1,000 to $5,000 in any one occurrence
and the policy deductible no longer applies.

9. The increased Cost of Construction or Repair Additional Coverage has been added if the Replacement Cost
Optional Coverage has been selected in the event of covered damage to a building it provides up to $10,000
coverage for the increased costs incurred to comply with the enforcement of a building ordinance or law in the
course of repair, rebuilding or replacement of damaged parts of the property.

Note: This Additional Coverage does not apply to the Condominium Commerciai Unit-Owners Coverage Form
(CP T1 02 01 03)

 

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10. A new Additional Coverage has been added for Fire Protective Equipment Discharge, if a fire protective sys-
tem discharges, this provides up to $5,000 to refill or recharge the system, or to replace or repair faulty valves
or controls.

11. The Newly Acquired or Constructed Property Coverage Extension now applies to all new buildings, regard-
less of occupancy.

12. The theft restriction for Personal Effects has been removed. The sub-limit for Personal Property of Others has
been increased from $500 to $2,500 for employees. The limit for Personal Effects and for Personal Property
of Others has been increased from $5,000 to $10,000.

13. The Valuable Papers And Records - Cost of Research Coverage Extension has been increased from $5,000
to $10,000. A definition of Valuable Papers and Records has also been included.

14. The Property Off-Premises Coverage Extension has been expanded to include coverage for stock, Personal
Property of Others, property at any fair, trade show or exhibit and property at installation premises or tempo-
rarily at a storage premises while awaiting installation Coverage for Property Off-Premises has been in-
creased from $5,000 to $25,000 per occurrence at all off-premises locations, except for property at installation
premises or awaiting installation which is $10,000.

15. The limit for most items included iri the Outdoor Property Coverage Extension has been amended from
$5,000 at each described premises to $10,000 per occurrence. (The sub-limit of $500 for any one tree, shrub
or plant remains unchanged, while the sub-limit for any one antenna is increased from $1.000 to $2,500). in
addition this $10,000 limit may also be used to cover Debris Removai of covered outdoor property.

16. The Claim Data Expense Coverage Extension has been increased from $1,000 to $2,500 in any one occur-
rence.

17. The Extra Expense Coverage Extension has been increased from $1,000 to $2,500. in addition coverage has
been expanded to include Expediting Expenses.

18. A new Coverage Extension has been added for Accounts Receivabie This provides up to $10,000 coverage
for loss or damage to Accounts Receivabie records.

19. A new Coverage Extension has been added for Non-Owned Detached Trailers. This provides up to $5,000
coverage for loss or damage to certain non-owned trailers or semi-traiiers in your care, custody or control.

20. Coverage for all outdoor signs is now provided in the amount of $2,500 per occurrence under the new Out-
side Signs Coverage Extension. Coverage has been expanded to include all Covered Causes of Loss. Previ-
ous coverage had been in the amount of $1,000 and had been limited in some cases to specified causes of
loss.

21. A new Coverage Extension has been added for Covered Property in Transit This provides up to $10,000 cov-
erage for property in due course of transit at your risk within the Coverage Territory, subject to certain restric-
tions and exclusions,

22. A new Coverage Extension has been added for Duplicate Electronic Data Processing Data and Media. This
provides up to $10,000 for covered loss or damage to duplicate EDP data or media while stored in a sepa-
rate, unattached building from where the original EDP data and media is stored,

23. A new Coverage Extension has been added for Electronic Data Processing Equipment and Data and Media -
Limited. This provides up to $10,000 for covered loss or damage to EDP items when a limit is shown in the
Declarations for Your Business Personal Property, but not for EDP Equipment or EDP Data and Media.

24. A new Coverage Extension has been added for Theft Damage To Rented Property. This provides coverage
for damage to non-owned buildings caused by theft or attempted theft under certain circumstances This
Coverage Extension does not apply to the Condominium Association Coverage Form (CP T1 01 01 03).

25. The Replacement Cost Optional Coverage has been expanded by specifically including necessary and rea-
sonable architectural, engineering consulting or supervisory fees incurred in the repair or rebuilding of dam-
aged buildings

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RESTR|CT|VE FEATURES OF BUlLD|NG AND PERSONAL PROPERTY COVERAGE FORM CP T1 00 01 03
CONDOM|N|UM ASSOC|AT|ON COVERAGE FORM CP T1 01 01 03 AND CONDOM|N|UM COMMERC|AL j
UN|T-OWNERS COVERAGE FORM (CP T1 02 01 03)

1. Coverage for newly acquired personal property items under the Newly Acquired or Constructed Property Cov- l
erage Extension has been amended from $250,000 at each building to $250,000 total in any one occurrence
at each location

 

 

2. The Temporary Relocation of Property Coverage Extension no longer applies to all Covered Property. Cover-
age now applies to all Personal Property for which a Limit of insurance is shown in the Declarations in addi-
tion the limit has been amended from $50,000 at each temporary location to $50,000 in any one occurrence

3. Payment under the Claim Data Expense Coverage Extension does not include expenses incurred, directed,
or billed by or payable to attorneys insurance brokers or agents or their associates or subsidiariesl without
our written consent prior to such expenses being incurred.

The Replacement Cost Optional Coverage no longer applies to vacant buildings.
5. The cost of restoring land or water has been added to Property Not Covered.

BROADENED FEATURES OF BUlLDERS R|SK COVERAGE FORM iCP T1 03 01 03)

1. Covered Property is now covered if intended to be permanently located within 1,000 feet of the described
premises Previously, this property had been covered if located within 500 feet This expanded distance also
applies to materials and supplies used for construction

2. The additional amount of Debris Removai coverage which applies when the sum of direct physical loss and
debris removal expense exceeds the Limit of insurance or when the debris removal expense exceeds the
amount payable under the 25% limitation in the Debris Removai Additional Coverage has been amended to
$25,000 at each premises Also, a Limit of insurance equal to at least 80% of the total value of the Covered
Property is no longer required for this additional amount to apply.

3. The Poliutant Clean-Up and Removai Additional Coverage has been increased from $10,000 to $25,000.

The Preservation of Property Additional Coverage has been expanded to include the necessary and reason-
able expenses incurred to remove Covered Property from the described premises, temporarily store it at an-
other location and move it back to the described premises to preserve it from loss or damage.

5. The Fire Department Service Charge Additional Coverage has been increased from $1,000 to $5,000 in any
one occurrence.

6. The Reward Coverage Additional Coverage has been increased from $1,000 to $5,000 in any one occurrence
and the policy deductible no longer applies

7. Building materials and supplies of others are now covered if located within 1,000 feet of the described prem-
ises Previously, this property had been covered if located within 500 feet

8. The Claim Data Expense Coverage Extension has been increased from $1,000 to $2,500 in any one occur-
rence.

9. A new Coverage Extension has been added for Plans and Records lt provides up to $5,000 in any one oc-
currence for expenses to reconstruct replace or restore blueprints, plans, abstracts or drawings lost or dam-
aged by a Covered Cause of Loss No deductible applies

10. A new Coverage Extension has been added for Additional Cost of Construction Labor and l\/laterials lt pro-
vides coverage to pay any additional labor or material costs incurred to repair or rebuild covered loss or dam-
age to a building The limit per occurrence is 5% of the Limit of insurance for the building or $25,000, which-
ever is less

11. A new Coverage Extension has been added for Property in Transit This provides up to $10,000 coverage for
building materials and supplies equipment, machinery and fixtures intended to become a permanent part of
the building under construction in due course of transit on vehicles you own, lease or operate within the Cov-
erage Territory. Coverage is based on specined perils and is subject to some restrictions

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RESTR|CT|VE FEATURES OF BUlLDERS R|SK COVERAGE FORM (CP T1 03 01 03)

1. Payment under the Claim Data Expense Coverage Extension does not include expenses incurred, directed,
or billed by or payable to attorneys insurance brokers or agents or their associates or subsidiaries without
our written consent prior to such expenses being incurred.

2. The When Coverage Ceases Additional Condition has been amended. lt use to provide that coverage will
end 90 days after construction is complete. This time limit has been amended to 30 days, unless we specify
another time limit in writing

BUS|NESS lNTERRUPT|ON CCVERAGE FORMS

BROADENED FEATURES OF BUS|NESS lNCOME (AND EXTRA EXPENSE) COVERAGE FORM
|CP T1 04 01 03i

1. Business income loss sustained due to loss or damage to property in the open or in a vehicle is now covered
if the property is located within 1,000 feet of the described premises in the previous form, this property had to
be located within 500 feet of the described premises

2. Extra Expense coverage now includes Expediting Expenses
3. `The Alterations and New Buildings Additional Coverage has been expanded to include Extra Expense.

The Civil Authority Additional Coverage has been expanded to now cover any reasonable and necessary Ex-
tra Expense you incur.

5. The Newly Acquired Locations Coverage Extension has been increased from $100,000 to $250,000 in any
one occurrence at each location

6. A new Coverage Extension for Claim Data Expense has been added in the amount of $2,500.

7. A new Additional Coverage has been added for Delayed Net income Loss We will now pay for the actual loss
of Net income (Net Profit or Loss before income taxes) you sustain due to the suspension of your operations
resulting in a loss in the value of production which occurs beyond the period of restoration and any Extended
Business income time period.

RESTR|CT|VE FEATURES OF BUS|NESS lNCOME (AND EXTRA EXPENSE) COVERAGE FORM
iCP T1 04 01 03|

1. Reasonable and necessary Extra Expense to research, replace or restore the lost information on damaged
Valuable Papers and Records is no longer covered.

 

2. Coverage under the Civil Authority Additional Coverage now only applies if the civil authority action is due to
loss or damage to property at locations, other than the described premises, that are within 100 miles of the
described premises in addition coverage now begins 72 hours after the civil authority action takes place.
(This 72 hour time period does not apply to Extra Expense coverage).

3. Business income and Extra Expense losses resulting from damage to electronic media or records were previ-
ously limited to a period of 60 days, Under the new interruption of Computer Operations Additional Coverage,
these losses are limited to a total of $25,000 for each separate 12-month period of this policy.

4. The Period of Restoration for Business income coverage now begins 72 hours after the time of direct physical
loss or damage. (This 72 hour time period does not apply to Extra Expense coverage).

BROADENED FEATURES OF BUS|NESS lNCOME lWiTHOUT EXTRA EXPENSEi COVERAGE FORM
jCPT109 01 03|

1. Business income loss sustained due to loss or damage to property in the open or in a vehicle is now covered
if the property is located within 1,000 feet of the described premises in the previous form, this property had to
be located within 500 feet of the described premises,

2. The Newly Acquired Locations Coverage Extension has been increased from $100,000 to $250,000 in any
one occurrence at each location

3. A new Coverage Extension has been added for Claim Data Expense in the amount of $2,500.

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4. A new Additional Coverage has been added for Delayed Net income Loss We will now pay for the actual loss
of Net income (Net Profit or Loss before income taxes) you sustain due to the suspension of your operations
resulting in a loss in the value of production which occurs beyond the period of restoration and any Extended
Business income time period. .

RESTR|CT|VE FEATURES OF BUS|NESS lNCOME (WiTHOUT EXTRA EXPENSE) COVERAGE FORM
jCP T1 09 01 03)

1. Coverage under the Civil Authority Additional Coverage now only applies if the civil authority action is due to
loss or damage to property at locationsl other than the described premises, that are within 100 miles of the
described premises in addition coverage now begins 72 hours after the civil authority action takes place.

2. Business income losses resulting from damage to electronic media or records were previously limited to a
period of 60 days. Under the new interruption of Computer Operations Additional Coverage, these losses are
limited to a total of $25,000 for each separate 12-month period of this policy.

3. The Period of Restoration for Business income coverage now begins 72 hours after the time of direct physical
loss or damage.

BROADENED FEATURES OF EXTRA EXPENSE COVERAGE FORM (CP T1 12 01 03)

1. Extra Expense loss sustained due to loss or damage to property in the open or in a vehicle is now covered if
the property is located within 1,000 feet of the described premises in the previous'form, this property had to
be located within 100 feet of the described premises

2. Extra Expense coverage now includes Expediting Expense.
3. Coverage under the Civil Authority Additional Coverage has been expanded from two weeks to three weeks

4. The limit available for Extra Expense in the Newly Acquired Locations Coverage Extension had been 10% of
the Limit of insurance for Extra Expense shown in the Declarationsl up to $100,000. The 10% limitation has
been removed and the limit is now $100,000 in any one occurrence at each newly acquired location The
number of days when coverage under this Coverage Extension ends has been expanded from 30 days to 90
days

5. A new Coverage Extension has been added for Claim Data Expense in the amount of $2,500.

RESTR|CT|VE FEATURES OF EXTRA EXPENSE COVERAGE FORM iCP T1 12 01 03)

1. Reasonable and necessary Extra Expense to research, replace or restore the lost information on damaged
Valuable Papers and Records is no longer covered.

2. Coverage under the Civil Authority Additional Coverage now only applies if the civil authoiity action is due to
loss or damage to property at locations, other than the described premisesl that are within 100 miles of the
described premises

3. Extra Expense losses resulting from interruption of Computer Operations are now limited to $25,000 for each
separate 12-month period of this policy.

BROADENED FEATURES OF BUS|NESS iNCOil/|E (AND EXTRA EXPENSE) COVERAGE FORM PLUS
|CP T3 58 01 03|

1. Business income loss sustained due to loss or damage to property in the open or in a vehicle is now covered
if the property is located within 1 ,000 feet of the described premises in the previous form, this property had to
be located within 500 feet of the described premises

2. The Alterations and New Buildings Additional Coverage has been expanded to include Extra Expense.

3. A new Additional Coverage has been added for Delayed Net income Loss We will now pay for the actual loss
of Net income (Net Profit or Loss before income taxes) you sustain due to the suspension of your operations
resulting in a loss in the value of production which occurs beyond the period of restoration plus any Extended
Business income time period.

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RESTR|CT|VE FEATURES OF BUS|NESS lNCOME (AND EXTRA EXPENSE) COVERAGE FORM PLUS
(CP T3 58 0103|

1. Reasonable and necessary Extra Expense to research, replace or restore the lost information on damaged
Valuable Papers and Records is no longer covered.

2. Coverage under the Civil Authority Additional Coverage now only applies if the civil authority action is due to
loss or damage to property at locations, other than the described premises, that are within 100 miles of the
described premises Coverage applies for a period of up to three consecutive weeks The previous form pro-
vided coverage for thirty consecutive days Coverage for Extra Expense ends when your Business income
coverage ends The previous form provided this coverage for thirty consecutive days

3. Payment under the Claim Data Expense Coverage Extension does not include expenses incurred, directed,
or billed by or payable to attorneys insurance brokers or agents or their associates or subsidiaries without
our written consent prior to such expenses being incurred,

4. Business income and Extra Expense losses resulting from damage to electronic media or records were previ-
ously limited to a period of 60 days. Under the new interruption of Computer Operations Additional Coverage,
these losses are limited to a total of $25,000 for each separate 12-month period of this policy.

5. The Limit of insurance under the Contract Penalty Clause Coverage Extension has been changed from
$25,000 per occurrence to $25,000 for each separate 12-month period of this policy.

CHANGES iN GLASS COVERAGE

The Giass Coverage Forml CP T1 05, and Giass Coverage Schedule, CP 19 15, are withdrawn The effect on
coverage varies in accordance with the scenarios that follow.

The Commerciai Property Coverage Part includes coverage for glass that is part of a building insured under
this policy. The Covered Causes of Loss for such Covered Property are determined by the applicable Causes
of Loss Form.

° if your previous policy did n_ot include the Giass Coverage Form (CP T1 05), then either explanation

(A) or (B) applies:

(A) if the Covered Property is subject to the Causes of Loss - Basic Form (CP T1 06) or Causes of
Loss - Broad Form (CP T1 07), coverage is broadened in that the vandalism cause of loss no
longer contains an exception for glass property. Under CP T1 07. coverage is reduced, in that
the $1,000 Additional Coverage - Breakage of Giass (applicabie to causes of loss not otherwise
covered under CP T1 07) is eliminated.

(B) if the Covered Property is subject to the Causes of Loss - Special Form (CP T1 08), coverage on
glass is broadened. Coverage under CP T1 08 is expanded to include glass breakage caused by
a cause of loss that is not otherwise excluded, and damage caused by chemicals applied to
glass (The coverage for glass breakage is accomplished by removal of a previous limitation.)
The new edition of CP T1 08 also includes an Additional Coverage Extension pertaining to tem-
porary plates and removal of obstructions

° if your previous policy included Giass Coverage Form CP T1 05 and Covered Property is subject to
the Causes of Loss - Special Form (CP T1 08) under your new policy coverage for glass breakage is
reduced in that CP T1 08 does not cover earthquake or flood. But if your policy is endorsed to cover
earthquake and flood (separate endorsements), then glass coverage under the new policy is substan-
tially equivalent to the old.

CAUSES OF LOSS FORMS
BROADENED FEATURES OF CAUSES OF LOSS - BAS|C FORM iCP T1 06 01 03)

1. On the previous form, loss or damage to glass that is part of a building structure or outside sign due to van-
dalism was not covered. That exclusion has been removed and loss or damage to building glass is now cov-
ered if caused by any Covered Cause of Loss and Outside Signs are covered under the Outside Signs Cov-
erage Extension in the Building and Personal Property Coverage Form, Condominium Association Coverage
Form or Condominium Commerciai Unit-Owners Coverage Form up to $2,500 in any one occurrence,

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RESTR|CT|VE FEATURES OF CAUSES OF LOSS - BAS|C FORM (CP T1 06 01 03)

1. The following has been added to the Exclusions. We will not pay for loss or damage caused by or resulting
from continuous or repeated seepage or leakage of waterl or the presence or condensation of humidity, mois-
ture or vapor, that occurs over a period of 14 days or more

2. The following Exclusion has been added. We will not pay for loss or damage caused by or resulting from ne-
glect of an insured to use all reasonable means to save and preserve property from further damage at and af-
ter the time of loss

3. The following Exclusion has been added for any Business income or Extra Expense coverage We will not
pay for any loss caused by or resulting from direct physical loss or damage to the following property while
outside of buildings:

a. Harvested grain, hay, straw, or other crops

b. Outdoor trees, shrubs, plants, lawns (including fairways, greens and tees), growing crops land or wa-
ter.

c. Radio or television antennas (including microwave or satellite dishes) and their lead-in wiring masts
or towers

4. The previous policy contained a Limitation of coverage for vacant property. However, that Limitation did not
apply if the vacant property was identined in the Declarations That Limitation now applies to any vacant prop-
erty, even if it has been identified in the Declarations

5. The following Exclusion has been added for any Business income or Extra Expense coverage We will not
pay for any loss caused directly or indirectly by the failure or fluctuation of power or other utility service sup-
plied to the described premises, however caused, if the failure or fluctuation occurs outside of a covered
building

But if the failure or fluctuation of power or other utility service results in loss or damage by a specified cause
of loss we will pay for that loss or damage resulting from that specified cause of loss

BROADENED FEATURES OF CAUSES OF LOSS - BROAD FORM iCP T1 07 01 03i

1. On the previous form, loss or damage to glass that is part of a building structure or outside sign due to van-
dalism was covered for a limited dollar amount That limitation has been removed and loss or damage to
building glass is now covered if caused by any Covered Cause of Loss and outside signs are covered under
the Outside Signs Coverage Extension in the Building and Personal Property Coverage Form, the Condomin-
ium Association Coverage Form and the Condominium Commerciai Unit-Owners Coverage Form up to
$2,500 in any one occurrence

2. On the previous forrn loss or damage to gutters and downspouts due to the weight of snow, ice or sleet was
excluded. This exclusion has been removed.
RESTR|CT|VE FEATURES OF CAUSES OF LOSS - BROAD FORM (CP T1 07 01 03)

1. The following Exclusion has been added. We will not pay for loss or damage caused by or resulting from ne-
glect of an insured to use all reasonable means to save and preserve property from further damage at and af-
ter the time of loss

2. The following Exclusion has been added for any Business income or Extra Expense coverage We will not
pay for any loss caused by or resulting from direct physical loss or damage to the following property while
outside of buildings:

a. Harvested grain, hay, straw, or other crops

b. Outdoor trees shrubs, plants, lawns (including fain/vays, greens and tees), growing crops, land or wa-
ter.

c. Radio or television antennas (including microwave or satellite dishes) and their lead-in wiring masts
or towers

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3.

The previous form contained a Limitation of coverage for vacant property. However, that Limitation did not
apply if the vacant property was identified in the Declarations This Limitation now applies to any vacant prop-
erty, even if it has been identified in the Declarations

The following Exclusion has been added for any Business income or Extra Expense coverage, We will not
pay for any loss caused directly or indirectly by the failure or fluctuation of power or other utility service sup-
plied to the described premises however caused, if the failure or fluctuation occurs outside of a covered
building

But if the failure or fluctuation of power or other utility service results in loss or damage by a specified cause
of loss we will pay for that loss or damage resulting from that specified cause of loss

BROADENED FEATURES OF CAUSES OF LOSS - SPEC|AL FORM (CP T1 08 01 03|

The Legai Proceedings Exclusion has been deleted.

An exception has been added to the exclusion for loss or damage due to the dischargel dispersal, seepage,
migration release or escape of pollutants unless caused by a specified cause of loss lt does not apply to
damage to glass caused by chemicals applied to the glass.

On the previous form, loss or damage to gutters and downspouts due to the weight of snow, ice or sleet Was
excluded. This exclusion has been removed.

On the previous form, loss or damage to glass that is part of a building or structure was covered for a limited
dollar amount unless the loss was caused by a specified cause of loss This limitation has been removed and
loss or damage to building glass is now covered if caused by any Covered Cause of Loss

The previous form limited coverage on builders' machineryl tools and equipment to losses due to building
glass breakage or a specified cause of loss unless the property was located on the described premises This
has been expanded to cover this property if located on or within 1,000 feet of the described premises

For certain types of property, losses due to theft are subject to a dollar limitation These theft coverage
amounts are increased as follows:

a. $2,500 to $5,000 for furs fur garments and garments trimmed with fur.

b. $2,500 to $5,000 forjewelry, watches jewels pearls, precious stones and similar items

c. $5,000 to $25,000 for patterns dies molds and forms.

d. $250 to $1,000 for stamps tickets including lottery tickets held for salel and letters of credit

The previous form limited coverage on valuable papers and certain types of EDP data and media to losses
due to building glass breakage or a specified cause of loss This limitation has been removed.

An Additional Coverage Extension for glass has been added. if there is loss or damage to covered glass we
will now pay for expenses incurred to put up temporary plates or board up openings if repair or replacement of
damaged glass is delayed and we will pay for expenses incurred to remove or replace obstructions when re-
pairing or replacing glass that is part of a building

RESTR|CT|VE FEATURES OF CAUSES OF LOSS - SPEC|AL FORM (CP T1 08 01 03 l

1.

The following Exclusion has been added We will not pay for loss or damage caused by or resulting from ne-
glect of an insured to use all reasonable means to save and preserve property from further damage at and af-
ter the time of loss

An Exclusion has been added for loss or damage to personal property caused by changes in flavorl color,
texture or finish.

An Exclusion has been added for loss or damage to personal property caused by evaporation or leakage
An Exclusion has been added for loss or damage caused by contamination by other than pollutants

The following has been added to the Exclusions. Loss or damage due to the presence or condensation of
humidity, moisture or vapor, which occurs over a period of 14 days or more.

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6. The previous form excluded loss or damage due to voluntary parting with any property if induced to do so by
any fraudulent scheme, trick, device or false pretense These conditions have been removed and any volun-
tary parting with property is now excluded,

7. An Exclusion has been added for the cost of correcting or making good the damage to personal property at-
tributable to such property being processedl manufactured, tested, repaired, restored, retouched or otherwise
being worked upon

8. The exception stating that the fragile articles limitation did not apply to photographic or scientific instrument
lenses has been deleted. Loss or damage to these items is now excluded unless caused by building glass
breakage or a specified cause of loss

9. The following Exclusion has been added for any Business income or Extra Expense coverage, We will not
pay for any loss caused directly or indirectly by the failure or fluctuation of power or other utility service sup-
plied to the described premises, however caused, if the failure or fluctuation occurs outside of a covered
building
But if the failure or fluctuation of power or other utility service results in loss or damage by a specified cause
of loss we will pay for that loss or damage resulting from that specified cause of loss.

10. The following Exclusion has been added for any Business income or Extra Expense coverage We will not
pay for any loss caused by or resulting from direct physical loss or damage to the following property while
outside of buildings:

a. Harvested grain, hay, straw, or other crops

b. Outdoor trees shrubs plants lawns (including fairways, greens and tees), growing crops land or wa-
ter.

c. Radio or television antennas (including microwave or satellite dishes) and their lead-in wiring masts
or towers

COVERAGE ENDORSEMENTS
BROADENED FEATURES OF CAUSES OF LOSS - BROAD FORM FLOOD ENDORSEMENT iCP T3 02 01 03)

1. A new Additional Coverage has been added to cover the expense of Debris Removai following a covered
flood loss This includes removal of debris that has floated off the described premises Debris Removai does
not include the removal of mud or earth.

Debris Removai expenses are now covered up to the Limit of insurance that applies to the flood coverage
This had previously been limited under the Building and Personal Property Coverage Form, the Condominium
Association Coverage Form and the Condominium Commerciai Unit-Owners Coverage Form.

RESTR|CT|VE FEATURES OF CAUSES OF LOSS - BROAD FORM FLOOD ENDORSEMENT
|CP T3 02 01 03)

1. Any loss or damage caused by flood that begins at a covered premises before or within 72 hours after the
inception date of the flood coverage is no longer covered under this endorsement. in addition the cost of re-
storing recovering or de-watering land and any loss resulting from the time required to restore, recover or de-
water land is not covered.

BROADENED FEATURES OF REPLACEMENT COST PLUS ENDORSEMENT (CP T3 09 01 03|

1. The penalty which applies if new items in excess or $5,000 are not reported in a timely manner has been
changed to new items in excess of $10,000.

RESTR|CT|VE FEATURES OF REPLACEMENT COST PLUS ENDORSEMENT (CP T3 09 01 03|

1. Payment under this endorsement has been further limited as we will not pay more than 125% of the Limit of
insurance shown in the Declarations for the covered buildings

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BROADENED FEATURES OF CAUSES OF LOSS - EARTHQUAKE ENDORSEMENT (CP T3 33 01 03)

1. Tanks and tunnels connected to buildings are now covered as underground items

RESTR|CT|VE FEATURES OF CAUSES OF LOSS - EARTHQUAKE ENDORSEMENT iCP T3 33 01 031

1. We will not pay for loss or damage caused directly or indirectly by flood, waves tides, tidal waves release of
water impounded by a dam or water or sewage that backs up or overflows from a sewer, drain or sump, even
if caused by an Earthquake or Volcanic Eruption.

BROADENED FEATURES OF BUlLD|NG OWNERS EXTRA ENDORSEMENT (CP T3 37 01 03)

1. Coverage for outside bridges was not provided in the previous endorsement. They are now covered for up to
$10,000 in the Building and Personal Property Coverage Forrn.

2. Electronic Data Processing Equipment and Electronic Data Processing Data and Media have been added to
the items covered under the Appurtenant Buildings and Structures Coverage Extension.
RESTR|CT|VE FEATURES OF BUlLD|NG OWNERS EXTRA ENDORSEMENT (CP T3 37 01 03)

1. The following items are no longer covered under this endorsement Retaining walls foundations outside
signs and radio and television antennas (including microwave or satellite dishes).

2. The following Exclusion has been added for any Business income or Extra Expense coverage We will not
pay for any loss caused by or resulting from direct physical loss or damage to the following property while
outside of buildings:

a. Harvested grain, hay, straw, or other crops

b. Outdoor trees shrubs, plants lawns (including fain/vays, greens and tees), growing crops land or wa-
ter.

c. Radio or television antennas (including microwave or satellite dishes) and their lead-in wiring masts
or towers

BROADENED FEATURES OF PROPERTV EXTRA ENDORSEMENT (CP T3 38 01 03) AND SELECT PROP-
ERTY EXTRA ENDORSEMENT (CP T3 54 01 03)

1. Coverage for outside bridges was not provided in the previous endorsement. They are now covered for up to
$10,000 in the Building and Personal Coverage Form.

2. The increased Cost of Construction or Repair Additional Coverage has been increased from $10,000 to
$25,000. `

3. The Fire Protective Equipment Discharge Additional Coverage has been increased from $5,000 to $10,000.

4. A new Additional Coverage has been added for Brands and Labels. This will now pay for the reasonable
costs to stamp the word 'Salvage' on, or remove any brands or labels from damaged merchandise

5. The Personal Effects and Property of Others Coverage Extension has been increased from $10,000 to
$25,000. The sub-limit for Personal Property of Emp|oyees has been increased from $2,500 to $5,000.

6. The Valuable Papers and Records - Cost of Research Coverage Extension has been increased from $15,000
to $25,000.

7. The Property Off-Premises Coverage Extension has been increased from $15,000 to $25,000 for property at
installation premises or temporary storage premises and from $15,000 to $50,000 for property at other loca-
tions described in the Extension.

8. The Extra Expense Coverage Extension has been increased from $2,500 to $5,000.
. The Accounts Receivabie Coverage Extension has been increased from $15,000 to $25,000.
10. The Covered Property in Transit Coverage Extension has been increased from $15,000 to $25,000.

11. The Duplicate Electronic Data Processing Data and Media Coverage Extension has been increased from
$10,000 to $25,000.

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12. Electronic Data Processing Equipment and Electronic Data Processing Data and Media have been added to
the items covered under the Appurtenant Buildings and Structures Coverage Extension.

13. When either the Business income (And Extra Expense) or Business income (Without Extra Expense) Cover-
age Forms are attached to the policyl the Claim Data Expense Coverage Extension has been increased from
$2,500 to $5,000.

14. Two new Coverage Extensions have been added when either the Business income (And Extra Expense) or
Business income (Without Extra Expense) Coverage Forms are attached to the policy:

The Ordinance or Law - increased Period of Restoration coverage extends Business income coverage to
include the amount of actual and necessary loss you sustain during the period of suspension of operations
caused by or resulting from the enforcement of certain ordinances or laws The Limit of insurance for this
coverage is $25,000.

The Business income From Dependent Property coverage extends Business income to cover the loss of
Business income you sustain due to suspension of your operations during the period of restoration that is
caused by certain direct physical loss or damage that occurs at locations operated by others that your busi-
ness depends on. The Limit of insurance for this coverage is $5,000.

RESTR|CT|VE FEATURES OF PROPERTY EXTRA ENDORSEMENT (CP T3 38 01 03) AND SELECT PROP-
ERTY EXTRA ENDORSEMENT (CP T3 54 01 03)

1. The following items are no longer covered under this endorsement Retaining walls foundations outside
signs and radio and television antennas (including microwave or satellite dishes). However, they can be
added under the Building and Personal Property Coverage Forrn.

2. The Additional Coverage Extension for Water Damage is no longer provided under this endorsement.

BROADENED FEATURES OF SEWER OR DRA|N BACK UP EXTENS|ON ENDORSEMENT jCP T3 39 01 03|

None.
RESTR|CT|VE FEATURES OF SEWER OR DRA|N BACK UP EXTENS|ON ENDORSEMENT (CP T3 39 01 03)
1. Coverage has been deleted for water that backs up from a sump,

BROADENED FEATURES OF BUlLD|NG REPRODUCT|ON COST ENDORSEMENT iCP T3 49 01 03)

None.

RESTR|CT|VE FEATURES OF BUlLD|NG REPRODUCT|ON COST ENDORSEMENT (CP T3 49 01 03)

1. Coverage for the increased cost to repair, rebuild or construct the property when it is caused by the enforce-
ment of a building zoning or land use ordinance or law has been deleted from this endorsement.

BROADENED FEATURES OF GOLF CLUB ENDORSEMENT (CP T8 93 01 03)

1. The Fire Protective Equipment Discharge Additional Coverage has been increased from $5,000 to $10,000.

2. Coverage under the Vehicle Damage Additional Coverage has been broadened as damage will now be cov-
ered if the vehicle is within 1,000 feet of the described premises, instead of within 500 feet

3. Coverage for Personal Effects has been broadened as losses are now covered if the property is within 1,000
feet of the described premises, instead of within 500 feet The limit for Personal Effects has been increased
from $5,000 to $10,000.

4. Coverage under the Property Off-Premises Coverage Extension has been expanded from Your Business Per-
sonal Property to Your Covered Property and the 90 day limitation has been removed.

RESTR|CT|VE FEATURES OF GOLF CLUB ENDORSEMENT iCP T8 93 01 03)

1. The Off-Premises Power Failure Additional Coverage has been deleted.

2. The $1,000 per item limit that applies to athletic equipment in the Personal Property Of Others Coverage Ex-
tension has been amended to $1,000 per person

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3. The Property Off-Premises Coverage Extension in this endorsement no longer covers property in transit
However, $10,000 coverage is now provided in the Building and Personal Property Coverage Form.

4. Outside signs are no longer covered under this endorsement. However, $2,500 coverage is now provided in
the Building and Personal Property Coverage Form.

BROADENED FEATURES OF SELECT PROPERTY EXTRA - WHOLESALERS AND MANUFACTURERS EN-

DORSEMENT (CP T3 59 01 03)l SELECT PROPERTY EXTRA- PR|NTERS ENDORSEMENT iCP T3 90 01 03i
AND SELECT PROPERTY EXTRA- F|NE D|NiNG ENDORSEMENT (CP T3 91 01 03)

1. The Fire Protective Equipment Discharge Additional Coverage has been increased from $5,000 to $10,000.

2. The Personal Effects and Property of Others Coverage Extension has been increased from $10,000 to
$25,000. The sub-limit for Personal Property of Emp|oyees has been increased from $2,500 to $5,000.

3. The Property Off-Premises Coverage Extension for locations other than installation premises or temporary
storage premises has been increased from $25,000 to $50,000.

The Extra Expense Coverage Extension has been increased from $2,500 to $5,000.

5. The Duplicate Electronic Data Processing Data and Media Coverage Extension has been increased from
$10,000 to $25,000.

6. Electronic Data Processing Equipment and Electronic Data Processing Data and Media have been added to
the items covered under the Appurtenant Buildings and Structures Coverage Extension.

7. Coverage for outside bridges was not provided in the previous endorsement. Howeverl they are now covered
for up to $10,000 in the Building and Personal Property Coverage Form,

8. When either the Business income (And Extra Expense) or the Business income (Without Extra Expense)
Coverage Forms are attached to the policy, the Limit of insurance that applies to the Claim Data Expense
Coverage Extension is increased from $2,500 to $5,000.

RESTR|CT|VE FEATURES OF SELECT PROPERTY EXTRA - WHOLESALERS AND MANUFACTURERS EN-

DORSEMENT iCP T3 59 01 03|l SELECT PROPERTY EXTRA- PR|NTERS ENDORSEMENT iCP T3 90 01 03)
AND SELECT PROPERTY EXTRA- F|NE D|NiNG ENDORSEMENT |CP T3 91 01 03)

1. The following items are no longer covered under this endorsement Retaining walls outside signs and radio
and television antennas (including microwave or satellite dishes). However, they can be added under the
Building and Personal Property Coverage Form.

2. The Additional Coverage Extension for Water Damage is no longer provided under this endorsement.

3. (Wholesa|ers/Manufacturers and Printers Endorsements only). When either the Business income (And Extra
Expense) or the Business income (Without Extra Expense) Coverage Forms are attached to the policy. the
Limit of insurance under the Contract Penalty Clause Coverage Extension has been decreased from $25,000
per occurrence to a total of $25,000 for each separate 12-month period of the policy.

BROADENED FEATURES OF PROPERTY EXTRA PLUS ENDORSEMENT jCP T3 63 01 03)

1. The Property Off-Premises Coverage Extension has been increased from $10,000 to $25,000 for property at
installation premises or temporary storage premises and has been increased from $25,000 to $50,000 for
other covered locations

2. Electronic Data Processing Equipment and Electronic Data Processing Data and Media have been added to
the items covered under the Appurtenant Buildings and Structures Coverage Extension.

RESTR|CT|VE FEATURES OF PROPERTV EXTRA PLUS ENDORSEMENT (CP T3 63 01 03)

1. The following items are no longer covered under this endorsement Retaining walls foundations outside
signs and radio and television antennas (including microwave or satellite dishes). However, they can be
added under the Building and Personal Property Coverage Form.

2. The Limit of insurance under the lVloney and Securities Coverage Extension for money or securities in the
custody of a messenger has been reduced from $25,000 to $5,000. in addition exclusions have been added

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for accounting or arithmetical errors voluntary parting with the property and, under certain circumstances
loss of money contained in any money operated device

3. The Architect Engineering or Consulting Fees Additional Coverage is no longer provided under this en-
dorsement. However, coverage may be provided in the Building and Personal Property Coverage Form if the
Optional Coverage - Replacement Cost is purchased

4. The Extended Warrantees for Personal Property Coverage Extension is no longer provided under this en-
dorsement.

5. The Additional Coverage Extension for Water Damage is no longer provided under this endorsement.

BROADENED FEATURES OF TECHNOLOGY PROPERTY EXTRA ENDORSEMENT (CP T3 66 01 03)
The Fire Protective Equipment Discharge Additional Coverage has been increased from $10,000 to $15,000.

2. The Property Off-Premises Coverage Extension for locations other than installation premises or temporary
storage premises has been increased from $25,000 to $50,000.

3. The Outdoor Property Coverage Extension has been increased from $25,000 to $30,000.

4. The Duplicate Electronic Data Processing Data and Media Coverage Extension has been increased from
$10,000 to $20,000.

5. The Electronic Data Processing Equipment and Data and Media - Limited Coverage Extension has been in-
creased from $10,000 to $25,000.

6. Electronic Data Processing Equipment and Electronic Data Processing Data and Media have been added to
the items covered under the Appurtenant Buildings and Structures Coverage Extension.

7. Electronic Data Processing Equipment has been added to the items covered under the Overseas Business
Travel Coverage Extension.

RESTR|CT|VE FEATURES OF TECHNOLOGY PROPERTY EXTRA ENDORSEMENT jCP T3 66 01 03|

None.

BROADENED FEATURES OF BRANDS AND LABELS ENDORSEMENT iCP 04 01 10 00i

1. This endorsement permits the insured to stamp 'salvage' on merchandise that is being taken by the insurer, or
remove the brands or labels subject to certain conditions Coverage is now included for the costs incurred in
performing either of these activities This coverage does not increase the applicable Limit of insurance

RESTR|CT|VE FEATURES OF BRANDS AND LABELS ENDORSEMENT (CP 04 01 10 00)'
None.

BROADENED FEATURES OF BUS|NESS lNCOME FROM DEPENDENT PROPERT|ES - BROAD FORM
(CP 15 08 10 00i AND BUS|NESS lNCOME FROM DEPENDENT PROPERT|ES - LlM|TED FORM

(CP 15 0910 00)
None.

RESTR|CT|VE FEATURES OF BUS|NESS lNCOME FROM DEPENDENT PROPERT|ES - BROAD FORM
(CP 15 08 10 00) AND BUS|NESS lNCOME FROi\/i DEPENDENT PROPERT|ES - LlM|TED FORM

|CP 15 0910 00j

1. The period of restoration dennition is revised to provide that Business income coverage begins 72 hours after
the time of direct physical loss or damage. Business income coverage is reduced to the extent that losses are
incurred during the first 72 hours following the time of direct physical loss or damage.

BROADENED FEATURES OF UT|L|T¥ SERVICES - TiiViE ELEMENT iCP T3 76 01 03) FORMERLY OFF
PREM|SES SERV|CES - T|ME ELEN|ENT (CP 15 45 07 08)

None.

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RESTR|CT|VE FEATURES OF UT|L|TY SERV|CES - T|ME ELEN|ENT (CP T3 76 01 03) FORMERLY OFF
PREM|SES SERV|CES - T|ME ELEMENT jCP 15 45 07 08)

1. The 12-hour waiting period clause in the previous endorsement is increased to 24-hours

ORD|NANCE OR LAW COVERAGE ENDORSEMENT (CP 04 0510 00)

A basic change has been made in the way Ordinance or Law Coverage is provided The three coverages found
under the previous Ordinance or Law endorsement, specifically, Coverage for Loss to the Undamaged Portion of
the Building Demolition Cost and increased Cost of Construction have been separated. Coverage can be pur-
chased for any, or alil of the three A Limit of insurance must now be selected individually for Demolition Cost and
increased Cost of Construction in order for these coverages to apply. Other changes have been made to the en-
dorsement which will both broaden and restrict coverage

BROADENED FEATURES OF ORD|NANCE OR LAW

1. Coverage is broadened as the Coinsurance condition no longer applies to either the Demolition Cost or ln-
creased Cost of Construction coverage

2. if the damaged building is replaced at another premises because relocation is required by ordinance or law,
increased Cost of Construction is applicable at the new location subject to its Limit of insurance Previouslyl
payment for a building at a new premises was limited to what it would have cost to rebuild at the original
premises

3. The cost of excavations grading backfilling and filling and the repair of foundations pilings and under-
ground pipes flues and drains will now be covered under the increased Cost of Construction limit if that cov-
erage is selected

RESTR|CT|VE FEATURES OF ORD|NANCE OR LAW

1. Because the three coverages have been separated a limit of insurance must be selected for Demolition Cost
and/or increased Cost of Construction coverage There must be a Limit of insurance shown in the endorse-
ment schedule for each particular coverage or it will not apply.

2. The previous rules for Ordinance or Law Coverage required that building valuation be on a Replacement Cost
basis The new rules require Replacement Cost coverage only for the increased Cost of Construction cover-
age. if your renewal policy changes coverage from a Replacement Cost basis to Actual Cash Value basis, the
change represents a reduction in coverage

3. Coverage under this endorsement now only applies in response to the minimum requirements of an ordi-
nance or iaw. Losses and costs incurred in complying with recommended actions or standards that exceed
actual requirements are not covered

4. Coverage is reduced by the addition of an exclusion which precludes coverage for preexisting violations
where you were required to comply with an ordinance or law prior to loss but violated such requirement

BROADENED FEATURES OF ORD|NANCE OR LAW - |NCREASED PER|OD OF RESTORAT|ON
iCP 15 31 10 001

None.

RESTR|CT|VE FEATURES OF ORD|NANCE OR LAW - |NCREASED PER|OD OF RESTORAT|ON
iCP 15 311000j

1. Business income coverage begins 72 hours after the time of direct physical loss or damage. Therefore, Busi-
ness income coverage is reduced to the extent that losses are incurred during the first 72 hours following the
time of direct physical loss or damage.

DEDUCT|BLES

The minimum policy deductible in the Commerciai Property Coverage Part has been increased from $250 to
$500. if your policy currently has a $250 deductible it will automatically be renewed with a $500 deductible

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POL|CYHOLDER NOTiCE - ASBESTOS

Asbestos has long been a difficult problem for society as a whole and the insurance industry in particular. As a
consequence we are attaching an asbestos exclusion to your policy.

if you have questions about your insurance programl please contact your agent or local representative

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Exhibit 2

 

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EXHIBIT 2 y

 

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IN THE UNITED STATES_ DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

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ACADEMYONE INC" l F \ \-» E D cIvIL AcTioN

Plaintiff, DEC _ 82008 , ,
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coLLEGEsouRCE, iNc., '

Defendant.
JURY TRIAL DEMANDED

 

COMPLAINT

Plaintiff AcademyOne, Inc. brings this civil action against defendant CollegeSource, Inc.

seeking legal and equitable relief and, in support thereof, avers as follows:
THE PARTIES

1. AcademyOne is a Pennsyivania corporation with a principal place of
business at 601 Wi_ilowbrook Lane, West Chestcr, ~Pennsyivania 19382.
2. CollegeSource is a California corporation with a principal place of

business at 8090 Engineer Road, San Diego, California 92111.
JURISI)ICTIQN AND VE_NUE
3. 1 This,Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

1338 and 1332.` It also has jurisdiction because plaintiff is diverse from defendant and the

amount in controversy exceeds $75,000.

4. Venue is proper in this Court under 28 U.S.C. § l391(b) in that a

substantial part of the events giving rise to the claims occurred in this district

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FACTS

 

AcademyOne Developed and Marketed a New
Electronic Educational Information System

5. AcademyOne provides an electronic system via the internet that allows
college students and administrators to assess the equivalency of courses at different colleges and
universities for purposes of transfer.

6. AcademyOne’s business focus is improving the efficiency and reducing
the cost of the college transfer process for both students and educational institutions. To do this,
AcademyOne in mid-2005 developed a number of electronic systems. The centerpieces of
AcademyOne’s business are the National Course Atlas, which provides a catalog of current
course information at educational institutions across the country, and the Course Equivalency
Management Center (“CEMC”), which provides an online means for comparing the academic
equivalenceof courses at different institutions

7. Other AcademyOne systems allow institutions to create and centralize
transfer agreements and policies, assist counselors and advisors interacting with potential

transferees, assess credit equivalency of courses between academic institutions and provide a

 

means for students and institutions to easily access all available information

8. Upon information and belief, no such comprehensive national electronic
system existed at the time AcademyOne developed its business plan and related products `

9. On June 9, 2006, AcademyOne filed initial U.S. patent applications for its b
primary systems, the National Course Atlas and CEMC.

10. Over the course of several months, between September 2006 and March

2007, AcademyOne began culling college and university course listings from thousands of

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current college and university course catalogs or directly from institutions’ websites to pre-load

into its system.

ll. On November l, 2006, AcademyOne registered www.collegetransfer.net

 

as a domain name for hosting and offering its products and services over the intemet.

12. AcademyOne launched that site and www.courseatlas.com in March 2007.

13. AcademyOne collected course descriptions for its database of current
college catalogs in part by visiting approximately 4,000 colleges’ and universities’ websites.
Many of these websites provided links to .pdf files of the institution’s annual course catalog.
Others provided course descriptions directly on their webpages. AcademyOne uploaded the
course descriptions to its database in batches.

14. AcademyOne delivers its products to consumers via the intemet. It
maintains a website accessible to any internet user, Many of AcademyOne’s student- and
faculty~focused tools are available without charge, including the National Course Atlas. The

more advanced systems, such as the CEMC, are available only on a paid subscription basis.

 

Subscribers are typically academic institutions and state higher education agencies.
AcademyOne makes its money only from its subscribers, not from its student and faculty users
who access the system for informational purposes

15. AcademyOne’s patent applications for the CEMC and National Course
Atlas were published by the U.S. Patent Office in December 2007.

The Non-Profit Career Guidance Foundation

16. In December 1971 , the Career Guidance Foundation (“CGF”)
incorporated as a not-for-profit entity in Delaware under the name Educational lnformation
Services, Inc. CGF’s stated goal was to develop nationally coordinated education information

systems.

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17. CGli’s certificate of incorporation prohibited the organization's property
or assets from going to any for-profit entity upon dissolution.

18. In 1980, then officially named CGF, the foundation set up a principal
place of business in Califomia.

19. From its founding, CGF’s primary activity involved collecting and
archiving course catalogs and descriptions from colleges and universities for institutional and
student use. CGF did not write any of the course descriptions in its course library.

20. Beginning in 1996, CGF put college'and university course materials
online.

CGF Dissolved and Transferred Its Assets to For-Prol`it CollegeSource, Inc.

21. In March 2001 , the Intemal Revenue Service notified CGF that it was
revoking its tax-exempt status, retroactive to 1996, due to activities that generated profit for CGF
officers CGF challenged the revocation through a declaratory judgment action.

22. In 2004, while the declaratory judgment action was pending, CGF began
preparing to dissolve and reconstitute as a for-profit entity, The California Attorney General
approved a plan by CGF to transfer its assets to the non-profit San Diego Community
Foundation, which would then sell the assets, based on an independent appraisal, to a for-profit

entity owned by CGF’s director, Harry Cooper.

23. Career Guidance, lnc., which later changed its name to CollegeSource,
Inc., incorporated as a for-profit entity in California in March 2004.

24. vBetween June and August 2004, CGF terminated its business and wound
up its operations Specifically, it dissolved as a corporation in Delaware and revoked its foreign

corporation standing in Califomia.

 

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CGF Never Transferred Copyrights to CollegeSource

25. In May 2004, during the transfer process, CollegeSource purchased CGF’s 1
trademark rights Upon information and belief, neither CollegeSource nor Career _Guidance, Inc. j
bought any copyrights or copyrighted material from CGF.
26. Shortly thereafter, CGF transferred all of its assets to the San Diego
Community Foundation. The enumerated list of assets, based on a December 2002 appraisal by
CGF’s own accounting firm -- not an independent accountant -- included only tangible assets
The list idid not include any copyrights, and, upon information and belief, no copyrights were `
transferred l
27. Upon information and belief, CollegeSource immediately purchased all of j
the assets that the San Diego Community Foundation purchased from CGF, but did not buy any 1

copyrights or other intangibles

CollegeSource Began Operating as the Purported Successor of CGF and
Continues to Use CGF’s Entity Status

28. CollegeSource has been operating since 2004 as the purported successor
of CGF. lt claims to have existed since 1971, even though CGF dissolved in 2004.

29. CollegeSource’s business consists of maintaining and updating a library of
.pdf college and university course catalogs and, most recently, providing online transfer
evaluation systems for institutions The former area is a continuation of CGF’s operations

30. CollegeSource has improperly placed copyright registration notices on
materials &om CGF, which it makes publicly available. Also, CollegeSource improperly
maintains CGF’s copyright notices on other publicly available materials

31. CollegeSource purports to assert CGF’s_rights in the terms of use it posts

on its website and in course catalogs, stating that certain actions cannot be taken “without the

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express written consent of CollegeSource ® and Career Guidance Foundation” and that
“CollegeSource ® and Career Guidance Foundation reserves [sic] the right to revoke such
authorization at any time, and any such use shall be discontinued immediately upon written
notice from CollegeSource ® and Career Guidance Foundation”

32. Upon information and belief, CollegeSource misleadineg used CGF’s
name alter its dissolution as a conduit for receiving money:

a. Three educational institutions in Tennessee paid CGF a total of
$6,830 for access to CollegeSource products in 2007 and 2008. .

b. CGF received a payment of $1,213.00 in late 2006 from the
College of the Sequoias Community College District.

c. The Dallas Community College District planned to pay CGF
$l 1,330 on a service contract as of August 2006.

33. CollegeSource maintains the websites cgf.org, collegesource.org and
tes.collegesource.org using a domain name extension reserved for not-for-profit entities The
two collegesource.org websites were originally registered by CGF in 1997, then re-registered by
CGF in 2007, three years alter CGF’s dissolution CGF registered the cgf.org website in 1995.
Cgf.org was re-registered in 2008 by CollegeSource, four years after CGF’s dissolution n

34. On October 27, 2008, CollegeSource filed a complaint in a California
court improperly casting itself as the successor in interest to CGF.

35. CollegeSource charges a fee for access to most items in its course library,-

which users access primarily over the intemet.

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College Source Developed TES to Compete with CEMC

36. Upon information and belief, CollegeSource began developing TES, its
transfer evaluation system, in 2005. Also upon information and belief, CollegeSource Chief
Executive Officer Kerry Cooper became aware of TES"s limitations when she attended a
“webinar” hosted by AcademyOne that allowed her to view the basic aspects 'of CEMC, and,
most significantly, AcademyOne’s marketing strategies for its products

37. Upon information and belief, in April 2007, CollegeSource formally
launched its TES Transfer Evaluation product and began to directly compete with CEMC.
Before developing TES, CollegeSource did not directly compete with AcademyOne.

38. CollegeSource charges a fee for the use of TES and provides access to

TES via the intemet.
CollegeSource Registered a Domain Name Nearly Identical to AcademyOne’s

39. 4 On October 8, 2007, CollegeSource purchased the
www.collegetransfer.com domain name and set it to link directly to its homepage,
www.collegesource.com. With the exception of the extension, the domain name is identical to
AcademyOne’s website, www.collegetransfer.net, which is widely recognized by prospective
transfer students

40. Upon information and belief, prior registration of the
www.collegetransfer.com domain name by a different registrant dating from 2002 served as a

placeholder, and the website had no content.

41. Currently, CollegeSource’s website features its TES application and
advertises the ability to “Evaluate Coursework,” “Manage Equivalencies” and “lmprove

Transfer!”

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42. CollegeSource’s use of www.colle etransfer.com is likely to cause

 

confusion in the marketplace about source and origin of its goods and services The average
internet user who visits www.collegetransfer.com is likely to be unaware that the products it
finds on that website are not supplied by AcademyOne, as they are at www.collegetransfer.net,
This likelihood of confusion has caused and is causing harm to AcademyOne.'
CollegeSource Alleged Copyright Infringement
43. In the spring of` 2007, Kerry Cooper requested a meeting with
AcademyOne Chief Executive Officer David Moldoff`. At that meeting, Cooper gave Moldoff a
letter alleging copyright infringement The letter demanded removal of material from
AcademyOne’s website, a public apology and damages Specifically, it referenced 700 .pdf files `
out of 18,000 that AcademyOne had posted on its website just one week prior, and'claimed that
the disputed .pdf‘s contained CollegeSource’s and CGF’s embedded copyright notices ;
44. 4 AcademyOne collected information for its database of current college
catalogs in part by visiting approximately 4,000 colleges’ and universities’ websites, not by
. visiting CollegeSource’s library. Many of` these websites provided links to .pdf files of the
institution’s annual course catalog. AcademyOne clicked on these links from college and
university websites to gather catalogs for its course database. Unbeknownst to AcademyOne,
links from some of these websites automatically accessed .pdf files supposedly located on n
CollegeSource’s server. Some may have even been on the college or university website servers.
AcademyOne also obtained much of its data directly from educational institutions
.45. Within several hours of Moldoff’ s meeting with Cooper, AcademyOne
removed all of the .pdf files, but did not admit or agree that CollegeSource had rights in them.
AcademyOne did not retain any copies of the files on its servers. _AcademyOne does not possess

other files, either on its computers or website, digitized by CollegeSource.

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~ 46. On May 4, 2007, Cooper sent Moldof`f another letter demanding removal
of all course descriptions and a public statement to all AcademyOne users that the .pdf files and
other data on its website were property of CollegeSource obtained without pennission. Moldoff
rejected these demands

47. Although AcademyOne did not infringe on any c_opyrights, it re-collected
course descriptions from institution websites and used the newly collected data to replaced prior
versions

South Carolina Awarded AcademyOne a Contract

48. On May 29, 2008, AcademyOne and CollegeSource both submitted bids
to the South Carolina Commission for Higher Education.

49. South Carolina announced its intent to award a contract to AcademyOne
on June 25, 2008.

50. CollegeSource filed a protest of South Carolina’s decision on July 7, 2008,
citing AcademyOne’s “use[], without permission, [of] the intellectual property of its
competitors” as one basis for challenging the contract. CollegeSource sought elimination of
AcademyOne’s offer and the award of the contract to the next highest scorer, or the institution of
a new bidding process On November 14, 2008, CollegeSource informed AcademyOne that it
would not pursue an intellectual property claim as one of the bases to challenge the contract
award.

51. On August 25, 2008, the South Carolina ChiefProcurement Officer denied

CollegeSource’s protest.

52. CollegeSource filed an appeal of the denial on September 4, 2008.

PHL:5896533. l 3/ACA023-245124 ~ 9 ~

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53. An Administrative Review Panel hearing is scheduled for the week of
December 8, 2008. This Panel will hear CollegeSource’s appeal and issue the final decision in

the contract award, anticipated within thirty days of the hearing

COUNT I - FALSE ADVERTISING UNDER 15 U.S.C. § 1125§a[

54. AcademyOne incorporates the allegations of paragraph l through 53,
inclusive, of this Complaint as though the same were fully set forth herein.

55. CollegeSource misrepresents on its website and on its course catalog files
that it holds a copyright in college and university catalog materials obtained from CGF.
CollegeSource has been making such statements on its materials since its incorporation in 2004
and continues to do so through the present.

56. CollegeSource uses its website and its course materials for advertising and
promotional purposes for its products

57. CollegeSource’s copyright notices and claims had the tendency to deceive
a substantial segment of those who viewed them.

58. CollegeSource charges a fee for the use of its products Such a fee is
premised on CollegeSource’s alleged exclusive rights in the materials

59. CollegeSource’s claim of exclusive rights to the course library materials is
likely to influence a purchasing decision and is therefore material,

60. CollegeSource operates nationally and on the internet and thus has caused
its false statements to enter interstate commerce

61. CollegeSource’s conduct is likely to and did confuse, mislead, or deceive
customers or potential customers, and constitutes false advertising, in violation of 15 U.S.C.A. §

1 125(a).

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62. AcademyOne has been injured because, in an attempt to avoid a loss of
goodwill associated with CollegeSource’s false statements AcademyOne underwent an expense
and lost business time in redoing its data collection for allegedly infringing copyrighted works

63. CollegeSource nonetheless improperly continues to lay public claim to
copyrights it does not own in college course catalog materials portions of which AcademyOne
does or may use.

64. CollegeSource also continues to assert CGF’s misleading claims of
copyright ownership beyond the scope of data compilation

`65. CollegeSource’s conduct is willful and malicious

66. Damages alone _do not adequately remedy the ongoing harm caused to

- AcademyOne by CollegeSource’s false advertising, v
WHEREFORE, plaintiff AcademyOne, Inc. respectiiilly requests that this Court:
a. Enjoin CollegeSource and its agents servants representatives
officers directors employees affiliates and all persons acting in concert with them,
directly or indirectly, from making further false statements of copyright ownership,

pursuant to 15 U.S.C. § 1125(a);

b. Enjoin CollegeSource and its agents servants representatives
officers directors employees affiliates and all persons acting in concert with them,
directly or indirectly, from making further false statements of affiliation with CGF,

pursuant to 15 U.s.c. § 1125(3);

c. Award AcademyOne monetary damages pursuant to 15 U.S.C.
§ 1117;
d. Award AcademyOne exemplary damages land attorneys fees;
PHL:5896533.13/AcA023-245124 - - ll -

 

 

 

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e. Grant AcademyOne such other relief as is just and proper.

COUNT II - TRADEMARK INFRINGEMENT AND FALSE DESIGNATION

PURSUANT TO 15 U.S.C. § 11251a[

67. AcademyOne incorporates the allegations of paragraph l through 66,

inclusive, of this Complaint as though the same were fully set forth herein.

68. AcademyOne chose th`e domain name to correspond with the nature of its
products

69. AcademyOne’s www.collegestransfer.net has become distinctive by
acquiring a secondary meaning of association with AcademyOne’s products and services

70. CollegeSource registered www.collegetransfer.com on October 8, 2007.

71. CollegeSource’s website differs from AcademyOne’s only in the domain
extension.

72. CollegeSource provided that the website www.collegetransfer.com would
immediately link back to its own website.

73. CollegeSource’s website www.collegetransfer.com is likely to cause
confusion in the marketplace with AcademyOne’s previously registered ~
Www.collegetransfer.net.

74. CollegeSource’s actions were willful and malicious

75. Damages alone do not adequately remedy the ongoing harm caused to
AcademyOne by CollegeSource’s dilution.

WHEREFORE, plaintiff AcademyOne, Inc. respectfully requests that this Court:
a. Enjoin CollegeSource and its agents servants representatives
officers directors employees affiliates and all persons acting in concert with them,

directly or indirectly, from using the domain name www.collegetransfer.com and to order

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CollegeSource to transfer ownership of the domain name to AcademyOne, pursuant to 15
U.S.C. § 1125(a);

b. Award AcademyOne damages;

c. Grant AcademyOne such other relief as is just and proper.

COUNT III -'CYBER-SOUATTING UNDER 15 U.S.C. § llZ_S_(Q

76. AcademyOne incorporates the allegations of paragraph l through 75,
inclusive, of this Complaint as though the same were fully set forth herein.

77. CollegeSource registered www.collegetransfer.com in bad faith.

78. CollegeSource had launched a product in competition with AcademyOne’s
at the time of its domain registration

79. CollegeSource’s purpose in registering the domain name was to draw
business from AcademyOne’s website.

80. Damages alone do not adequately remedy the ongoing harm caused to
AcademyOne by CollegeSource’s cyber-squatting.

81. CollegeSource’s conduct was willful and malicious

WHEREFORE, plaintiff AcademyOne, Inc. respectfully requests that this Court:

a. Enjoin CollegeSource and its agents servants representatives
officers directors employees affiliates and all persons acting in concert with them,
directly or indirectly, from using the domain name www.collegetransfer.com and to order
CollegeSource to transfer ownership of the domain name to AcademyOne, pursuant to 15
U.S.C. § 1125(d);

b. Award AcademyOne monetary damages pursuant to 15 U.S.C.

§1117;_

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C.

Dated: December 8, 2008

PHL:5896533.l3/ACA023-245124

Award AcademyOne exemplary damages and attorneys fees;

Grant AcademyOne such other relief as is just and proper.

_14-

Respectfully submitted,

D`a" . Landau

Aliz R. Karetnick\
WolfBlock LLP

1650 Arch Street, 22nd Floor

Philadelphia, PA 19103
(215) 977-2052

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Attorneys for Plaintiff, AcademyOne, Inc.

 

 

 

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EXHIBIT 3

 

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4 GAUNTLETT&
` - ASSOCIATES

ATTORNEYS AT LAW

 

18400 Von Karman, Suite 300
Irvine, California 92612
Phone: (949) 553-1010

Facsimile: (949) 553-2050

 

Email: info@gauntlettlaw.com
Webs)te: www.gauntletrlaw.com Our me Number:
10584-001

June l, 2009

CONFIDENTIAL lNSURED-INSURER COMMUN]CATION
This communication is an insured-insurer confidential communication Any information
disclosed by the insured or by independent counsel is not a waiver of the privilege as to any
other party.

VIA UPS OVERNIGHT

TRAvELERs PROPERTY CAsuALTY CoMPANY oF AMERICA

One Tower Square
Hartford, CT 06183

Re: AcademyOne, Inc V. CollegeSource, Inc, U. S. D. C. for the Eastern District
of Pennsylvania (Philadelphia), Civil Action No.: 2: 08-ev-05707-JP
(“AcademyOne suit”) .

Named Insured: CollegeSource, Inc.
lnsurer: Travelers Property Casualty Company of America
Policy: Commercial General Liability Policy No. I-660-3905B356-TIL-08
(effective dates 11/25/08 to 11/25/09)
~ Notice of Claim

Dear Claim Manager:

CollegeSource, Inc. has been sued in a lawsuit entitled AcademyOne, Inc. v.
CollegeSource, lnc., United States District Court, Eastern District of Pennsylvania, Case No.
2: 08-cv-05707- JP_ (“AcademyOne suit”). We hereby give notice of claim of the AcademyOne
suit on its behalf under the above-referenced policy, as well as any other insurance policies
issued by or through your company, Travelers Property Casualty Company of America, or any of `
its affiliates predecessors successors or related companies that may provide coverage for this
suit

CollegeSource requests that Travelers defend it in the AcademyOne suit and also fulfill
its settlement and indemnity obligations In addition, we request that you notify all other
appropriate insuring entities or individuals that are to receive notice of this claim

165116.1-10584-001~6/l/2009 5:48 PM

 

 

 

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A copy of plaintiff AcademyOne, lnc.’s complaint in the AcademyOne suit is enclosed.
The complaint alleges “personal injury,” advertising injury” and “website injury” by the insured
Within the meaning of the policy, including conduct potentially covered under Travelers’
“infringement of copyright, title or slogan . . .” offense and defamation/disparagement offense.

A potential exists Travelers’ policy will cover AcademyOne’s damage allegations if the
case proceeds to trial. We thus look forward to Travelers’ prompt acknowledgment of its policy
obligations

Defense counsel, Darren J. Quinn of the Law Offices of Darren J. Quinn is currently
defending the suit. Local Pennsylvania counsel is also defending

Nothing stated herein should be deemed a waiver of any policy rights or benefits

g tit

. McMillen

 
   
   
 

JSM:pam
Enclosure: Underlying complaint filed 12/8/08

cc: GA Pearson & Associates
6225 Lusk Blvd., Ste. B
San Diego, Ca 92121

David A. Gauntlett, Esq. (via email)
William Woods, Esq. (via email)
Darren J. Quinn, Esq. (via email)
Client (via email)

165116.1-10584-001-6/1/‘2009 5:48 PM

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Exhibit 4

 

 

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. ` EXHIBIT 4

 

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GAUNTLETT &
AssoCrATEs

ATTORNEYS A'l` LAW

 

18400 Von Karman, Suite 300
lr_vine, California 926'12 '
Phone: (949)553-1010

Facsimile: (949) 553-2050

 

Email: info@gauntlettlaw.com _
Websrte~: www.gauntlettlaw.eom Ouane Number:
10584-001

June 4, 2009

_ CONFIDENTLAL lNSURED-INSURER COMMUNICATION
This communication is an insured-insurer confidential communication Any information `
disclosed by the insured or by independent counsel is not a waiver of the privilege as to any

other party.

VIA UPS OVERNIGHT

THE TRAVELERS INDEMNIT¥ CoMPANY or CoNNECncuT
Attn: Claims Department

One Tower Square

Hartford, CT 06183

Re: Academyone, Inc. v. CollegeSource, Inc., U.S.D.C. for the Eastern District
of Pennsylvania (Philadelphia), Civil Action No.: 2:08-cv-05707-JP
(“A cademyOne suit”)
Named Insured: CollegeSource, Inc._
Insurer: The Travelers Indemnity Company of Connecticut
P_olicy: Commercial General Liability Policy No. I- 660- 3905B356- TCT- 06
(effective dates 11/25/06 to 11/25/07)

' Suppiemental Notice _of Claim

Dear Claim Manager:

CollegeSource, Inc has been sued in a lawsuit entitled AcademyOne, Inc. v
CollegeSource, lnc., United States District Court, Eastern District of Pennsylvania, Case No.
2: 08- cv-05707- JP (“AcademyOne suit”) We hereby give supplemental notice of claim of the
AcademyOne suit on its behalf under the above-referenced policy, as well as any other insurance
policies issued by or through your company, The Travelers Indemnity Company of Connecticut,
or any of its affiliates predecessors successors or related companies that may provide coverage
for this suit.

 

'_We gave notice to Travelers originally on June 1, 2009. ,

165158.1-10584-001-6/4/2009

 

 

 

 

 

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CollegeSource requests that Travelers defend it in the AcademyOne suit and also fulfill
its settlement and indemnity obligations ln addition, we request that you notify all other
appropriate insuring entities or individuals that are to receive notice of this claim.

A copy of plaintiff AcademyOne, lnc.’s complaint in the AcademyOne suit is enclosed
The complaint alleges “personal injury,” advertising injury” and “website injury” by the insured
within the meaning of the policy, including conduct potentially covered under Travelers’
“infringement of copyright, title or slogan . . .” offense and defamation/disparagement offense

A potential exists Travelers’ policy will cover AcademyOne’s damage allegations if the
case proceeds to trial. We thus look forward to Travelers’ prompt acknowledgment of its policy
obligations

Defense counsel, Darren J. Quinn of the Law Offices of Darren .l. Quinn is currently
defending the suit. Local Pennsylvania counsel is also defending

Nothing stated herein should be deemed a waiver of any policy rights or benefits
ery truly yours l

'. McMillen

   
 

JSM:pam
Enclosure: Underlying complaint filed 12/8/08

cc: GA Pearson & Associates
6225 Lusk Blvd., Ste. B
San Diego, Ca 92121

David A. Gauntlett, Esq. (via email)
William Woods, Esq. (via email)
Darren J. Quinn, Esq. (via email)
Client (via email) _ ` '

165158.1-10584-001-6/4/2009

Page 2

 

 

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EXHIBIT 5

 

 

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` 1

Paul J. Cooper, CPCU

Senior Techniea| Specia|ist
The Travelers Companies, lnc.
. _ ' l (ess) 703-2230 -

(877)'231-2506 (fax)
pjcooper@trave|ers.com

401 Route 73 North
30 Lake Center - Suite 110
Mar|ton, NJ 08053

June 16, 2_009 certirred Maii - Remm Recerpc Requested

Joseph S. McMillen, Esq.
Gauntlett & Associates
18400 Von Karman

Suite 300

Irvine, CA 92612

RE: AcademyOne Inc. vs. CollegeSource, Inc.
USDC Eastern 'PA` Ca No: 08-cv-57 07

Our Insured: CollegeSource, Inc.
Our Fi_le: A4S5012

Dear Mr. McMillen:

We acknowledge receipt of the above referenced litigation This matter has been reported to us
under policy number 660-3905B356 which is issued by The Travelers Property Casualty
Company of America (“Travelers”) to CollegeSource, lnc. (“CollegeSource”). ' We have
reviewed the allegations contained in the Complaint and we must respectfully advise you that this
matter is not covered under the policy. Please let this letter explain our reasons for disclaiming
coverage.

Please understand that, although Travelers is disclaiming coverage, on the basis discussed below,
for damages sought and the claims asserted by the Plaintiff, we are not suggesting that the
allegations have any legal or factual merit. We recognize that the allegations are without
substantiation at this time. We are, however, required to apply the allegations as asserted to the
terms of the above contract of insurance for the purposes of our coverage analysis

AcademyOne, lnc. (“AcademyOne”) has indicated that it provides an electronic system via the
internet that allows college students and`ad_minisirator_s to assess the equivalency of courses at
different colleges and universities for purposes of transfer. AcademyOne states that on June 9,
2006 it filed initial U.S. patent applications for its primary systems the National Atlas and
CEMC. AcademyOne alleges that CollegeSourcehas been operating since 2004 as the purported
successor of Career Guidance Foundation (“CGF”). AcademyOne alleges that CollegeSource has
improperly placed copyright registration notices on materials from CGF, which it makes
publically available AcademyOne further alleges that CollegeSource misleadineg used CGF’s
name after its dissolution as a conduit for receiving money,

The Complaint field by AcademyOne_against CollegeSource is composed of the following causes
of action: '

 

 

 

 

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Count I- False Advertising Under 15 U.S.C. § 1125(a)

Count II - Trademark Infringement and False Designation Pursuant to 15 U.S.C. §
1125(a)

Count l]I - Cyber-Squatting Under 15 U.S.C. § 1125(d)

*****#*********************#****

We direct your attention to the following relevant policy provisions
COMMERCIAL GENERAL LIABle COVERAGE FORM (CG 00 01 10 01)
SECTION I - COVERAGES
COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY
l. Insuring Agreement

a. We will pay those sums that the insured becomes legally obligated to pay as damages
because of “bodily injury” or “property damage” to which this insurance applies. We
will have the right and duty to defend the insured against any “suit” seeking those
darnages. However, we will have no duty to defend the insured against any “suit”
seeking damages for “bodily injury” or “property damage” to which this insurance does
not apply. We may, at our discretion, investigate any “occurrence” and settle any claim
or “suit” that may result. But:

(1) The amount we will pay for damages is limited as described in Section III -
Limits Of lnsurance; and

(2) Our right and duty to defend ends when we have used up the applicable limit
of insurance in the payment of judgments or settlements under Coverages A or B
or medical expenses under Coverage C.

No other obligation or liability `to pay sums or perform acts or services is covered unless
explicitly provided for under Supplementary Payments - Coverages A and B.

b. This insurance applies to “bodily injury” and “property damage” only if:

(1) The “bodily injury” or “property damage” is caused by an “occurrence” that
takes place in the “coverage tem'tory”;

(2) The “bodily injury “or “property damage” occurs during the policy period;
and

(3) Prior to the policy period, no insured listed under Paragraph 1. of Section l] -
Who Is An lnsured and no “employee” authorized by you to give or receive
notice of an “occurrence” or claim, knew that the “bodily injury” or “property
damage” had occurred, in whole or in part. lf such a listed insured or authorized
“employee” knew, prior to the policy period, that the “bodily injury” or “property

 

 

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damage” occurred, then any continuation, change or resumption of such “bodily
injury” or “property damage” during or after the policy period will be deemed to
have been known prior to the policy period.

c. “Bodily injury” or “property damage” which occurs during the policy period and was
not, prior to the policy period, known to have occurred by any insured listed under
Paragraph 1. of Section 11 - Who Is An lnsured or any “employee” authorized by you to
give or receive notice of an “occurrence” or claim, includes any continuation, change or
resumption of that “bodily injury” or “property damage” after the end of the policy
period.

d. “Bodily injury” or “property damage” will be deemed to have been known to have

occurred at the earliest time when an insured listed under Paragraph l. or Section II -

Who Is An lnsured or any “employee” authorized by you to give or receive notice of an
“”occurrence or clairn:

(1) Reports all, or any part,'of the “bodily injury” or “property damage” to us or '
any other insurer;

(2) Receives a written or verbal demand or claim for damages because of the
“bodily injury” or “property damage"; or

(3) Becomes aware by any-other means that “bodily injury” or “property
damage” has occurred or has begun to occur.

e. Damages because of “bodily injury” include damages claimed by any person or
organization for care, loss of services or death resulting at any time from the “bodily

inj`lry’!
SECTION V - DEFINITIONS

3. “Bodily injury” means bodily injury, sickness or disease sustained by a person,
including death resulting from any of these at any time.

13. “Occurrence” means an accident, including continuous or repeated exposure to
substantially the same general harmful conditions
We direct your attention to the following policy endorsement
AMENDMENT OF COVERAGE - PROPERTY DAMAGE (CG D2 56 11 03)
Provisions

The definition of “property damage” in Section V- Definitions is deleted in its entirety
and replaced by the following:

“Property damage” means:

 

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a. Physical injury to tangible property, including all resulting loss of use of that
property. All such loss of use shall be deemed to occur at the time of the physical
injury that caused it; or

b. Loss of use of tangible property that is not physically injured. All such loss of
use shall be deemed to occur at the time of the “occurrence” that caused it.

“Property damage” does not include loss of or damage to “electronic media and records”.
As used in this det`mition, “electronic media and records" means:

a. Electronic data processing, recording or storage media such as films, tapes,
discs, drums or cells;

b. Data stored on such media; or

c. Programming records`for electronic data processing or electronically
controlled equipment,

We direct your attention to ~the relevant portions of endorsement CG D2 34 entitled “Web Xtend
- Liability”:

d WEB XTEND - LIABILITY (CG D2 34 01 05)
Provisions

Coverage B. Personal lnjury and Advertising lnjury Liability (Section I- Coverages) is
deleted in its entirety and replaced by the following:

/

COVERAGE B. PERSONAL INJURY, ADVERTISING INJURY AND WEB SITE
INJURY LIABILITY

1. Insuring Agreement.

a. We will pay those sums that the insured becomes legally obligated to pay as damages
because of "personal injury", “advertising injury" or “web site injury” to which this
insurance applies. We will have the right and duty to defend any "suit" seeking those
damages. However, we have no duty to defend the insured against any “suit” seeking
damages for “personal injury”, “advertising injury” or “web site injury” to which this
insurance does not apply. We may at our discretion investigate any "occurrence" or
offense and settle any claim or "suit" that may result. But:

(1) The amount we will pay for damages is limited as described in LIM]TS OF
lNSURANCE (SECTION lII); and

(2) Our right and duty to defend end when we have used up the applicable limit
of insurance in the payment of judgments or settlements under Coverage A or B
or medical expenses under Coverage C.

No other obligation or liability to pay sums or perform acts or

 

 

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services is covered unless explicitly provided for under SUPPLEMENTARY
PAYMENTS - COVERAGES A AND B.

b. This insurance applies to:

(1) "Personal injury" caused by an offense arising out of your business, excluding
advertising, publishing, broadcasting or telecasting done by or for you;

(2) "Advertising injury" caused by an offense committed in the course of
advertising your goods, products or services; or

(3) “Web site injury” caused by an offense committed in the course of the visual
or audio presentation of material on “your web site” or in the numerical
expression of computer code used to enable “your web site”;

but only if the offense was committed in the “coverage territory” during the
policy period.

With respect to subparagraph b. (1) above, bulletins, financial or annual reports, or news-
letters that are not published to the general public or specific market segments about your

_ goods, products or services for the purpose of attracting customers or supporters will not
be considered publishing

PERSONAL AND ADVERTISING INJURY

The definition of “Personal and Advertising injury” (Section V - Delinitions) is deleted
in its entirety and replaced by the following definitions of “advertising injury” and

“personal injury”:
"Advertising injury" means injury arising out of one or more of the following offenses:

a. Oral, written or electronic publication of material that that slanders or libels a
person or organization or disparages a person’s or organization's goods, products
or services, provided that claim is made or “suit” is brought by a person or
organization that claims`to‘ha've been slandered or libeled, or whose goods,
products or services have allegedly been disparaged;

b. Oral, written or electronic publication of material that appropriates a person’s
likeness, unreasonably places a person in a false light or gives unreasonable
publicity to a person’s private life; or

c. Infringement of copyright, title or slogan, provided that claim is made or “suit”
is brought by a person or organization claiming ownership of such copyright, title

or slogan,

"Personal injury" means injury, other than "bodily injury," arising out of one or more of
the following offenses:

a. False arrest, detention or imprisonment;

 

 

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'Page 6 of8

b. Maiicious prosecution;'

c. The wrongful eviction from, wrongful entry into, or invasion of the right of
private occupancy of a room, dwelling or premises that a person occupies by or
on behalf of its owner, landlord or lessor, provided that the wrongful eviction,
wrongful entry, or invasion of the right of private occupancy is performed by or
on behalf of the owner, landlord or lessor of that room, dwelling or premises;

d. Oral, written or electronic publication of material that slanders or libels a
person or organization or disparages a person's or organization's goods, products
or services, provided that claim is made or “suit” is brought by a person or
organization that claims to have slandered or libeled, or whose goods, products or
services have allegedly been disparaged; or

e. Oral, written or electronic publication of material that appropriates a person’s
likeness, unreasonably places a person in a false light or gives unreasonable
publicity to a person’s private life.

WEB SITE INJURY

“Web site injury” means injury, other than “personal injury” or “advertising injury”,
arising out of one or more of the following offenses:

a. Oral, written or electronic publication of material that that slanders or libels a
person or organization or disparages a person’s or organization's goods, products
or services, provided that claim is made or “sui ” is brought by a person or
organization that claims to have been slandered or libeled, or whose goods,
products or services have allegedly been disparaged;

b. Oral, written or electronic publication of material that appropriates a person’s
likeness, unreasonably places a person in a false light or gives unreasonable
publicity to a person’ s private life; or

c. O`ral, written or electronic publication of material that violates a person’s right
of publicity, provided that claim is made or “suit” is brought bythe person
claiming rights of publicity; or
d. Infringement of copyright, title or slogan, provided that claim is made or “suit”
is brought by a person or organization claiming ownership of such copyright, title
or slogan.

YOUR WEB SITE

“Your web site” means all computer files and data which may be accessed via the
Internet using a Universal Resource Locator that includes any domain name owned by or
assigned to you.

2. Exclusions.

This insurance does not apply to:

 

 

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a. Knowing Violation of Rights of Another

“Personal injury”, “advertising injury” or “web site injury” caused by or at the direction
of the insured with the knowledge that the act would violate the rights of another and
would inflict “personal injury”, “advertising injury” or “web site injury”.

g. Quality or Performance of Goods - Failure to Conform to Statements

“Advertising injury” or “web site injury” arising out of the failure of goods, products or
services to conform with any statement of quality or performance made in the course of
advertising your goods, products or services,

i. Insureds in Media and Internet Type Businesses

” “

“Personal rnjury, advertising injury” or “web site injury” committed by an insured

whose business ls:

(1) Advertising, broadcasting, publishing or telecasting;
(2) Designing or determining content of websites for others; or
(3) An internet search, access, content or service provider.

However, this exclusion does not apply to paragraphs a., b. and c. of the “personal injury”
definition under Section V- Definitions of this endorsement.

.F_or the purposes of this exclusion, bulletins, financial or annual reports, or newsletters
that are not published to the general public or specific market segments about your goods,
products or services for the purpose of attracting customers or supporters will not be
considered publishing

K. Unauthorized Use of Another’s Name or Product.

“Personal injury”, “advertising injury” or “web site injury” arising out of the
unauthorized use of another’s name or product in your email address, domain name or
metatag, or any other similar activities that mislead another’s potential customers.

********************************

None of the allegations contained in the Complaint allege an “occurrence” resulting in “bodily
injury” or “property damage”, as defined by those policy terms. As such, there is no coverage
obligation triggered under Coverage A “Bodily Injury and Property Damage Liability” or
Coverage C “Medical Payments” (please refer to the policy, as for the sake of brevity we have not
cited insuring agreement C).

None of the allegations contained 1n the Complaint constitute “personal injury”, “advertising
injury” or “website rnjury” as defined by those policy terms. There are no allegations that
CollegeSource committed one or more of the enumerated “personal injury” offenses arising out
of your business. Als`o, there are no allegations that CollegeSource committed one or more of the
enumerated “advertising injury” offenses in the course of advertising your goods, products or
service, as required by the insuring agreement of Coverage B. In addition, there are no allegations
that CollegeSource committed one or more of the enumerated “web site injury” offenses while in
the course of visual or audio presentation of material on “your web site" or in the numerical

 

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expression of computer code used to enable “your web site”. Also, Coverage B exclusions 2.a.,
2.g, 2.i, and 2.k, cited above, are further applicable to disclaim coverage under this coverage part.

We also bring to your attention that the Complaint makes demands for various forms of
injunctive relief. Pursuant to the terms of the policy, the policy will not respond to any form of
injunctive relief which may be granted.

Please be advised that Travelers expressly reserves all of its rights under the insurance policy.
The failure of Travelers to point out any further terms, conditions, or exclusions of its policy shall
not waive any current or future rights of defense of Travelers pursuant to the Travelers policy, or
act to prevent Travelers from asserting such rights or defenses Furthermore, should there be any
policy or term quotations in this letter which may differ from the actual policy, please be advised
that the terms, provisions and conditions of the actual policy will govem.

The California Code of Regulations, Title 10, Chapter 5, Section 2695.7(b) requires that we
advise you that, if you think that any part of this claim has been wrongfully denied, you may have
this matter reviewed by the California Department of lnsurance. 'Ihe Department address is:

California Department of Insurance
Consumer Services Division
300 south spring street 11'h Floor
Los Angeles, CA 90013

` (800) 927-I-IELP or (213) 897-8921

Should you have any questions regarding the position we have taken, or wish to discuss this
matter further, please do not hesitate to contact me. `

e/YZD/V"

Paul J. Cooper, CPC
Senior Technical Specialist
The Travelers Property Casualty Company of America

mcerel_y,

CC

GA Pearson & Associates
6225 Lusk Blvd.

Suite B

San Diego, CA 92121

 

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Exhibit 6

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EXHIBIT 6

 

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GAUNTLETT &
ASSOCIATES

ATTORNEYS AT LAW

 

18400 Von Karman, Suite 300
lrvine, California 92612
Phone: (949)553-1010

Facsimne: (949)553-20`50 `

 

Email: info@gauntlettlaw.com
Websltc: www.gauntlettlaw.corn OurFi\° Number:
10584-00|

July 7., 2009

CONFIDENTIAL lNSURED-INSURER COMMUNlCATION
This communication is an insured~insurer confidential communication Any information
disclosed by the insured or by independent counsel is not a waiver of the privilege as to any

other party.

VIA U.S. MAIL

Paul J. Cooper

THE TRAVELERS COMPANIES, INC.
401 'Route 73 North

30 Lake'Center - Suite 110
Marlton, NJ 08053-3426

Re: AcademyOne, Inc. v. CollegeSource, Inc., U.S.D.C. for the Eastern District
of Pennsylvania (Philadelphia), Civil Action No.: 2:08-cv-05707-JP
(“AcademyOue suit”) `

Named Insured: CollegeSource, Inc.

Insurers:v Travelers Property Casualty Company of America, Travelers
Indemnity Company of Connecticut

Travelers’ File No.: A485012

Policy: Commerciai General Liability Policy No. I-660-3905B356-TCT-06
(effective dates 11/25/06 to 11/25/07)

Policy: Commercial General Liability Policy No. I-660-3905B356-TIL-07
(effective dates 11/25/07 to 11/25/08)

Policy: Commercial General Liability Policy No. I-660-3905B356-TIL-08
(effective dates 11/25/08 to 11/25/09)

Dear Mr. Cooper:

We are in receipt of your letter dated June 16, 2009 denying coverage on behalf of The
Travelers Property Casualty Company of America under Policy No. 660-3905B356 in ‘
connection with the above~referenced litigation Please confirm whether Travelers’ denial _
pertains to Policy No. 660-3905B3'56 for each of its policy years.

For instance, that policy was originally issued by the Travelers Indemnity Company of
EXH|B|T

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Connecticut to CollegeSource, Inc., effective November 25, 2006 through November 25, 2007.
The policy was then renewed under the same policy number for the two successive years by the
Travelers Property Casualty of America, i.e. from November 25, 2007 to November 25, 2008
and then from November 25, 2008 through November 25, 2009.

We provided notice under each of these three policy periods, but your June 16, 2009 l
denial letter appears only to address those policies issued by the Travelers Property Casualty -
Company of America.

Thank you for your prompt attention to this matter.

 

JSM/pam

cc: GA Pearson & Associates
6225 Lusk Blvd., Ste. B
San Diego, Ca 92121

David A. Gauntlett, Esq. (via email)`
William Woods, Esq. (via email)
Darren J. Quinn, Esq. (via email)
Client (via email)

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Page 2

 

 

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Exhibit 7

 

 

 

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EXHIBIT 7 '

 

Case 3:10-CV-01428-.]AH-F3R Documentl Filed 07/08/10 Pae|D.203 Page 203 of 207

Paul J. Cooper, CPCU

Senior'Techn|ca| Speclalist
The Travelers Companies, inc
` (ess) 703-2230

_ (877) 231 -2506 (fax)
p|cooper@trava|ers.com

401 Route 73 North
30 Lake Cent'_er - Suite 110
Marlton, NJ 08053

July 17, 2009 ` Certified Mail - Return Receipt Requested

Joseph S. McMillen, Esq.
Gauntlett & Associates
18400 Von Karman

Suite 300 '
Irvine, CA 92612

RE: AcademyOne Inc._vs. CollegeSource, Inc.
USDC Eastern PA Ca No: 08-cv-57 07

Our Insured: CollegeSource, Inc.
Our` File: A4S5012

Dear Mr. McMillen:

Responding to your letter of July 7, 2009, we acknowledge that policy number 660-3905B3 56 for
policy period 11-25-2006/2007 was issued by The Travelers Indemnity Company of Connecticut
and that for subsequent policy periods of l 1-25-2007/2008 and 11-25-2008/2009, these policies
were issued by The Travelers Property Casualty Company of America, Please let this
correspondence confirm that our declination letter dated June 16, 2009 applies to all of the policy
periods in which this policy was issued.

Should you have any questions regarding the position we have taken, or wish to discuss this
matter further, please do not hesitate to contact me.

 

Paul J. Cooper, CPCU

Senior Technical Specialist

The Travelers Property Casualty Company of America
The Travelers Indemnity Company of Connecticut

lcc

GA Pearson & Associates
6225 Lusk Blvd.

Suite B `

San _Diego, CA 921-21

 

 

 

 

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-JAH-PT

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“JS““ (R°v‘ ‘2/°7> ' CIVIL COVER SHEET '
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the liling and service ofpleading;s or other apers as re uired by |aw, exceptas provided
by local rules ofcourt. This form, approved by the Judicial Conference ot the United States in September 1974,15 required fort e use oft e Clerk ot ourt f[or.thel`pu/;pose ofmlllatlng

 

   

 

 

 

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COLLEGESOURCE, |NC., a California COrpOratiOn TRAVELERS |NDEMNlTY COMPANY'@§LQ_ONBJE?;[;}CUT,
a Connecticut corporation 1‘ 23 57
(b) County of Residence ofFirst Listed Plaintiff San DlBQO County of Residence of First Listed Defendant..»-\,',J , __4 - U.S. _1‘:11¢_ _v‘~`…. . l
(EXCEPT IN U.s. PLA\NTIFF CAsEs) -'.`" (1N u.s. PLAlNTlFF CAsEs oNL`Y')' "'> 111/cr 01 c:.`L;r; , `
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GAUNTLETT & ASSOC|ATES, 18400 VOn Karman, Suite 300, 8 H POR
lrvine, CA 92612 - Telephone: (949) 553-1010 `
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Defendant ol`Business 1n Another State

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Court Name: USDC California Southern
Dlvision: 3

Receipt Number: CA8015540

Cashier ID: bhartman

Transactlon Date: 07/08/2010

Payer Name: GAUNTLETT AND ASSUC

 

'CIVIL FILING FEE
For: COLLEGESOURCE V TRAVELERS
Caee/Party: D~CAS-3-10-CV-001428-001
Amount: $350.00

 

'CHECK - :
` Check/Money Order Num: 16967 '
` Amt Tendered: $350.00 '

 

qTotal Due: $350.00 §
Total Tendered: $350.00
‘Chanee Amt: $0.00

There wiii be a fee of $45.00 §
charged for any returned check;

 

 

